   Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 1 of 274




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                               Exhibit EE
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 2 of 274
                                                        UNOFFICIAL COPY   1




    COMMITTEE ON THE JUDICIARY,

    U.S. HOUSE OF REPRESENTATIVES,

    WASHINGTON, D.C.




    INTERVIEW OF:   HOPE HICKS




                           Wednesday, June 19, 2019



                               Washington, D.C.




          The interview in the above matter was held in Room 2237,

    Rayburn House Office Building, commencing at 9:02 a.m.

          Members Present:    Representatives Nadler, Lofgren, Jackson
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 3 of 274
                                                        UNOFFICIAL COPY   2




    Lee, Cohen, Johnson of Georgia, Deutch, Bass, Cicilline, Swalwell,

    Lieu, Raskin, Jayapal, Demings, Correa, Scanlon, Garcia, Neguse,

    McBath, Stanton, Dean, Mucarsel-Powell, Escobar, Collins, Chabot,

    Gohmert, Jordan, Ratcliffe, Gaetz, Biggs, McClintock, Lesko,

    Armstrong, and Steube.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 4 of 274
                                                        UNOFFICIAL COPY    3




          Chairman Nadler.      Good morning.   Let's go on the record.

          This is a transcribed interview of Ms. Hope Hicks, former

    communications director for the White House.       I requested this

    interview as part of our investigation into allegations of

    corruption and abuse of power and other misconduct by the Trump

    administration.

          Would the witness please state her name and position in the

    White House for the record?

          Ms. Hicks.     My name is Hope Hicks, and I was the

    communications director at the White House.

          Chairman Nadler.      I wish to thank you for appearing here

    today.   I appreciate your willingness to appear voluntarily.

          Most committees encourage witnesses who appear for a

    transcribed interview to freely consult with counsel if they so

    choose, and you are appearing today with private counsel.

          Could counsel please state your name and current position for

    the record?

          Mr. Trout.     Yes.   My name is Robert Trout.   I'm with the firm

    of Trout Cacheris & Solomon in Washington, D.C., and I'm

    representing Ms. Hicks.

          Ms. Solomon.     Gloria Solomon, also with Trout Cacheris &

    Solomon, also representing Ms. Hicks.

          Chairman Nadler.      Thank you.   I note that you are also

    appearing today with representatives from the White House

    Counsel's Office.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 5 of 274
                                                        UNOFFICIAL COPY     4




          Could those counsels please state their names and current

    positions for the record?

          Mr. Purpura.    Mr. Chairman, Michael Purpura, deputy counsel

    to the President.

          Mr. Philbin.    And Patrick Philbin, deputy counsel to the

    President.

          Chairman Nadler.    Thank you.

          You are also appearing today with representatives from the

    Department of Justice's Office of Legal Counsel.      I note that the

    committee does not typically permit agency counsel to be present

    in a transcribed interview involving nonagency employees.

    However, in the interest of accommodating both the witness and the

    White House an exception is being made in this one case, and the

    Department's presence is permitted.

          Could those counsels please state their names and current

    positions for the record?

          Mr. Gannon.    Thank you, Mr. Chairman.    Curtis Gannon,

    principal deputy assistant attorney general.

          Chairman Nadler.    That's the only one?   Okay.

          Thank you.

          I am Jerrold Nadler, chairman of the House Judiciary

    Committee.   I am joined today by several members of the committee

    as well as by counsel for the committee.      I will now ask everyone

    else from the committee who is present to introduce themselves,

    starting with the members.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 6 of 274
                                                         UNOFFICIAL COPY   5




          Ms. Scanlon.     Mary Gay Scanlon, vice chair of the Judiciary

    Committee.

          Ms. Dean.     Madeleine Dean, a member from Pennsylvania's

    Fourth Congressional District.

          Mr. Neguse.     Joe Neguse, Colorado's Second Congressional

    District.

          Ms. Garcia.     Sylvia Garcia, Texas 29, the Houston area.

          Ms. Escobar.     Veronica Escobar, El Paso.

          Mr. Gohmert.     Louie Gohmert, Texas.

          Mr. Deutch.     I'm Ted Deutch from Florida.

          Mrs. McBath.     Lucy McBath, Georgia's Sixth.

          Mr. Lieu.     Ted Lieu, southern California.

          Ms. Jayapal.     Pramila Jayapal, Washington's Seventh.

          Mrs. Demings.     Val Demings, Florida.

          Ms. Mucarsel-Powell.    Debbie Mucarsel-Powell, Florida.

          Mr. Gaetz.     Matt Gaetz, Florida.

          Mr. Armstrong.    Kelly Armstrong, North Dakota.

          Mr. Collins.     Doug Collins, Georgia.

          Chairman Nadler.    Our ranking member.

          And other people in the room from the committee not members

    should identify themselves now.

          Mr. Eisen.     Norman Eisen for the majority committee.

          Ms. Hariharan.    Arya Hariharan, majority staff.

          Mr. Berke.     Barry Berke, the majority staff.

          Ms. McElvein.     Elizabeth McElvein, majority staff.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 7 of 274
                                                         UNOFFICIAL COPY    6




          Mr. Gayle.     Charlie Gayle, majority staff.

          Ms. Istel.     Sarah Istel, majority staff.

          Chairman Nadler.    Anybody else?

          Mr. Hiller.     Aaron Hiller, majority staff.

          Mr. Morgan.     Matt Morgan, majority staff.

          Chairman Nadler.    Anybody from the minority staff?

          Mr. Parmiter.     Robert Parmiter, minority staff.

          Mr. Stewart.     Brice Stewart, minority staff.

          Mr. Johnson.     Danny Johnson, minority staff.

          Mr. Greenberg.    Jacob Greenberg, minority staff.

          Mr. Davis.     Carlton Davis with Mr. Collins.

          Ms. Barker.     Erica Barker, minority staff.

          Mr. Ferro.     Jon Ferro, minority staff.

          Chairman Nadler.    Okay.   And we've been joined by Mr. Cohen

    of Tennessee and also Mr. Biggs of Arizona.       And Ms. Hicks and her

    counsel have already identified themselves.

          The Federal Rules of Civil Procedure do not apply in this

    setting, but there are some guidelines that we follow that I will

    now go over.

          Our questioning will proceed in rounds.       The majority will

    ask questions first for an hour, and then the minority will have

    an opportunity to ask questions for an equal period of time if

    they choose.   We will go back and forth in this manner until there

    are no more questions and the interview is over.

          Typically we take a short break at the end of each hour of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 8 of 274
                                                         UNOFFICIAL COPY      7




    questioning, but if you would like to take a break apart from

    that, please let us know.        We will also take a break for lunch at

    the appropriate point, some appropriate point.

            As you can see, there is an official reporter taking down

    everything we say to make a written record, so we ask that you

    give verbal responses to all questions.        Do you understand that?

            Ms. Hicks.   Yes, sir.

            Chairman Nadler.   Thank you.

            So that the reporter can take down a clear record, we will do

    our best to limit the number of members and staff directing

    questions at you during any given hour.        It is important that we

    do not talk over one another or interrupt each other and that goes

    for everybody present at today's interview.

            We want you to answer our questions in the most complete and

    truthful manner possible, so we will take out time.        If you have

    any questions or if you do not understand one of our questions,

    please let us know.     And if you honestly do not know the answer to

    a question or do not remember it, it's best not to guess.        Just

    give us your best recollection.

            It is okay to tell us if you learned information from someone

    else.    Just indicate how you came to know that information.      If

    there are things you do not know or cannot remember, just say so,

    and please inform us who, to the best of your knowledge, might be

    able to provide a more complete answer to the question.

            Ms. Hicks, you should also understand that although this
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 9 of 274
                                                        UNOFFICIAL COPY   8




    interview is not under oath you are required by law to

    answer questions from Congress truthfully.      I assume you

    understand that?

            Ms. Hicks.   Yes, sir.

            Chairman Nadler.   This applies also to questions posed by

    congressional staff as well, and I assume you understand that as

    well?

            Ms. Hicks.   Yes, sir.

            Chairman Nadler.   Witnesses who knowingly provide false

    testimony could be subject to criminal prosecution for perjury or

    for making false statements.     Do you understand that?

            Ms. Hicks.   Yes, sir.

            Chairman Nadler.   Is there any reason you are unable to

    provide truthful answers to today's questions?

            Ms. Hicks.   No, sir.

            Chairman Nadler.   As part of the accommodations process

    surrounding the May 21st, 2019, subpoena served on Ms. Hicks by

    the Judiciary Committee, she has agreed to voluntarily appear for

    a transcribed interview, and the committee has agreed that her

    appearance satisfies her testimonial obligation under the

    May 21st, 2019, subpoena.

            Ms. Hicks, through her counsel and the committee, have agreed

    that any disputes regarding privilege assertions or other

    objections will be treated as if they occurred during testimony

    compelled by the May 21st, 2019, subpoena.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 10 of 274
                                                        UNOFFICIAL COPY     9




           Finally, I would like to read from our protocols for

     transcribed interviews recently agreed to by Ranking Member

     Collins, quote:    To encourage candid testimony by the witnesses,

     transcribed interviews will be conducted in a confidential,

     closed-door setting.     Members and committee staff should endeavor

     to maintain confidentiality regarding the substance of the

     testimony.

           At the appropriate time, in consultation with the ranking

     member, the committee will release the transcript of this

     interview.   We anticipate that in the next 48 hours, as soon as we

     can do that.

           Between now and then, I will ask everybody present to conduct

     themselves with the appropriate discretion before we release the

     transcript in the next couple days.

           Do you have any questions before we begin?

           Ms. Hicks.   No, sir.

           Chairman Nadler.    Very well.   The time is now 9:09, and our

     first hour of questioning will begin.

           Ms. Hicks, who is Corey Lewandowski?

           Ms. Hicks.   He was Mr. Trump's campaign manager from

     January 2015 to June 2016.

           Chairman Nadler.    And when and where did you meet him?

           Ms. Hicks.   I believe I met him traveling from New York to

     Iowa -- sorry, is that better? -- I believe I met him traveling

     from New York to Iowa, January 24, 2015.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 11 of 274
                                                        UNOFFICIAL COPY        10




           Chairman Nadler.   And how often did you interact with

     Mr. Lewandowski during the campaign?

           Ms. Hicks.   Every day.

           Chairman Nadler.   And what about during the transition?

           Ms. Hicks.   We probably spoke frequently.

           Chairman Nadler.   Does that mean daily?    Weekly?

           Ms. Hicks.   Probably daily.

           Chairman Nadler.   Okay.   Can you describe the relationship

     between Lewandowski and the President during the campaign?

           Ms. Hicks.   As I said, Corey was his campaign manager.        Is

     there any other specifics you're looking for?

           Chairman Nadler.   Well, were they friendly?    Were they

     antagonistic?

           Ms. Hicks.   They had a close relationship.

           Chairman Nadler.   Okay.   And the same question, what about

     during the transition?

           Ms. Hicks.   I believe they maintained a close relationship.

           Chairman Nadler.   Did there come a time when that

     relationship changed?

           Ms. Hicks.   Not that I'm aware of.

           Chairman Nadler.   Okay.   After Trump was elected, was

     Mr. Lewandowski hired to work on the transition in any capacity?

           Ms. Hicks.   Not that I'm aware of.

           Chairman Nadler.   And what about after the President took

     office?   Was Mr. Lewandowski hired as an executive branch
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 12 of 274
                                                         UNOFFICIAL COPY       11




     official?

           Mr. Purpura.     Objection.    Mr. Chairman, I --

           Chairman Nadler.    It's a matter of public record.       Why would

     you object?

           Mr. Purpura.     Mr. Chairman, as we explained in

     Mr. Cipollone's letter yesterday, as a matter of longstanding

     executive branch precedent in the Department of Justice practice

     and advice, as a former senior adviser to the President, Ms. Hicks

     may not be compelled to speak about events that occurred during

     her service as a senior adviser to the President.         That question

     touched upon that area.

           Chairman Nadler.    With all due respect, that is absolute

     nonsense as a matter of law.

           Are you asserting any other basis for declining to answer the

     question --

           Mr. Purpura.     No, Mr. Chairman.

           Chairman Nadler.    -- besides absolute immunity, which the

     gentleman just said?

           Ms. Hicks.     No, sir.

           Chairman Nadler.    No, sir.

           Are you asserting any privileges in declining to answer the

     question?

           Mr. Purpura.     We are not, Mr. Chairman.

           Chairman Nadler.    Ms. Lewandowski?

           Ms. Hicks.     As a former senior adviser to the President, I'm
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 13 of 274
                                                         UNOFFICIAL COPY    12




     following the instructions from the White House.

           Chairman Nadler.    No, no, I asked are you asserting any

     specific privilege, like executive privilege or anything else, or

     are you just simply asserting the absolute immunity that

     Mr. Purpura just announced?

           Mr. Trout.    Mr. Chairman, if I could say.    She is not in a

     position to -- she's not a government employee, and she's not in a

     position to exercise any privilege, so she is --

           Chairman Nadler.    So she is not asserting?

           Mr. Trout.    She is not asserting privilege.    It's not her

     privilege to assert.     And so she is simply following the guidance

     of the White House.

           Chairman Nadler.    So she is not asserting any privileges.

     She's not asserting executive privilege.

           Okay.    So let me make it clear.   You are declining to answer

     the question?

           Ms. Hicks.    Yes, sir.

           Chairman Nadler.    This committee, as I said a moment ago,

     disagrees on the question on the applicability of absolute

     immunity.     The witness must answer questions or assert privileges

     on a question-by-question basis.     This assertion of absolute

     immunity is improper.

           How often did you communicate with or meet with

     Mr. Lewandowski after he left the Trump campaign?

           Ms. Hicks.    Communicated regularly, met with very
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 14 of 274
                                                          UNOFFICIAL COPY      13




     infrequently.

           Chairman Nadler.       When you say regularly, once a week?      Once

     a month?   I mean --

           Ms. Hicks.     No.    Probably daily.

           Chairman Nadler.       Probably daily.   Were these communications

     or meetings related to official matters of the Trump

     administration?

           Mr. Purpura.     Objection.

           Chairman Nadler.       Overruled.

           Mr. Purpura.     Again, same direction as explained in

     Mr. Cipollone's letter.        And with the chairman's permission, I

     would like to have Mr. Cipollone's letter marked as an exhibit and

     entered into the record.

           Chairman Nadler.       Do we have a copy of it?

           Mr. Purpura.     We have copies, Mr. Chairman.

           Chairman Nadler.       Then Mr. Cipollone's letter will be entered

     into the record, I suppose.

                                 [Hicks Exhibit No. 1

                                 Was marked for identification.]

           Mr. Purpura.     Thank you, Mr. Chairman.

           Chairman Nadler.       But the question doesn't seem to ask about

     the administration.        I'm asking about her communications.   Were

     they related to official matters of the administration?         That

     would not seem to fall under your --

           Mr. Philbin.     Mr. Chairman, with all due respect, whether
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 15 of 274
                                                         UNOFFICIAL COPY    14




     they were related to her official duties, that's within the

     immunity.

           Chairman Nadler.    All right.    Well, these communications were

     made -- after Mr. Lewandowski left the campaign, you said you had

     regular communications with him.       Does that include during the

     transition period?

           Ms. Hicks.   Yes.

           Chairman Nadler.    The Mueller report describes Corey

     Lewandowski as, quote, a devotee, unquote, of the President,

     finding that he was, quote, close, unquote, to the President.         Is

     that an accurate description of Trump's -- of the President's

     relationship with Lewandowski during the campaign?

           Ms. Hicks.   Yes.

           Chairman Nadler.    And is that an accurate description of

     their relationship right after the election?

           Ms. Hicks.   Yes.

           Chairman Nadler.    And are you aware of any instance in which

     the President described Mr. Lewandowski as a surrogate for his

     administration?

           Ms. Hicks.   I'm not aware of him describing him that way.

           Chairman Nadler.    Okay.   Did you -- I'm sorry.   Did anyone

     else call Mr. Lewandowski, that you're aware of, did anyone else

     that you're aware of call Mr. Lewandowski that or something

     similar?

           Ms. Hicks.   I guess I would have to understand what capacity
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 16 of 274
                                                          UNOFFICIAL COPY     15




     he would be -- that the term "surrogate" is being used in.        As in

     media appearances or elsewhere?

           Chairman Nadler.    No.     Well, media appearances would be one

     aspect, but I would --

           Ms. Hicks.     So, yes, he was, I would say, a devoted surrogate

     in terms of his media appearances.        Other than that, no, I've

     never heard anybody use that term to describe him.

           Chairman Nadler.    Okay.     He's a surrogate in media, yes, and

     anything else, no?

           Ms. Hicks.     Correct.

           Chairman Nadler.    And to the best of your knowledge, did

     Mr. Lewandowski consider himself a surrogate of the President?

           Ms. Hicks.     I don't know.    That's something you would have to

     ask him.

           Chairman Nadler.    And since leaving your official position in

     the White House, have you communicated or met with

     Mr. Lewandowski?

           Ms. Hicks.     Never.

           Chairman Nadler.    Okay.     I'd like to focus now on a specific

     incident in June 2017.        You were still employed in the White House

     at that time.   Is that correct?

           Ms. Hicks.     Yes, sir.

           Chairman Nadler.    During that time, where in the West Wing

     did you sit in relation to the Oval Office?

           Mr. Purpura.     I'm going to object here, Mr. Chairman.     Again,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 17 of 274
                                                          UNOFFICIAL COPY   16




     this talks about --

           Chairman Nadler.     And I'll ask what privilege is being

     asserted to object to that question other than the nonexistent

     Presidential -- general immunity or whatever you call it?

           Mr. Purpura.     Mr. Chairman, I understand you disagree with

     the position and the advice provided by the Department of Justice

     that's gone back quite a while and has been used by

     administrations in both parties.

           Chairman Nadler.     I'm not going to debate it.    It's nonsense,

     but we'll --

           Mr. Purpura.     I understand, Mr. Chairman.

           Chairman Nadler.     I think we'll win in court on that one, but

     there's no point in wasting time on that now.

           Mr. Purpura.     I understand.

           Chairman Nadler.     I'm asking, are you asserting any other

     privilege?

           Ms. Hicks.     No.

           Chairman Nadler.     Okay.   Now, are you asserting any other

     basis than so-called absolute immunity for declining to answer the

     question?

           Ms. Hicks.     No.

           Chairman Nadler.     Thank you.   And remember, you can't shake.

     You have to speak.

           Ms. Hicks.     Yes, sir.

           Chairman Nadler.     Are you asserting any privileges in
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 18 of 274
                                                        UNOFFICIAL COPY     17




     declining to answer the question?

           Ms. Hicks.    No.

           Chairman Nadler.    Are you asserting executive privilege in

     declining to answer the question?

           Ms. Hicks.    No.

           Chairman Nadler.    Will you provide any details about this

     matter so that the committee can assess the applicability of

     privileges?

           Mr. Trout.    Mr. Chairman, she'll answer whatever questions

     that the -- that are not objected to by the White House and the

     executive branch.

           Chairman Nadler.    Okay.   I think that answers the next -- I

     should ask you the same questions, I am told.      As her attorney,

     are you asserting any other basis for declining to answer the

     question?

           Mr. Trout.    So, Mr. Chairman, I do not represent the

     White House or the executive branch, and it's not my role to

     assert on behalf of the White House or the executive branch

     executive or any other privilege.

           Chairman Nadler.    Is your client asserting any other basis

     for declining to answer the question?

           Mr. Trout.    No.

           Chairman Nadler.    Is your client asserting any privileges in

     declining to answer the question?

           Mr. Trout.    No.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 19 of 274
                                                            UNOFFICIAL COPY   18




           Chairman Nadler.       Is your client asserting executive

     privilege in declining to answer the question?

           Mr. Trout.     No.

           Chairman Nadler.       Now, Mr. Purpura, on behalf of the

     White House, are you asserting any other basis for declining to

     answer the question other than absolute immunity?

           Mr. Purpura.     No.    As explained in Mr. Cipollone's letter,

     that's the only basis.

           Chairman Nadler.       Are you asserting -- we have

     Mr. Cipollone's letter.        Are you asserting any privileges in

     declining to answer the question?

           Mr. Purpura.     Not at this time.

           Chairman Nadler.       Are you asserting executive privilege in

     declining to answer the question?

           Mr. Purpura.     Not at this time.

           Chairman Nadler.       Okay.   Will you --

           Mr. Trout.     Mr. Chairman, on behalf of Ms. Hicks, yesterday

     afternoon I did send a letter to you and to the minority, and I

     would like that letter to be part of the record.

           Chairman Nadler.       Do we have that letter?

           Ms. Istel.     Yes.

           Chairman Nadler.       It will be inserted into the record.

                                  [Hicks Exhibit No. 2

                                  Was marked for identification.]

           Mr. Trout.     Thank you.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 20 of 274
                                                            UNOFFICIAL COPY   19




             Chairman Nadler.      Now, I will insert our letter dated

     June 18th, which is yesterday, in reply to Mr. Cipollone's letter

     rejecting absolute immunity.          And I'll have this entered into the

     record, too.

                                   [Hicks Exhibit No. 3

                                   Was marked for identification.]

             Chairman Nadler.      So did Mr. Lewandowski visit

     President Trump at the White House after January 2017?

             Mr. Purpura.     Objection.

             Chairman Nadler.      Objection.

             Do you recall Corey Lewandowski meeting with President Trump

     on or around June 19th, 2017?

             Mr. Purpura.     Objection.

             Chairman Nadler.      I'd like now to introduce as our next

     exhibit, whatever the number is, page 90 of volume 2 of the

     report.    Do we have that?

                                   [Hicks Exhibit No. 4

                                   Was marked for identification.]

             Ms. Istel.     Yes.

             Chairman Nadler.      Could you -- can you please, Ms. Hicks,

     read aloud -- read out loud the highlighted portion from that

     page?    Page 91.

             Mr. Philbin.     Mr. Chairman, if copies are being distributed,

     may we have a copy?       Thank you.

             Ms. Hicks.     During the June 19th meeting, Lewandowski
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 21 of 274
                                                          UNOFFICIAL COPY     20




     recalled that after some small talk the President brought up

     Sessions and criticized his recusal from the Russia investigation.

     The President told Lewandowski that Sessions was weak and that if

     the President had known about the likelihood of recusal in

     advance, he would not have appointed Sessions.

           The President then asked Lewandowski to deliver a message to

     Sessions and said, write this down.        That was the first time the

     President had asked Lewandowski to take dictation, and Lewandowski

     wrote as fast as possible to make sure he captured the content

     correctly.

           Mr. Philbin.     I'm sorry.    We've been given the wrong page.

           Chairman Nadler.       Ms. Lewandowski -- sorry -- Ms. Hicks, read

     the next two sentences also if you have it.

           Ms. Hicks.     Sure.    The President directed that Sessions

     should give a speech publicly announcing -- the dictated message

     went on to state.

           Mr. Trout.     So this is -- to be clear, this is page 91, and

     I'm not sure which volume we're talking about.

           Chairman Nadler.       Volume two.

           Ms. Istel.     Volume two.

           Chairman Nadler.       I think everything -- okay.

           Are you familiar with the events described in that excerpt

     from the special counsel's report that you just read?

           Mr. Purpura.     Objection.

           Chairman Nadler.       And you are objecting on what basis, sir?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 22 of 274
                                                        UNOFFICIAL COPY        21




           Mr. Purpura.   The same basis that would call for her

     knowledge of events that occurred during her time as senior

     adviser to the White House.

           Chairman Nadler.    In other words, you are asserting absolute

     immunity that she cannot testify as to any knowledge of anything

     that occurred after the President was inaugurated?

           Mr. Purpura.   During her time as adviser to the President she

     cannot be --

           Chairman Nadler.    She cannot refer to anything -- your

     contention is that as a result of absolute immunity she cannot

     state anything about her knowledge of anything during the period

     of time in which she was employed in the White House?

           Mr. Purpura.   For the purpose of this hearing, yes.

           Chairman Nadler.    Okay.   When Mr. Lewandowski visited the

     White House on June 19th, 2017, he was not an employee of the

     White House or the administration, correct?

           Mr. Purpura.   Objection.

           Chairman Nadler.    That's a matter of public knowledge.       It

     has nothing to do with whether she was a member -- a White House

     staff person or not.     She would know that in any event, so it

     should not be covered by this.

           Mr. Purpura.   Under the terms of the absolute immunity

     described in Mr. Cipollone's letter, she may not speak about

     anything that occurred during the time of her employment in the

     White House as a close adviser to the President.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 23 of 274
                                                        UNOFFICIAL COPY   22




           Chairman Nadler.   Anything that occurred during that time?

           Mr. Purpura.   During her service as close adviser to the

     President.

           Chairman Nadler.   Did a war break out between Israel and

     Egypt during that time period?

           Mr. Purpura.   Same objection.

           Chairman Nadler.   Same objection.

           Well, I'll ask these questions for the record so you can

     object for the record.

           Do you recall if you knew why Mr. Lewandowski was at the

     White House that day?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Were you present for any portion of that

     meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Do you know if anyone else was present for

     any portions of that meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Have you discussed that meeting with

     anyone -- do you know if anyone else was present for any portion

     of that meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Have you discussed that meeting with anyone

     outside of the White House?

           Mr. Purpura.   Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 24 of 274
                                                        UNOFFICIAL COPY      23




           Chairman Nadler.    Well, that could happen after she left the

     White House.

           Have you discussed that meeting with anyone outside of the

     White House?

           Mr. Purpura.     Objection to the extent that it did not occur

     during her time as an official -- close adviser to the President.

           Mr. Trout.     Mr. Chairman, I would object to any

     questions -- conversations she may have had with her counsel.

           Chairman Nadler.    I'm sorry?   Oh, with her counsel.    Aside

     from that.

           Mr. Trout.     I don't know whether --

           Chairman Nadler.    Have you discussed that meeting with anyone

     other than your counsel outside of the White House since you left

     the White House?

           Ms. Hicks.     No, sir.

           Chairman Nadler.    Okay.   And you haven't discussed it with

     the special counsel?

           Mr. Trout.     You can answer.

           Mr. Purpura.     Again, Mr. Chairman, after -- from the time

     when she was not a close adviser to the President.

           Chairman Nadler.    Okay.   With your -- you don't have to

     repeat the whole thing every time.     With your personal attorneys,

     same objection?    Oh.   Go ahead.

           Mr. Philbin.     I believe Mr. Trout objected to that.

           Mr. Trout.     Mr. Chairman, I do not want her and I would
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 25 of 274
                                                        UNOFFICIAL COPY    24




     instruct her not to answer any questions about her conversations

     with her personal counsel.

           Chairman Nadler.    Okay.     Fair enough.

           Did you discuss that meeting with Mr. Lewandowski?

           Mr. Philbin.     The same objection, Mr. Chairman, finding

     various ways to probe about getting into the events in the

     White House during the time that she was a senior adviser.

           Chairman Nadler.    I think if she -- it wouldn't be within the

     scope of your objection if she discuss -- answering yes or no with

     respect to whether she discussed this with Mr. Lewandowski after

     she left the White House.     The substance of the conversation might

     be a different question, but whether she --

           Mr. Purpura.     That's fine.    Answer.

           Ms. Hicks.     As I said earlier, I have not spoken to

     Mr. Lewandowski since then at the White House.

           Chairman Nadler.    With anyone else?

           Ms. Hicks.     I already answered that question.

           Chairman Nadler.    Have you -- well, have you discussed that

     meeting with anyone else since you left the White House?

           Ms. Hicks.     Again, no.

           Chairman Nadler.    Okay.

           Do you recall at some point learning about a specific script

     that on June 19th, 2019, the President asked Mr. Lewandowski to

     deliver to then Attorney General Jeff Sessions?

           Mr. Purpura.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 26 of 274
                                                         UNOFFICIAL COPY     25




           Chairman Nadler.    Same basis?

           Mr. Purpura.     Yes.

           Chairman Nadler.    Please take a moment to review the second

     highlighted portion of the exhibit.     Would you read it out loud,

     please?

           Ms. Hicks.     I note that I recused myself from certain things

     having to do with specific areas, but our President of the United

     States is being treated very unfairly.       He shouldn't have a

     special prosecutor-slash-counsel because he hasn't done anything

     wrong.    I was on the campaign with him for 9 months.     There were

     no Russians involved with him.     I know it for a fact because I was

     there.    He didn't do anything wrong except he ran the greatest

     campaign in American history.

           Now a group of people want to subvert the Constitution of the

     United States.     I'm going to meet with the special prosecutor to

     explain this is very unfair and let the special prosecutor move

     forward with investigating election meddling for future elections

     so that nothing can happen in future elections.

           Chairman Nadler.    Yeah.   Ms. Lewandowski, I think, in reading

     this --

           Ms. Hicks.     My name is Ms. Hicks.

           Chairman Nadler.    I'm sorry, Ms. Hicks.    I'm preoccupied.

           I think in reading this you skipped the first sentence, which

     reads:    The President directed that Sessions should give a speech

     publicly announcing --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 27 of 274
                                                         UNOFFICIAL COPY   26




           Ms. Hicks.     Sorry.   There wasn't an indication that I was

     supposed to read that.

           The President directed that Sessions should give a speech

     publicly announcing the portion I just read.

           Chairman Nadler.     Okay.    Does that refresh your recollection?

           Ms. Hicks.     No.

           Chairman Nadler.     After the June 19th meeting, did you see

     the President?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Can you describe his reaction to that

     meeting?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did you at any point discuss with the

     President any of the matters raised during the meeting?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did the President at any point ever tell

     you he dictated that message to Mr. Lewandowski?

           Mr. Purpura.     Objection.

           Chairman Nadler.     According to the report, the President told

     Mr. Lewandowski to tell Sessions that if Sessions delivered that

     statement, he would be the, quote, most popular guy in the

     country, unquote, from volume 292 -- page 92 of the Mueller

     report.

           Did the President tell you he said that?

           Mr. Purpura.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 28 of 274
                                                        UNOFFICIAL COPY   27




           Chairman Nadler.   Did Lewandowski tell you the President told

     him that?

           Mr. Purpura.   Objection.

           Chairman Nadler.   After -- and let me state for the record,

     again, that all these objections are not based on any assertion of

     privilege but on the claim of so-called absolute immunity,

     correct?

           Mr. Purpura.   Yes, Mr. Chairman.

           Chairman Nadler.   All right.   Where were we?

           After the June 19th meeting, did you at any point discuss

     with Mr. Lewandowski any of the matters raised during the meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Did Mr. Lewandowski express any concerns

     coming out of that meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Please describe anything else

     Mr. Lewandowski said about the June 19th meeting.

           Mr. Purpura.   Objection.

           Chairman Nadler.   Do you recall when the next time

     Mr. Lewandowski came to the White House was?

           Mr. Purpura.   Objection.

           Chairman Nadler.   I'd like to introduce into the record page

     93 and page 94 of volume two, including footnote 625, as the next

     exhibit.

                              [Hicks Exhibit No. 5
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 29 of 274
                                                        UNOFFICIAL COPY     28




                               Was marked for identification.]

           Chairman Nadler.    And can you please read out loud the

     highlighted portion into the record?

           Ms. Hicks.     Immediately following the meeting with the

     President, Lewandowski --

           Chairman Nadler.    You skipped the first sentence.

           Ms. Hicks.     It's --

           Chairman Nadler.    Oh, okay.   I'm sorry.   Go ahead.

           Ms. Hicks.     Immediately following the meeting with the

     President, Lewandowski saw Dearborn in the anteroom outside the

     Oval Office and gave him a typewritten version of the message the

     President had dictated to be delivered to Sessions.      Lewandowski

     said he asked Hope Hicks to type the notes when he went into the

     Oval Office and then retrieved the notes from her partway through

     the meeting with the President.

           Chairman Nadler.    Is the account that Mr. Lewandowski gave

     the special counsel quoted here about asking you to type up his

     notes from his June 19th meeting accurate?

           Mr. Purpura.     Objection.

           Chairman Nadler.    You object even though this is recounted in

     the special counsel's report?

           Mr. Purpura.     I object, Mr. Chairman, respectfully to -- the

     question asked her to characterize whether it was accurate, which

     would then cause her to talk about things she witnessed and

     observed during her time as a close adviser to the President.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 30 of 274
                                                        UNOFFICIAL COPY   29




           Chairman Nadler.   Do you recall if you knew why

     Mr. Lewandowski was at the White House that day?

           Mr. Purpura.   Objection.

           Chairman Nadler.   And when did you first learn of the

     meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Were you present for any portion of the

     July 19th meeting?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Was anyone else present for the meeting

     between Lewandowski and the President?

           Mr. Purpura.   Objection.

           Chairman Nadler.   To the best of your recollection, please

     describe exactly what Mr. Lewandowski said to you when he handed

     you these notes?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Do you recall what Mr. Lewandowski's notes

     said or generally what they were about?

           Mr. Purpura.   Objection.

           Chairman Nadler.   To the best of your recollection, did the

     special counsel's report accurately describe what Mr. Lewandowski

     asked you to type up?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Where did you type the notes?

           Mr. Purpura.   Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 31 of 274
                                                        UNOFFICIAL COPY      30




           Chairman Nadler.     Was anyone else present when

     Mr. Lewandowski handed you the notes?

           Mr. Purpura.     Objection.

           Chairman Nadler.     After you typed the notes, did you give it

     back to Mr. Lewandowski?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did he say anything to you during that

     exchange?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did he then return to the meeting with the

     President?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did you show anyone else the notes or keep

     copies for yourself?

           Mr. Purpura.     Objection.

           Chairman Nadler.     Did you discuss this exchange with the

     Special Counsel's Office?

           Mr. Purpura.     Objection.

           Chairman Nadler.     That would be after she was at the

     White House.

           Mr. Trout.     No.   All of her interviews with special counsel

     were while she was at the White House.

           Chairman Nadler.     And your objection includes even things

     having nothing to do with the White House?

           Mr. Trout.     Well, I am not --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 32 of 274
                                                        UNOFFICIAL COPY    31




           Chairman Nadler.    We went through the Israel-Egyptian nonwar

     before.   Okay.

           Did you discuss this exchange with the special counsel's

     office while you were at the White House?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Did you discuss this exchange with the

     special counsel's office after you were at the White House?

           Ms. Hicks.     I didn't meet with the special counsel after I

     was at the White House.

           Chairman Nadler.    Nor talk to him?   So your answer is no?

           Ms. Hicks.     Correct.

           Chairman Nadler.    Did you share any notes or documents with

     the special counsel regarding this meeting?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Did you at any point discuss with the

     President the notes or Mr. Lewandowski's request to type them?

           Mr. Purpura.     Objection.

           Chairman Nadler.    During your tenure at the White House, did

     you know if Mr. Lewandowski did, in fact, deliver the note to

     Attorney General Sessions or another administration official?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Have you ever discussed -- have you ever

     discussed this incident with anyone outside of the special counsel

     and your attorney?

           Mr. Purpura.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 33 of 274
                                                         UNOFFICIAL COPY   32




           Chairman Nadler.    You can't object to that.     The word is

     "ever" not "while" she was at the White House.

           Mr. Purpura.     Fair point, Mr. Chairman, with the caveat of

     not discussing events that occurred while she was in the

     White House.

           Chairman Nadler.    Have you ever discussed this incident with

     anyone outside of the special counsel and your attorney?

           Ms. Hicks.     Not to my recollection.

           Chairman Nadler.    Okay.     Were there any other times when the

     President asked Mr. Lewandowski to deliver a message for him

     specifically to other administration officials or former

     officials?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Were there any other times when the

     President asked someone outside of the White House or the

     administration other than Mr. Lewandowski to deliver a message

     to -- for him to other administration officials or former

     officials?

           Mr. Purpura.     Objection.

           Chairman Nadler.    What about after you were at the

     White House?

           Ms. Hicks.     I'm not aware of any of those directives.

           Chairman Nadler.    Did anyone at the White --

           Ms. Hicks.     Sorry.

           Ms. Dean.    We're having a hard time hearing.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 34 of 274
                                                         UNOFFICIAL COPY    33




           Chairman Nadler.    Did anyone at the White House give you

     documents about this incident in preparation for meeting with the

     special counsel?

           Mr. Purpura.     Objection.

           Chairman Nadler.    The meeting with special counsel also

     occurred while you were at the White House?       Okay.

           Do you find it unusual at -- I'm sorry -- did you find it

     unusual at the time that the President asked Mr. Lewandowski to

     deliver a message to the Attorney General?       Did the President's

     request raise any concerns for you at the time?

           Mr. Purpura.     Objection.

           Chairman Nadler.    What about now?

           Let me rephrase the question.       Did the President's request at

     that time raise any concerns for you now?       Are you concerned about

     it in retrospect?

           Ms. Hicks.     I'm not going to answer a hypothetical question.

           Chairman Nadler.    It's not a hypothetical question.     I'm

     asking are you concerned about it?

           Mr. Trout.     Mr. Chairman, can we confer just briefly?

           Chairman Nadler.    Sure.

           [Discussion off the record.]

           Ms. Hicks.     I haven't given it any thought.

           Chairman Nadler.    Okay.     Well, let me rephrase the question.

     Sitting here today, do you find it concerning that the

     President -- today -- that the President asked Mr. Lewandowski to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 35 of 274
                                                         UNOFFICIAL COPY    34




     deliver a message to the Attorney General?

           Ms. Hicks.     "Concerning" would not be the word I would use to

     describe how I view that.

           Chairman Nadler.    Well, in any way problematic?

           Ms. Hicks.     I view it as odd.

           Chairman Nadler.    Odd.   And why do you view it as odd?

           Mr. Philbin.     Mr. Chairman, we're going to object to further

     line of questioning on this --

           Chairman Nadler.    On what basis?

           Mr. Philbin.     Because it's based on knowledge that she

     obtained while she was a senior adviser to the President and it's

     probing into that past and her --

           Chairman Nadler.    She is -- I'm asking her about it --

           Mr. Philbin.     -- to characterize those events.    And she's

     immune from testifying about those events whether factually or by

     giving her characterization of them after the fact.

           Chairman Nadler.    I'm sorry.     Repeat that last sentence.

           Mr. Philbin.     She is immune from testifying about those

     events and things that she learned in her role as senior adviser

     to the President whether by relating the events themselves or by

     giving a characterization or analysis of them after the fact.

           Chairman Nadler.    Well, number one, we disagree with that,

     obviously.   But number two, I am not asking her about her attitude

     then or about the events then.     I'm asking her if she is now -- if

     she finds -- why she finds it odd, as she said a moment ago she
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 36 of 274
                                                         UNOFFICIAL COPY      35




     did, based on reading the public record.

           Mr. Philbin.     Well, the same objection stands.    And she may

     not --

           Chairman Nadler.    No, it doesn't.

           Mr. Philbin.     She does, Mr. Chairman.    I respectfully

     disagree.

           Chairman Nadler.    I ask that you answer the question.

           Mr. Trout.     There has been an objection.    We have indicated

     that we will --

           Chairman Nadler.    We've noted the objection.

           Mr. Trout.     And consistent with the letter that I wrote to

     you yesterday, she is not going to answer any questions as to

     which the White House objects.

           Chairman Nadler.    Okay.     Do you recall the President giving a

     live interview the same day as the July 19th, 2017, meeting with

     Mr. Lewandowski, the meeting where you typed the notes?

           Mr. Purpura.     Objection.

           Chairman Nadler.    I'd like to introduce pages 93 to 94 of

     volume two, including footnote 636 of the Mueller report, as the

     next exhibit.

                               [Hicks Exhibit No. 6

                               Was marked for identification.]

           Chairman Nadler.    Can you please read out loud the

     highlighted portion into the record?

           Ms. Hicks.     Within hours of the President's meeting with
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 37 of 274
                                                        UNOFFICIAL COPY     36




     Lewandowski on July 19th, 2017, the President gave an unplanned

     interview to The New York Times in which he criticized Sessions'

     decision to recuse from the Russia investigation.      The President

     said that, quote, Sessions should never have recused himself, and

     if he was going to recuse himself, he should have told me before

     he took the job and I would have picked somebody else, close

     quote.

           Sessions' recusal, the President said, was very unfair to the

     President.   How do you take a job and then recuse yourself?     If he

     would have recused himself before the job, I would have said,

     Thanks, Jeff, but I can't, you know, I'm not going to take you,

     close quote.   It's extremely unfair, and that's a mild word to the

     President.

           Hicks, who was present for the interview, recalled trying to,

     quote, throw herself between the reporters and the President to

     stop parts of the interview, but the President, quote, loved the

     interview.

           Chairman Nadler.   Is that description of the events accurate?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Did you discuss this incident with the

     special counsel?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Did you tell the special counsel you tried

     to throw yourself between the reporters and the President, in

     quotes, to stop parts of the interview?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 38 of 274
                                                        UNOFFICIAL COPY   37




           Mr. Purpura.   Objection.

           Chairman Nadler.   Is the special counsel's report accurate,

     to your knowledge?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Is the special counsel's report inaccurate,

     to your knowledge?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Did you tell the truth to the special

     counsel?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Objection?

           Let me restate the question.     Did you perjure yourself to the

     special counsel?

           Mr. Purpura.   Same objection.

           Chairman Nadler.   Same objection.

           Why did you want to stop the New York Times interview?

           Mr. Purpura.   Objection.

           Chairman Nadler.   Do you recall discussing the interview with

     Lewandowski?

           Mr. Purpura.   Objection.

           Chairman Nadler.   What about anyone else outside the

     White House or the special counsel's office?

           Mr. Purpura.   Objection.

           Chairman Nadler.   I'd like to read the second highlighted

     portion from that -- I'd like you to read the second highlighted
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 39 of 274
                                                        UNOFFICIAL COPY   38




     portion from that page into the record.

           Ms. Hicks.     Later that day Lewandowski met with Hicks and

     they discussed the President's New York Times interview.

     Lewandowski recalled telling Hicks about the President's request

     that he meet with Sessions and joking with her about the idea of

     firing Sessions as a private citizen if Sessions would not meet

     with him.

           As Hicks remembered the conversation, Lewandowski told her

     the President had recently asked him to meet with Sessions and

     deliver a message that he needed to do, quote, the right thing and

     resign.    While Hicks and Lewandowski were together, the President

     called Hicks and told her he was happy with how coverage of his

     New York Times interview criticizing Sessions was playing out.

           Chairman Nadler.    Is that what you told the special counsel?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Is that description of the events accurate?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Do you recall speaking with Lewandowski

     that day?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Did Lewandowski tell you that the President

     asked him to meet with Sessions to deliver the note you typed up?

           Mr. Purpura.     Objection.

           Chairman Nadler.    Did he tell you if he delivered that

     message?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 40 of 274
                                                        UNOFFICIAL COPY    39




           Mr. Purpura.   Objection.

           Chairman Nadler.    Did you ever follow up with him and ask him

     if he delivered the message?

           Mr. Purpura.   Objection.

           Chairman Nadler.    Did you ask him not to deliver the message?

           Mr. Purpura.   Objection.

           Chairman Nadler.    Do you believe what you said to the special

     counsel?

           Mr. Purpura.   Objection.

           Chairman Nadler.    I'm asking her what she believes now.

           Mr. Philbin.   The same objection.    It's an attempt to have

     her characterize the testimony that was given during her time as a

     senior adviser to the President.

           Chairman Nadler.    I'm asking you if you believe what you said

     to the special counsel.

           Mr. Philbin.   Objection.

           Chairman Nadler.    I assume you would say that you testified

     truthfully to the special counsel.     Do you object to that, too?

           Mr. Philbin.   Yes, Mr. Chairman, for the reasons we've

     stated.    These are all attempts to have her characterize the

     testimony that was given which relates to the events at the time

     she was a senior adviser to the President.     She's immune from

     being compelled to testify about those events whether in the first

     instance or by characterizing the testimony she gave about those

     events.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 41 of 274
                                                        UNOFFICIAL COPY      40




           Chairman Nadler.     Ms. Hicks, again, are you asserting any

     other basis for declining to answer these questions -- this

     question or any of the other questions?

           Ms. Hicks.     No.

           Chairman Nadler.     Are you asserting any privileges in

     declining to answer the question, any specific privileges?

           Ms. Hicks.     No.

           Chairman Nadler.     Are you asserting executive privilege in

     declining to answer the question?

           Ms. Hicks.     No, sir.

           Chairman Nadler.     And will you answer any other questions

     about this matter?

           Mr. Philbin.     Mr. Chairman, I think Mr. Trout made it clear

     in his letter yesterday --

           Chairman Nadler.     I'm asking Ms. Hicks.   I'll ask Mr. Trout

     in a moment.

           Ms. Hicks.     I'd like to answer whatever is not objected to.

           Chairman Nadler.     Okay.   Not objected to by whom?

           Ms. Hicks.     By the White House.

           Chairman Nadler.     By the White House.

           Now, to the White House counsel, are you asserting any other

     basis for declining -- for advising Ms. Hicks to decline to answer

     these questions?

           Mr. Purpura.     Not at this time.

           Chairman Nadler.     So your answer is no?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 42 of 274
                                                        UNOFFICIAL COPY   41




           Mr. Purpura.     Correct.

           Chairman Nadler.    Are you asserting any privileges in

     declining to -- in advising Ms. Hicks to decline to answer these

     questions?

           Mr. Purpura.     Not at this time, Mr. Chairman.

           Chairman Nadler.    What?

           Mr. Purpura.     Not at this time, Mr. Chairman, no.

           Chairman Nadler.    Are you asserting executive

     privilege -- are you advising Ms. Hicks in refusing to answer

     these questions on the basis of executive privilege?

           Mr. Purpura.     Not at this time, Mr. Chairman, no.

           Chairman Nadler.    And will you permit her to answer any other

     questions about this matter?

           Mr. Purpura.     No, Mr. Chairman, not at this time.

           Chairman Nadler.    Okay.   Thank you.

           I now recognize the gentlelady from Texas, Ms. Jackson Lee,

     for questions.

           Mr. Trout.     Mr. Chairman, I think there are a number of

     people taking pictures here, and I just want to say that I think

     it's making the witness uncomfortable.     And I would very much

     appreciate it as a courtesy, if nothing else, if we could --

           Chairman Nadler.    That's fine.   If people will please refrain

     from taking pictures.

           Ms. Jackson Lee.

           Ms. Jackson Lee.    Good morning, Ms. Hicks.   I am Sheila
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 43 of 274
                                                        UNOFFICIAL COPY   42




     Jackson Lee.

           Ms. Hicks.    Good morning.

           Ms. Jackson Lee.   I'm going to have one or two questions

     and -- I've done it again -- one or two questions in a number of

     different areas.

           Let me first start with the report.     According to the report,

     by late summer of 2016 the Trump campaign was planning a press

     strategy, a communications campaign and messaging, based on the

     possible release of Clinton emails by WikiLeaks.      Who was involved

     in that strategy?

           Ms. Hicks.    I don't recall.

           Ms. Jackson Lee.   I thought you were intimately involved in

     the campaign.

           Ms. Hicks.    I was.   It's not something I was aware of.

           Ms. Jackson Lee.   What about the communications campaign, who

     was involved there?    Do you not recall or do you not know?

           Ms. Hicks.    To my recollection, it's not something I was

     aware of.

           Ms. Jackson Lee.   So you're saying you do not know?

           Ms. Hicks.    I'm saying, to the best of my recollection, I was

     not aware of that at the time.

           Ms. Jackson Lee.   What about the actual messaging, who was

     involved there?

           Ms. Hicks.    There were several different people that were

     involved in different parts of the campaign throughout various
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 44 of 274
                                                        UNOFFICIAL COPY     43




     phases.

             Ms. Jackson Lee.   What are their names?

             Ms. Hicks.   So you'd have to be more specific.

             Ms. Jackson Lee.   What are their names?

             Ms. Hicks.   There was obviously a lot of turnover, as has

     been widely reported.

             Ms. Jackson Lee.   But in the messaging what would be the core

     people that you remember?

             Ms. Hicks.   Again, if there was a more specific timeframe,

     that would be helpful.     Post-Republican National Convention, that

     would be helpful.

             Ms. Jackson Lee.   Who specifically was engaged with the

     Russian strategy, messaging strategy, post the convention, late

     summer 2016?

             Ms. Hicks.   I'm sorry.   I don't understand the question.    I'm

     not aware of a Russian messaging strategy.

             Ms. Jackson Lee.   So specifically it goes to the release of

     the various WikiLeaks information.      Who was engaged in that?

             Ms. Hicks.   So, I mean, I assume you're talking about late

     July?

             Ms. Jackson Lee.   Late July, late summer, July, August 2016.

             Ms. Hicks.   So there were several people involved.     It

     was -- I think a "strategy" is a wildly generous term to describe

     the use of that information, but --

             Ms. Jackson Lee.   But you were engaged in the campaign.     What
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 45 of 274
                                                        UNOFFICIAL COPY    44




     names, what specific persons were involved in that strategy of the

     impact of Russia and the issuance of the WikiLeaks effort late

     summer?

           Ms. Hicks.   Again, you --

           Ms. Jackson Lee.   Were you involved?    Were you part of the

     strategy?   You have a communications emphasis.

           Ms. Hicks.   I'm sorry.   I'm just not understanding the

     question.   You're talking about a Russian strategy.     The campaign

     didn't have a Russian strategy.

           There was an effort made by the campaign to use information

     that was publicly available, but I'm not aware of a Russian

     strategy, communications or otherwise.

           Ms. Jackson Lee.   Well, what names were engaged in the

     strategy that you remember, messaging based on the possible

     release of Clinton emails by WikiLeaks, which is what I said?

           Ms. Hicks.   Sorry.   I'd like to confer with my counsel.

     Thanks.

           Ms. Jackson Lee.   Thank you.

           [Discussion off the record.]

           Mr. Gaetz.   Ms. Jackson Lee, while Ms. Hicks is speaking with

     her counsel, I just want to let you know of a dynamic back here on

     the back row.   We're having a little bit of a hard time hearing,

     and so if you guys could get right up on the microphone.        And then

     there's a good amount of sort of murmuring and people shuffling in

     the row directly in front of us.      It's probably Mr. Cicilline.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 46 of 274
                                                        UNOFFICIAL COPY     45




     But if we could --

           Mr. Cicilline.   Gasping in disbelief.

           Mrs. Demings.    You can't hear anybody speaking, so if

     everybody could speak up.

           Ms. Jackson Lee.   Mr. Gaetz, I will speak as loudly as I

     possibly can.    Can you hear me now?

           Mr. Gaetz.   Yes, ma'am.    Thank you.   We're all the better for

     it.

           Ms. Jackson Lee.   Outstanding.    Thank you.

           Ms. Hicks.   Thank you.    Do you want to repeat your question

     one more time?

           Ms. Jackson Lee.   Yes.    I'm going to read from my earlier

     comment.   According to the report, by late summer of 2016 the

     Trump campaign was planning a press strategy, a communications

     campaign, and messaging based on the possible release of Clinton

     emails by WikiLeaks, volume 1, 54.      Were you involved in deciding

     how the campaign would respond to press questions about WikiLeaks?

           Ms. Hicks.   I assume that I was.    I have no recollection of

     the specifics that you're raising here.

           Ms. Jackson Lee.   With that in mind, would you agree that the

     campaign benefited from the hacked information on Hillary Clinton?

           Ms. Hicks.   This was publicly available information.

           Ms. Jackson Lee.   Were you -- would you agree that the

     campaign benefited from the hacked information on Hillary Clinton?

           Ms. Hicks.   I don't know what the direct impact was of the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 47 of 274
                                                        UNOFFICIAL COPY        46




     utilization of that information.

           Ms. Jackson Lee.    Well, let me follow up with, did this

     information help you attack the opponent of Mr. Trump?

           Ms. Hicks.   I take issue with the phrase "attack."       I think

     it allowed the campaign to discuss things that would not otherwise

     be known but that were true.

           Ms. Jackson Lee.    So the campaign -- is it your position the

     campaign benefited from the hacked emails of Ms. Clinton?

           Ms. Hicks.   It is not my position that we benefited from

     those emails.   It's my position that we used publicly available

     information in the course of the campaign --

           Ms. Jackson Lee.    And the campaign benefited from it?

           Ms. Hicks.   -- to differentiate between candidates.

           Ms. Jackson Lee.    Did Mr. Trump win?

           Ms. Hicks.   Yes, he did.

           Ms. Jackson Lee.    Then it is likely that he would have

     benefited?

           Ms. Hicks.   I think that is a -- I think that's a big jump.

     I think there are many other reasons that Mr. Trump won that

     election.    I'm not sure that you can attribute it to one factor.

           Ms. Jackson Lee.    Let me move to another line of questioning

     regarding Mr. Cohen.     Can you describe Mr. Trump's relationship

     with Michael Cohen during the campaign?

           Ms. Hicks.   Michael was an employee of The Trump

     Organization.   He continued in that role throughout the campaign.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 48 of 274
                                                        UNOFFICIAL COPY        47




     And I would say that their contact and interactions were minimal

     during that time given Mr. Trump's extensive travel schedule.

           Ms. Jackson Lee.     How often would they speak?

           Ms. Hicks.     I'm not aware of the frequency with which they

     spoke.

           Ms. Jackson Lee.     Do you think Mr. Trump trusted Mr. Cohen?

           Ms. Hicks.     I am not going to speculate about the feelings or

     motivations of others.     I am not --

           Ms. Jackson Lee.     Were you ever present when Trump and Cohen

     discussed Stormy Daniels?

           Ms. Hicks.     No, ma'am.

           Ms. Jackson Lee.     You were never present when they discussed

     Stormy Daniels?

           Ms. Hicks.     No.

           Ms. Jackson Lee.     I'm going to say it again.     Were you ever

     present when Trump and Mr. Cohen discussed Stormy Daniels, since

     it was all over the news that that occurred?

           Mr. Philbin.     Let me just object to make -- my understanding

     is this question is limited to during campaign.         That's the line

     of questioning.

           Ms. Jackson Lee.     That's correct, sir.

           Ms. Hicks.     So, no is my answer.

           Ms. Jackson Lee.     So do you know what they would say?

           Ms. Hicks.     I'm sorry.   I don't understand.

           Ms. Jackson Lee.     You don't know what would have been said?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 49 of 274
                                                        UNOFFICIAL COPY    48




     You don't have any recollection --

           Ms. Hicks.    I was never present --

           Ms. Jackson Lee.     -- of hearing what was the discussion?

           Ms. Hicks.    I was never present for a conversation --

           Ms. Jackson Lee.     If Cohen was making a public statement,

     would he get approval from you first?

           Ms. Hicks.    That would be my preference, however, that was

     not always the case.

           Ms. Jackson Lee.     When did he not get your approval?

           Ms. Hicks.    I can't recall a specific example, but there were

     many times he would make television appearances or speak to

     reporters without checking with anybody on the campaign.        He would

     do so on his own.

           Ms. Jackson Lee.     Were you ever upset about what Mr. Cohen

     might have said publicly?

           Ms. Hicks.    Yes.

           Ms. Jackson Lee.     And when was that?

           Ms. Hicks.    When he would say things that weren't accurate or

     that were direct contradictions of campaign messaging.

           Ms. Jackson Lee.     Do you have some examples?

           Ms. Hicks.    One example I recall, the campaign produced an

     advertisement.     There was a mistake in the footage, or a perceived

     mistake rather, in the footage that was used.      The campaign's

     position was that this was an intentional use of footage that was

     not representative of the United States southern border, but
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 50 of 274
                                                        UNOFFICIAL COPY    49




     rather representative of what could happen if Mr. Trump was not

     elected President.

           Ms. Jackson Lee.    What was the footage you're referring to?

           Ms. Hicks.   It was footage of people crossing the border.

     And Michael did an interview without anyone's knowledge and went

     on TV and said that this was not an intentional use of that

     footage but it was, in fact, a mistake.

           Ms. Jackson Lee.    All right.   Let me ask you this.     Did

     you -- did Mr. Trump ever direct you to make public

     statements -- public statements about the hush money payments

     during the campaign?

           Ms. Hicks.   Sorry.   Can you repeat the question?

           Ms. Jackson Lee.    Did Mr. Trump ever direct you to make

     public statements about the hush money payments during the

     campaign?

           Ms. Hicks.   Can I confer with my attorney, please?

           [Discussion off the record.]

           Ms. Hicks.   Thank you.   Sorry.   Go ahead and repeat your

     question one last time.

           Ms. Jackson Lee.    Did Mr. Trump ever direct you to make

     public statements about the hush money payments during the

     campaign?

           Ms. Hicks.   I was directed to make a public statement denying

     that a relationship existed between Mr. Trump and a woman named

     Karen McDougal.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 51 of 274
                                                            UNOFFICIAL COPY    50




             Ms. Jackson Lee.       What about hush payments?

             Ms. Hicks.     I don't believe I commented on the arrangement

     that the National Enquirer or American Media had with this woman.

             Ms. Jackson Lee.       What statement were you directed to make

     about Karen McDougal?

             Mr. Philbin.     I want to make clear, this is all during the

     campaign, correct?

             Ms. Hicks.     Yes.

             I don't -- I don't recall my specific words, but that there

     was no relationship between the two of them.

             Ms. Jackson Lee.       Did you ask the President whether that was

     true?

             Ms. Hicks.     Not to my recollection.

             Ms. Jackson Lee.       We will continue.   Thank you so very much.

             Ms. Hicks.     Thank you.

             Mr. Gohmert.     Just to clarify, though, when you say did she

     ask the President, that sounds like you're asking about while he

     was President.       You're talking about did she ask candidate Trump?

             Ms. Jackson Lee.       These questions I asked were pertaining to

     the campaign.

             Mr. Neguse.     Good morning, Ms. Hicks.     I want to ask you

     about a different topic, but just finishing up on that topic with

     respect to what Representative Gohmert mentioned.          So this was

     during the campaign.          Who directed you to make this statement?

             Ms. Hicks.     Mr. Trump.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 52 of 274
                                                        UNOFFICIAL COPY    51




           Mr. Neguse.    When -- so switching gears -- when did you first

     become aware that the Russian Government was attempting to

     interfere in the 2016 elections?

           Ms. Hicks.    Whenever that was made publicly available.

           Mr. Neguse.    You have no direct recollection of in terms of a

     time period that you learned that that was happening?

           Ms. Hicks.    I have recollections of when it was first raised,

     I believe, by the Clinton campaign during the Democratic National

     Convention.   And I don't recall specifically when an assessment

     was made by anybody outside of the Clinton campaign, but when the

     information was available publicly that that would be when I

     learned about it.

           Mr. Neguse.    Do you recall being told at any point prior to

     the election that anyone at the Trump campaign had been offered

     information on Secretary Clinton?

           Ms. Hicks.    No, not to my knowledge.

           Mr. Neguse.    You don't, you don't believe that that happened,

     that you were told at any point prior to the election that that

     had occurred?

           Ms. Hicks.    I don't have any recollection of that.

           Mr. Neguse.    Did you discuss who might have hacked Secretary

     Clinton's campaign emails with anyone during the campaign?

           Ms. Hicks.    I believe it was a topic of discussion generally

     within the media.    I'm sure it was discussed amongst staffers.

           Mr. Neguse.    And with respect to the discussions that you had
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 53 of 274
                                                          UNOFFICIAL COPY   52




     with staffers on the campaign, what did those discussions entail?

     What were the view of folks on the campaign in terms of who hacked

     Secretary Clinton's emails?

             Ms. Hicks.    There's no definitive point of view that comes to

     mind.

             Mr. Neguse.    Did you --

             Ms. Hicks.    Speculation.

             Mr. Neguse.    Did you discuss it ever with Mr. Trump prior to

     the election?

             Ms. Hicks.    I don't recall any specific conversations.

             Mr. Neguse.    So you don't recall ever speaking with Mr. Trump

     regarding whether Russia and the Russian Government had hacked

     Secretary Clinton's emails?

             Ms. Hicks.    Oh, excuse me.   Sorry.   Thank you for rephrasing

     the question.

             I think that there were conversations about that that I

     remember specifically prior to debates, and nothing was said

     privately that he hasn't said publicly.

             Mr. Neguse.    So -- but I -- I am wanting to know your

     recollection as to those conversations of what did he say to you

     regarding the hack --

             Ms. Hicks.    Like I said, nothing that was said to me

     privately that he hasn't also repeated publicly.

             Mr. Neguse.    And what would that be?

             Ms. Hicks.    I hope I'm not botching his quote, but I believe
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 54 of 274
                                                        UNOFFICIAL COPY   53




     that it was something to the effect of it could have been Russia,

     it could have been China, it could have been somebody at home in

     their basement.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 55 of 274
                                                        UNOFFICIAL COPY    54




     [10:02 a.m.]

           Mr. Neguse.    So those comments that he said publicly, that

     was his position to you privately in your conversations with

     him --

           Ms. Hicks.    Exactly.

           Mr. Neguse.    -- during the campaign?

           Ms. Hicks.    Yes.

           Mr. Neguse.    At the time, who did you think did the hack?

     Did you agree with him?

           Ms. Hicks.    I don't have an opinion on that.

           Mr. Neguse.    You didn't have any opinion on that then?

           Ms. Hicks.    Correct.

           Mr. Neguse.    You do have an opinion on that now, I presume?

           Ms. Hicks.    Yes.

           Mr. Neguse.    And what is your opinion now?

           Ms. Hicks.    I'm not here to discuss my opinions.

           Mr. Neguse.    You're here to testify under oath about your

     views of the matters at issue in this --

           Mr. Trout.    I actually don't think that she is under oath,

     but she is going to tell the truth.

           Mr. Neguse.    Under 18 USC 1001, as Chairman Nadler

     articulated in the beginning of the hearing.     In any event, you're

     declining to answer your opinion as to the --

           Ms. Hicks.    I agree with the assessment of the intelligence

     community.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 56 of 274
                                                         UNOFFICIAL COPY      55




           Mr. Philbin.     Hold on.    I'd like to object.   To the extent

     this question is asking for views formed, based on information she

     learned while senior adviser to the President, I'm going to

     object.

           Mr. Neguse.     That is not the nature of the question, and I

     think counsel knows that.     So in any event, we'll move on.

           Do you want to complete your answer?      I think you were

     essentially --

           Ms. Hicks.     I agree with the assessment of our intelligence

     community.

           Mr. Neguse.     Thank you.

           Do you recall receiving requests for interviews from Russian

     individuals in the summer of 2015?

           Ms. Hicks.     I've reviewed materials over the process that has

     ensued in the last few years.       So, yes, I'm aware of those.   I

     didn't -- nothing was remarkable about them when I received them

     at the time.

           Mr. Neguse.     Let's just jump -- we'll jump to a page in the

     report just to refresh your recollection, and then we

     can -- because I think we're referring to the same thing.

           Ms. Hicks.     Sure.

           Mr. Neguse.     So on Page 55, Volume 1, footnote 288, quote,

     August 18, 2015, on behalf of the editor in chief of the internet

     newspaper Vzglyad, I believe, Georgi Asatryan e-mailed campaign

     press secretary Hope Hicks asking for a phone or in-person
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 57 of 274
                                                         UNOFFICIAL COPY     56




     candidate interview.       One day earlier the publication's founder

     and former Russian parliamentarian Konstantin Rykov had registered

     two Russian websites, Trump2016.ru and DonaldTrump2016.ru.         No

     interview took place.

           Does that refresh your recollection?      Do you recall receiving

     that request?

           Ms. Hicks.    I don't.    I received hundreds of interview

     requests, sometimes daily, but at the very least weekly, and I

     don't recall receiving that request.

           Mr. Neguse.    You don't recall receiving that particular

     request?

           Ms. Hicks.    No.

           Mr. Neguse.    According to the report, on June 3rd, 2016, Rob

     Goldstone, on behalf of Russian real estate developers, emailed

     Donald Trump, Jr., as you know, to set up a meeting to discuss

     Russian officials' possession of, quote, some official documents

     and information that would incriminate Hillary in her dealings

     with Russia and would be very useful to, bracketed, Donald Jr.'s

     father, end quote, which Mr. Goldstone conveyed was, quote, part

     of Russia and its government support for Mr. Trump, end quote.

     This is on Page 113 of Volume 1.

           Donald Trump, Jr. responded, quote, if it's what you say, I

     love it, end quote.       Again, this is Page 113, and I believe you

     have a copy of the report there at the desk.

           Did you have knowledge of those emails that I just referenced
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 58 of 274
                                                        UNOFFICIAL COPY     57




     at the time that they were written?

           Ms. Hicks.     I did not.

           Mr. Neguse.     Did you ever speak to Mr. Trump Jr. about the

     campaign receiving information, potentially, from foreign

     officials that would incriminate Secretary Clinton?

           Mr. Philbin.     And again just to --

           Mr. Purpura.     Just during the campaign period?

           Mr. Neguse.     During the campaign period, prior to the

     election.

           Mr. Purpura.     Thank you, sir.

           Ms. Hicks.     No, did I not.

           Mr. Neguse.     Never, in 2016, prior to the election, had you

     spoken with Mr. Trump Jr. about this incident in question?

           Ms. Hicks.     I have no recollection of any conversations that

     would fall in that category, no.

           Mr. Neguse.     So are you saying you didn't have those

     conversations or you don't remember whether you had those

     conversations?

           Ms. Hicks.     I'm saying that to the best of my recollection

     here today, I do not recall ever having those conversations.

           Mr. Neguse.     Do you know why he didn't tell you about those

     emails?

           Mr. Purpura.     Objection.   Again, if it's --

           Mr. Neguse.     During -- prior to the election.    Again, I

     understand your -- I would reiterate, obviously, the committee's
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 59 of 274
                                                        UNOFFICIAL COPY     58




     vigorous disagreement with your assertion of absolute immunity.

     But in any event.

           Ms. Hicks.    No, I'm not go to opine on somebody's motivations

     for why they did or didn't tell me something.

           Mr. Neguse.    Do you have any information as to his motives,

     in terms of providing such information or not providing such

     information to you, given your role as the senior communications

     strategist on the campaign?

           Ms. Hicks.    I don't understand the question.   But it sounds

     like a question for -- for him.

           Mr. Neguse.    Did Mr. Trump during the campaign ever tell you

     that he had knowledge that additional information would be

     released with respect to the leaks or -- excuse me -- the hacks

     done by WikiLeaks and so forth?

           Ms. Hicks.    I don't recall any statements or conversations to

     that effect, no.

           Mr. Neguse.    Let me give you one specific example, and then I

     think we have to end this portion of the hearing.

           According to the report, the special counsel's report, in

     late summer of 2016, then candidate Trump and Mr. Gates were

     driving to LaGuardia Airport and had a phone call.      After that

     phone call -- there's a portion of the report that's

     redacted -- it says, quote, Candidate Trump told Gates that more

     releases of damaging information would be coming.      This is on page

     54 of Volume 1 of the report.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 60 of 274
                                                            UNOFFICIAL COPY     59




           Were you aware of that conversation?

           Ms. Hicks.     I don't have any recollection of that

     conversation.

           Mr. Neguse.     Do you recall Mr. Trump telling anyone at the

     campaign in your presence that more information would be leaked?

           Ms. Hicks.     No, I don't.

           Mr. Neguse.     Again, you don't recall, or you are saying that

     those conversations didn't take place?

           Ms. Hicks.     I'm saying I'm not aware of any conversations

     that are as you describe.

           Ms. Hariharan.    All right.     It's the end of the first hour.

     We'll go off the record now.        It is 10:10 a.m.

           [Recess.]

           Mr. Collins.     All right, starting time, 10:21.

           I'm Congressman Doug Collins from Georgia.         I'm the ranking

     member of the Judiciary Committee.

           And a few things that I want to state up front before we get

     started.

           I do want to say that I am concerned, and making this known

     to the majority staff and also the chairman as well, that we did

     have an agreement on members and committee staff to be in here.

     And it was disturbing to me to find that the majority's press

     staff was in here for the majority of the first round of

     questioning, not what I would have considered within the scope of

     pertinent staff availability in this room at that point.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 61 of 274
                                                          UNOFFICIAL COPY     60




             It just goes, frankly, from my opinion, to show that this is

     more for a press availability than it is for actual information,

     and I do, you know, object to that.        I think it has been cleared

     up at this point, they are no longer in the room, but needed to be

     pointed out as we go forward.

             But before I get started with my questions, Ms. Hicks, is

     there anything from the previous hour that you would like to -- I

     want to give you an opportunity to clarify or, you know, elaborate

     on.

             Ms. Hicks.     Yes, sir.   The last question I was asked

     pertaining to candidate Trump being aware of releases of

     information prior to, or the discussion of that.        I don't think I

     was clear enough in saying that there were discussions based on

     public speculation.

             So if people in the media were saying things like, if there

     were more emails to be distributed, that would be devastating to

     the Clinton campaign, certainly that was something that he

     would -- he would opine on, but nothing that wasn't in the public

     domain.

             Mr. Collins.     So nothing out -- it was just basically

     responding to what was being out in the press?

             Ms. Hicks.     Yes, sir.

             Mr. Collins.     All right.   Well, I have a few questions.

     We'll go through these.       And I am accused at times of talking

     fast.    I am from Georgia, so I do talk slow occasionally.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 62 of 274
                                                          UNOFFICIAL COPY     61




           So let's go through a few things, and, again, we'll go

     through this.

           I just have a question.     How many times have you testified

     before Congress about your time in the campaign and the

     transition?

           Mr. Purpura.   Objection.

           Mr. Collins.   Okay.   Did you -- and I'm going to continue

     this line here -- did you testify before the House Select

     Intelligence Committee?

           Mr. Purpura.   Objection.

           Mr. Collins.   So how long?    How long ago?    And how long did

     you testify before them?

           Mr. Lieu.   We can't hear that objection.

           Mr. Philbin.   Just to clarify, the objection is, these

     questions about her testimony relate to her time as a senior

     adviser to the President.    She was a senior adviser to the

     President when these incidents of testimony took place.         It's

     covered under the immunity that we described earlier.

           Mr. Collins.   At this point in time, I'll remind the minority

     that this is not the minority's time, however, and if they would

     like to have an extra time, they will have their time at this

     point.   But I will continue to ask questions at this point.

           Did you testify voluntarily?

           Mr. Purpura.   Objection.    I think we can stipulate that there

     was testimony that occurred --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 63 of 274
                                                           UNOFFICIAL COPY       62




           Mr. Collins.     Okay.

           Mr. Purpura.     -- and go from there.

           Mr. Collins.     All right.   There was testimony that occurred,

     both in the House and the Senate?         Stipulate to that?

           Mr. Purpura.     Stipulate to that, during her time as a senior

     adviser.

           Mr. Collins.     Okay.   The question, did you testify

     voluntarily?   Or in --

           Ms. Hicks.     Yes, sir.

           Mr. Collins.     You did.   Okay.    Testified voluntarily.     And

     I'm assuming you brought a lawyer with you.

           Ms. Hicks.     Yes, sir.

           Mr. Purpura.     Objection.

           Mr. Collins.     Okay.   Did you provide documents to either

     committee?

           Mr. Purpura.     Objection.

           Mr. Collins.     And did you provide those documents

     voluntarily?

           Mr. Purpura.     Objection.

           Mr. Collins.     Let me ask a different question.        Have you

     cooperated with every formal investigation over the past 2 years

     when your documents or testimony have been sought?

           Mr. Purpura.     Objection.

           Mr. Collins.     Okay.   Changing directions here a little bit.

     And this is some questions that you may or may not have knowledge
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 64 of 274
                                                            UNOFFICIAL COPY    63




     of, but I wanted to find out.

             March 4th, 2019, Chairman Nadler -- did Chairman Nadler send

     you a letter requesting documents?

             Mr. Trout.     The answer is yes.

             Mr. Collins.     Okay.   Did you provide documents pursuant to

     this letter?

             Mr. Trout.     Her counsel did.

             Mr. Collins.     Did you provide these documents voluntarily?

             Mr. Trout.     Yes.

             Mr. Collins.     Now that the mike is fixed.

             Did Chairman Nadler issue you a subpoena for documents and

     testimony?

             Mr. Trout.     Yes.   He issued a subpoena to Ms. Hicks.

             Mr. Collins.     Did you provide the documents pursuant to that

     subpoena?

             Mr. Trout.     We provided some documents and withheld other

     documents pursuant to -- and described all of that in a letter to

     the chairman and to the minority.         I believe it was June 4th,

     2019.

             Mr. Collins.     Okay.   So twice the chairman has asked you for

     documents, and twice you have provided them.         Would that be

     correct?

             Mr. Trout.     Well, we have provided those documents that we

     were at liberty to provide.

             Mr. Collins.     Okay.   Going back to the original 81 letters.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 65 of 274
                                                         UNOFFICIAL COPY     64




     Do you -- were you aware that Chairman Nadler was going to issue a

     subpoena, or did that strike you as strange, considering the

     documents that you had already turned over?

           Mr. Trout.     Well, the documents that we turned over, there

     was a specific category of documents that we were requested to

     turn over that did not include everything that was covered by the

     subpoena.   So I did not regard the subpoena as remarkable.

           Mr. Collins.     Okay.   Was the subpoena necessary given that

     you had already produced the -- these documents voluntarily?

           Mr. Trout.     Well, I don't -- I don't speak for the chairman

     or for the committee, so I don't know whether it was necessary.

           Mr. Collins.     Okay.   But do you feel like the requests that

     have been made to you, that you have made a good-faith effort to

     comply with?

           Mr. Trout.     Yes.   We have always conducted ourselves in good

     faith in discussions with the committee, as well as with the White

     House.

           Mr. Collins.     On March 4th -- couple of questions -- March

     4th, Chairman Nadler also sent a letter to Julian Assange

     requesting documents.       Ms. Hicks, do you know if Julian Assange

     produced these documents pursuant to the chairman's request?

           I'll help you.    He didn't.    He did not respond.

           March 4th, did Chairman Nadler send a letter to -- and these

     are others that was in the 81, you were a popular group

     there -- Carter Page requesting documents?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 66 of 274
                                                        UNOFFICIAL COPY    65




           Ms. Hicks.     I'm not aware of any other requests that were

     fulfilled --

           Mr. Collins.     So were you aware --

           Ms. Hicks.     -- outside of my own obligations.

           Mr. Collins.     I apologize.   So you would be aware if they did

     not produce any documents for that?

           Ms. Hicks.     Again, I'm only aware of my own actions.   I'm

     sorry.

           Mr. Collins.     Okay.   And let me just clarify, he did not.

     And for the record, did not.

           Alexander Nix was another one that was asked during this 81

     request, that was asked for documents, and I'm going to go ahead

     and help you, did not also.      Rob Goldstone was another one that

     was actually requested, did not produce anything, and didn't even

     respond to the chairman's request.

           Do you know why the chairman sent you a subpoena, even though

     you had cooperated with his inquiry, but he did not send a

     subpoena to the ones that I have just mentioned -- Julian Assange,

     Carter Page, Alexander Nix, and Rob Goldstone -- who totally

     ignored the chairman's inquiry.

           Ms. Hicks.     I do not know the reason.

           Mr. Collins.     Let me ask you this, in the sense, from the

     perspective of actually doing your best, as was stated earlier,

     that you did a good-faith effort to comply with everything that

     the chairman sent you, didn't it seem that if you choose to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 67 of 274
                                                        UNOFFICIAL COPY     66




     cooperate here, it seems like that if you choose to cooperate,

     you're going to get a subpoena, and if you choose not to

     cooperate, the chairman will ignore you.

           Ms. Hicks.     I'd like to confer with my counsel.   I'm teasing.

           [Discussion off the record.]

           Ms. Hicks.     I'm not going to speculate about others.

           Mr. Collins.     I think the speculation is obvious by looking

     at the record.     What we are seeing in those regards is that -- and

     we have seen this consistently -- that if you make a better press

     hit in this hub, we are seeing that subpoenas are issued for you.

     But if you just choose to willingly ignore, what we're finding is

     that you don't get a subpoena and you're allowed to ignore these.

           A couple more questions that I want to go down, and this

     would be considered -- and would go back to your subpoenas of your

     documents.

           Are you a custodian of documents created by you in your

     official duties as a White House official?

           Mr. Purpura.     Objection.   The chief of staff to the White

     House is the official custodian of White House records.

           Mr. Collins.     Thank you for clarifying that.   And so the

     chief of staff would be the custodian of that.      If the chairman

     wanted documents from your time in the White House, wouldn't it

     be -- the White House be the appropriate entity to ask for those

     documents?

           Mr. Trout.     I think you'd have to ask the White House about
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 68 of 274
                                                           UNOFFICIAL COPY     67




     that.

             Mr. Purpura.     And the White House would say yes.

             Mr. Collins.     Very clear.

             Do you know if Chairman Nadler has asked the White House for

     these documents?

             Mr. Trout.     Do you know?

             Ms. Hicks.     I don't know.

             Mr. Trout.     Okay.   Speak into the --

             Ms. Hicks.     I don't know.

             Mr. Collins.     Are you the custodian of documents created by

     you in your official duties as an employee of Donald Trump's

     campaign for President?

             Ms. Hicks.     No, sir.

             Mr. Collins.     Okay.    Isn't the campaign, in fact, the

     custodian of those documents?

             Ms. Hicks.     Yes, sir.

             Mr. Collins.     Okay.    If the chairman wanted documents from

     your time on the campaign, wouldn't the campaign be the

     appropriate entity to ask for those documents?

             Ms. Hicks.     Yes, sir.

             Mr. Collins.     Do you know if Chairman Nadler has asked for

     those documents from the campaign?

             Ms. Hicks.     I do not.

             Mr. Collins.     Do you know if Chairman Nadler has asked for

     any campaigns for any of the documents that we requested so far?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 69 of 274
                                                        UNOFFICIAL COPY    68




           Ms. Hicks.     I do not.

           Mr. Collins.     I have -- probably will have more.   At this

     time I'm going to pause, and I'm going to yield to the gentleman

     from Texas, Mr. Gohmert.

           Mr. Gohmert.     Thank you.

           Before you accepted employment with the Trump White House,

     Ms. Hicks, did you have any idea that the Clinton campaign had

     helped fund opposition research getting false information from

     Russians that would be used against Donald Trump?

           Ms. Hicks.     No, sir.

           Mr. Gohmert.     And I know you don't want to speculate, but I'm

     really curious.    Now you've been through a great deal on behalf of

     your country.   I can't help but be curious, if you had known the

     hell that you would be put through as a result of the Clinton

     campaign hiring a foreign agent to get information from Russians

     and that people within the FBI and the DOJ and potentially intel

     would be working against the President, would you still have gone

     to work for the President?

           Ms. Hicks.     I'm extremely grateful for the opportunity I had

     to serve, and, yes, I would do it all over again.

           Mr. Gohmert.     Even knowing you had to hire these lawyers?

           Ms. Hicks.     Even knowing that.   I would do anything to make a

     positive contribution for our country, and I'm very grateful I had

     that opportunity.     I'm proud of my service, and I thank all of you

     for your service as well.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 70 of 274
                                                        UNOFFICIAL COPY     69




           Mr. Gohmert.     Well, thank you for your service.

           Mr. Gaetz.     I have no questions for Ms. Hicks, but it seems

     worth noting for the record that this is a preposterous

     proceeding.   The special counsel had an unlimited budget, an

     unlimited amount of time, 19 prosecutors, dozens of Federal

     agents, over 2,000 witness statements, over 500 subpoenas, and the

     concept that a dozen or so Members of Congress are going to sit

     around with Ms. Hicks over the course of a day and uncover some

     fact that was left out of the Mueller report belies any common

     sense.

           And given that we are now through the majority's first hour

     and they have not uncovered a single fact from Ms. Hicks that was

     not evident in the Mueller report, it seems indicative that this

     is largely about posturing and not about any development of any

     facts.

           Mr. Biggs.     Thank you.   Andy Biggs from Arizona's Fifth

     Congressional District.     I thank you for being here today,

     Ms. Hicks.

           And I will say Mr. Gaetz took a lot of my statement, but I

     will -- I want to add on to something, one aspect of this.

           In reviewing the Mueller report, you will find that

     Ms. Hicks' testimony or 302s have been referenced 27 times,

     extensively and exhaustively, in the Mueller report.

           In fact, the majority keeps wanting you to read what you were

     quoted as saying in the Mueller report or other quotations from
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 71 of 274
                                                        UNOFFICIAL COPY     70




     the Mueller report.

           This is really a farce, quite frankly.     It's a waste of your

     time, it's a waste of our time.     Because what we see here is the

     majority wants to relitigate the Mueller investigation.         And they

     believe that the extensive resources that were expended on the

     Mueller investigation, including the 22 months that it took, the

     countless interviews, the subpoenas, 1.4 million documents

     reviewed -- and I keep waiting for them to expand their -- expand

     what they want to do here.

           But we're going to bring you in.    They're going to ask you

     questions that they know that you can't answer.      And it's, quite

     frankly, it's an abuse of process, quite frankly, an abuse of the

     congressional process.

           And so, I've called on my colleagues on the majority to get

     back to work, get back to work.

           And with that, I yield back, Mr. Ranking Member.

           Mr. Collins.    Mr. Armstrong?

           Okay.   I want to come back just for a moment.    And I think

     what has been said has been interesting.     And I will have to say,

     is what we have seen so far in the hearings of the, what I'll call

     the summer of reruns and the relitigation of a report put out from

     a few weeks ago.     So, you know, there's no -- nothing coming out

     now, and we're doing reruns of things that we've already read.

           And really it's a shame that we're going back through the

     processes here of what's already been said and already been
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 72 of 274
                                                        UNOFFICIAL COPY    71




     stated, but I will have to say, you do a wonderful dramatic

     reading of the Mueller report, and it seems like the majority

     wants to have that happen as we go forward.

           In this regard, we'll just continue to state, you know, the

     objection that this was nothing more than a press hit.      This is

     nothing more than the ones standing outside.     And, again, it goes

     back to me, and I'm going to comment on this.      And one of the

     reasons I put you through the questions of things that you didn't

     know about was all the document requests from the 81 has been

     forgotten now.     It has been forgotten from this event.

           So if we were actually doing an investigation, my question

     is, what happened to them?    They never provide anything, but yet

     they subpoena you.

           I think it goes to the motive a great deal of how we look at

     this going forward and how we look at our questions and how we

     look at the process here.

           I appreciate that the majority would like to find something,

     would like to do oversight, as was stated by my colleague from

     Florida.   This has been done.   But in this process, what we're

     simply hearing is a rehash, good dramatic reading, but

     no -- nothing new and, frankly, a waste of the committee's time.

           And with that, no one else on our side, we will yield our

     first hour back.

           Ms. Hicks.    Thank you very much.

           [Recess.]
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 73 of 274
                                                          UNOFFICIAL COPY     72




           Mr. Eisen.     All right.    Welcome back.   I'm Norman Eisen.   I'm

     a lawyer for the staff committee.        And the time is, according to

     my watch, a quarter of 11.        I'm just going to ask a couple of

     followup questions about Mr. Collins'        questions just for the

     record.

           Mr. Collins.     Could I just -- I apologize, and I know we

     talked about this before.     And we'll stop the clock, we'll give

     you a full hour.     But it's also been discussed in here that this

     was -- and the chairman made a great elaborate statement as we

     started this about being confidential and keeping that through

     the day.

           But Mr. Lieu is live-tweeting this.       So I mean, if he's

     willing to break his own chairman, I want it noted for the record

     that the Member of the Democratic Party in this committee is

     live-tweeting what his own chairman had asked him to keep

     confidential.

           Now, if this is the way we want to play it, we've now proven

     that this is nothing but a political stunt.        It is a press avail

     opportunity.    And if Mr. Lieu would like to go outside and testify

     to the press, that's fine.        But simply doing this like it is, it's

     a mockery.

           And I don't care what the answer will be.       This was not what

     the chairman had said at the outset.        And unless there was a

     meeting for a dramatic reading of what the chairman said, this is

     ridiculous.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 74 of 274
                                                            UNOFFICIAL COPY    73




             Mr. Lieu.     I've been live-tweeting their objections because

     they are so absurd.

             Mr. Collins.     Did you have trouble understanding the

     chairman?

             Mr. Lieu.     The objections --

             Mr. Collins.     Did you have trouble understanding your

     chairman?

             Mr. Lieu.     [Inaudible.]

             Mr. Collins.     Did you have any trouble with your chairman?

             Mr. Neguse.     Mr. Chairman, this is the majority's hour.

             Mr. Collins.     And I said stop the clock.

             Mr. Neguse.     The ranking member's objection has been noted.

     I think at this point, start back the clock, Mr. Eisen can proceed

     with the questions.

             Mr. Biggs.     I'd like to make a statement.

             Mr. Neguse.     It's not -- this isn't -- this isn't the

     minority's hour to make a statement.

             Mr. Cicilline.    Let's be respectful of the witness' time and

     proceeding with this proceeding.          You'll have an opportunity --

             Mr. Neguse.     You're free to make your statement during your

     hour.

             Mr. Biggs.     Well --

             Mr. Neguse.     Mr. Eisen.

                                      EXAMINATION

                  BY MR. EISEN:
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 75 of 274
                                                        UNOFFICIAL COPY     74




           Q   Okay.    Ms. Hicks, you were asked by Ms. Jackson Lee

     about a statement in the Mueller report that by late summer of

     2016 the Trump campaign was planning a press strategy, a

     communications campaign, and messaging based on the possible

     release of Clinton emails by WikiLeaks, and you answered to the

     effect that it was wildly inaccurate to call it a strategy.       Do

     you remember that answer?

           A   I believe I said that I wasn't aware of any kind of

     coordinated strategy like the one described in the report and

     quoted by Ms. Jackson Lee.

           Regardless, the efforts that were under way, to take publicly

     available information and use that to show a differentiation

     between Mr. Trump as a candidate and Mrs. Clinton as a candidate,

     I would say that it would be wildly generous to describe that as a

     coordinated strategy.

           Q   How would you describe it?

           A   I would describe it just as I did, which is taking

     publicly available information to draw a contrast between the

     candidates.

           Q   What do you remember about any specific occasions when

     that was discussed?

           Mr. Purpura.     Again, just to clarify, we're talking about

     during the campaign?

           Mr. Eisen.     Yes, during the campaign, is the question.

           Ms. Hicks.     I don't have any specific recollections.   I could
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 76 of 274
                                                        UNOFFICIAL COPY   75




     speculate.    I won't, but I don't have any specific recollections.

                  BY MR. EISEN:

             Q   Do you have general recollections?

             A   Yes, I do.

             Q   Tell me what you remember, everything you remember about

     that.

             A   The things I remember would be just the days

     that -- that news was made, right?     That there was a new headline

     based on new information that was available, and how to either

     incorporate that into a speech or make sure that our surrogates

     were aware of that information and to utilize it as talking points

     in any media availabilities, interviews, and what other

     opportunities there might be to, again, emphasize the contrast

     between candidates.

             Q   Did you ever discuss that with Mr. Trump during the

     campaign?

             A   Again, I don't recall a -- I don't recall discussions

     about a coordinated strategy.    But more specifically, to your last

     point about when there were moments that allowed for us to

     capitalize on new information being distributed, certainly I'm

     sure I had discussions with him.

             Q   Do you remember any of those discussions?

             A   I don't.

             Q   Do you remember anyone else you discussed that with?

             A   Other members of the campaign, specifically,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 77 of 274
                                                        UNOFFICIAL COPY     76




     speech-writing, staff members, or research folks to check the

     accuracy of any information, surrogate networks, folks in the

     message-development team that were either responsible for

     communicating desired messages to our surrogates and other folks

     who would be speaking on behalf of the campaign or developing the

     message itself.

           Q     Can you tell me about how often these conversations

     occurred?    Was it a daily occurrence?

           A     Sure.   There were daily conversations with the

     communications team.     So I imagine this was on the agenda, as it

     was happening.

           Q     And can you tell me the names of any of the people?      You

     just identified the general categories.     Who would those

     individuals -- who are those individuals?     Again, I'm confining

     myself to the campaign at this time.

           A     Other members of the campaign communications team would

     be Jason Miller --

           Q     Ms. Hicks, I'm going to ask you to speak -- to bring the

     microphone closer and to speak up.     Although the room is not quite

     as large as it was before, people do want to hear.

           A     Other members of the communications team that I recall

     would be Jason Miller, Cliff Sims, Steven Cheung, Andrew Surabian.

           And there was, you know, there was a combined effort between

     the Trump campaign and the Republican National Committee.       So

     there were other staffers that were -- would be technically
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 78 of 274
                                                        UNOFFICIAL COPY    77




     designated as employees of the RNC that would have been involved.

     I'm not as familiar with them.    They were obviously based in D.C.

           Q   Do you recall any of their names?

           A   Raj Shah, Andrew Hemming, Michael Short are the few that

     I remember.

           Q   And was there ever any time in any of those

     conversations or instances when you learned of any information

     about a WikiLeaks release before it was public?

           A   No, sir.

           Q   And did Eric Trump ever discuss anything relating to

     WikiLeaks or other releases of hacked information with you?

           A   May I confer with my counsel, please.

           [Discussion off the record.]

           Ms. Hicks.    Can you repeat the question, please?

           Mr. Eisen.    Can I have the court reporter read back the

     question, please?

           Reporter.    Did Eric Trump ever discuss anything relating to

     WikiLeaks or other releases of hacked information with you?

           Ms. Hicks.    I believe I received an email from Eric or some

     written communication regarding an opposition research file that

     was, I guess, leaked on the internet.     I believe it was publicly

     available when he sent it to me.     It was about Donald Trump.

                 BY MR. EISEN:

           Q   And do you know if it was publicly available when he

     sent it to you?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 79 of 274
                                                        UNOFFICIAL COPY   78




           A   I don't recall.    That's my recollection.

           Q   What's the basis for your belief that it was publicly

     available?

           A   I believe there was a link that was included, and I was

     able to click on that and access the information.

           Q   How did he transmit that to you?

           A   I don't remember if it was an email or a text message.

           Q   Was there also a document attached to that transmission?

           A   I don't remember.

           Q   Do you remember the date?

           A   Spring of 2016.

           Q   Spring of 2016.

           Just a couple questions about Mr. Collins' examination, the

     minority examination of you in the previous block.

           The White House asserted, Mr. Purpura asserted a number of

     objections.   Do you understand those objections to be based on

     absolute immunity?

           A   Yes, sir.

           Q   Will you answer those questions?

           A   I'm going to follow the guidance provided by the White

     House.

           Q   Are you providing any other basis for declining to

     answer the questions to which Mr. Purpura objected, that

     Mr. Collins posed?

           A   No, sir.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 80 of 274
                                                         UNOFFICIAL COPY   79




           Q   And are you asserting any privileges here today in doing

     so?

           A   No, sir.

           Q   Are you asserting executive privilege?

           A   No, sir.

           Q   And will you answer any other questions about those

     matters that Mr. Collins was examining you on that drew the

     objections?

           A   I will answer anything that is not objected to.

           Mr. Eisen.     Mr. Purpura, can we stipulate for the record that

     your answers to those questions are the same, that it's absolute

     immunity, no other basis, not asserting any other privileges in

     refusing to answer, and not asserting executive privilege in

     refusing to answer?

           Mr. Purpura.     We can stipulate that the answer is, we're not

     asserting any privileges at this time, and we are asserting the

     basis of immunity at this time.

           Mr. Eisen.     All right.   And not asserting any other basis at

     this time?

           Mr. Purpura.     Not at this time, correct.

           Mr. Eisen.     And will you allow the witness to answer

     additional questions if I ask followup questions to Mr. Collins'

     questions in those subject matter areas that he raised?

           Mr. Purpura.     Not at this time.

           Mr. Eisen.     Okay.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 81 of 274
                                                          UNOFFICIAL COPY   80




                  BY MR. EISEN:

           Q    Oh, one last question on Mr. Collins' question.       I'm

     sorry to take so long.       Then I'm going to turn it over to the

     members.

           Mr. Collins asked you about a voluntary document request that

     we made to you and then about a subpoena, correct?

           A    Yes, sir.

           Q    To your understanding, documents were withheld at the

     instruction of the White House in response to our voluntary

     request, the first one.       Is that correct?

           A    Yes, sir.

           Q    And documents were withheld at the request of the White

     House in response to our subpoena.       Is that correct?

           A    Yes, sir.

           Mr. Eisen.     I'll ask the White House if they're prepared to

     turn over those documents today that Mr. Collins was asking about.

           Mr. Purpura.     We are not.

           Mr. Eisen.     Okay.    With that --

           Mr. Davis.     Has the chairman asked the White House for those

     documents?

           Mr. Eisen.     Yes.    For the record, yes.   The chairman has

     asked the White House --

           Mr. Davis.     Specifically?

           Mr. Eisen.     -- did a document request to the White House.

           Mr. Purpura.     Well, those are two different things, and those
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 82 of 274
                                                         UNOFFICIAL COPY    81




     are part of our ongoing discussions.     It's part of the

     accommodation, as you know.

           So the question was, are we prepared to turn them over today?

     The answer is no, because we're in discussions --

           Mr. Eisen.     Yes.

           Mr. Purpura.     -- as you and I well know.

           Mr. Eisen.     So just for record, I'll make it clear for the

     record, there are ongoing discussions that encompass those

     documents with the White House.     They have declined to turn them

     over as of today.     We shall see what becomes of our

     accommodations.    We're hopeful that they succeed.

           And with that, I will turn it over to Ms. Lofgren.

           Ms. Lofgren.     Thank you.

           Ms. Hicks, it's good to see you, and I know this is not an

     easy situation to be here answering questions.      We thank you for

     appearing and doing your best to tell us what you remember of your

     experiences.

           I have some questions.    You know, when you take a look at the

     Mueller report, as well as some of the other information available

     in various indictments, it looks like, in the Mueller report,

     there are 170 contacts between the Trump team and Russia-linked

     operatives, including 28 meetings.     And if you look at some of the

     indictments, it's probably 272 contacts and 38 names.       That's a

     lot of contacts between Russia and the campaign, and I'm

     interested about that.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 83 of 274
                                                          UNOFFICIAL COPY    82




             One of the things that struck me in reading the Mueller

     report -- and it's found on page 136 and 137 of the report -- the

     disclosure that the chairman of the campaign and Mr. Gates

     repeatedly provided sensitive polling data from swing States to

     the Russians.

             Now, there was an excuse made in the report about Mr.

     Manafort wanting to be reinstated in the good graces of a

     Ukrainian oligarch, but it just seemed to me odd that the way he

     would do that would be to take internal polling data.

             I'm wondering, did you see the internal polling data that was

     sent to the Russians?

             Ms. Hicks.     I'm not aware of anything that Mr. Manafort or

     Mr. Gates were doing.

             Ms. Lofgren.     Let me ask you this.   There's a famous

     photograph of Mr. Putin at a Russian TV event, and present at the

     event were some other Russian operatives, important Russian

     oligarchs, Michael Flynn, and Jill Stein.

             I'm wondering, did you ever hear from the President a

     discussion of Jill Stein in the course of his campaign and how

     efforts might be made to eat into the Clinton campaign by

     diverting voters to the Stein campaign?

             Ms. Hicks.     I think any candidate would be aware of either

     the risk or benefit when there's a third-party candidate in the

     race.

             Ms. Lofgren.     So the President did discuss the Stein campaign
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 84 of 274
                                                         UNOFFICIAL COPY    83




     with you, or you overheard his discussion of that?

           Ms. Hicks.     There was no concerted effort to capitalize on

     her candidacy, but certainly, yes, there was an awareness that

     that could play into the results of the election.

           Ms. Lofgren.     Now, did you ever hear from other campaign

     operatives, Mr. Manafort or others, anyone in the campaign, about

     a strategy to enhance Ms. Stein's vote total at the expense of

     Mrs. Clinton's campaign?

           Ms. Hicks.     I heard no serious discussions about that.

           Ms. Lofgren.     Were you or anyone in the campaign aware that

     the Internet Research Agency, which has been identified as really

     the Russian spy agency that meddled in our campaign, posted over a

     thousand times the phrase "Jill Stein," and the posts were

     accompanied by the hashtag, "grow a spine, vote Jill Stein," and

     that this was particularly oriented towards African American

     voters as a roster of themes that the IRA was pursuing?

           Ms. Hicks.     No, I was not aware of that.

           Ms. Lofgren.     So you never heard anything about what the

     campaign was doing about this other campaign, or efforts in the

     internet, Facebook, or any other platform, that the Russians were

     doing to meddle in our elections?

           Ms. Hicks.     Like I said, I'm not aware of any concerted

     effort to do anything to enhance her candidacy.

           Ms. Lofgren.     So did you ever see tweets or Facebook posts

     about the campaign?     Was that something you ever saw in your
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 85 of 274
                                                        UNOFFICIAL COPY   84




     position?

           Ms. Hicks.     No, ma'am.

           Ms. Lofgren.     You never saw it.   What did you do in your

     position?

           Ms. Hicks.     My title was the press secretary, but I don't

     think that I did many things that fell under the traditional, you

     know, expectations of what one might think that role entails.

           My role was changed on a daily basis, but primarily I

     traveled with the candidate, and I organized, coordinated amongst

     different parts of the campaign, whether it was speech-writing or

     travel, messaging, general strategy, and certainly was available

     to the candidate whenever he needed any kind of counsel.

           Ms. Lofgren.     Do you know -- did you have to complete a

     background check before joining the campaign?

           Ms. Hicks.     No.

           Ms. Lofgren.     Do you know if anyone on the campaign completed

     a background check or conflicts check on others who worked in the

     campaign?

           Ms. Hicks.     I don't.   I was probably a little bit of a unique

     case, given that I was already an employee of The Trump

     Organization and had worked with the Trump family for several

     years.   So --

           Ms. Lofgren.     Was there any vetting process for senior

     members of the campaign?

           Ms. Hicks.     I'm not aware of --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 86 of 274
                                                         UNOFFICIAL COPY      85




           Ms. Lofgren.     That you were aware.

           Who did you report to?       In addition, obviously, the President

     you knew before, but who else in the campaign did you --

           Ms. Hicks.     I reported directly to Mr. Trump.

           Ms. Lofgren.     Only to the President, not to anyone else?

           Ms. Hicks.     Yes, ma'am.

           Ms. Lofgren.     All right.    Thank you very much.

           Ms. Hariharan.    Really quickly, the pages that Ms. Lofgren

     mentioned earlier, we entered them into the record as exhibit 7.

                               [Hicks Exhibit No. 7

                               Was marked for identification.]

           Mr. Lieu.    Oh, I got it.     Thank you.

           Thank you, Ms. Hicks, for being here.       Most of my questions

     are going to be about your tenure during the campaign.       However,

     I'm going to ask you a few questions at the beginning about your

     tenure at the White House to show how absurd the objections from

     the White House actually are.       I apologize in advance for some of

     these questions, but absolute immunity is actually not a thing, it

     doesn't exist.     So I'm going to ask these questions for the

     purposes of the court proceeding that's going to follow.

           On your first day of work at the White House, was it a sunny

     day or a cloudy day?

           Mr. Purpura.     You can answer.

           Ms. Hicks.     It was a cloudy day.

           Mr. Lieu.    And -- yeah.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 87 of 274
                                                        UNOFFICIAL COPY     86




           Ms. Hicks.     That's probably not helping my reputation, much

     by the way.   I think people are going to laugh at this.

           Mr. Lieu.    And in the White House, where is your office

     located?

           Ms. Hicks.     Pardon?

           Mr. Lieu.    In the White House, where is your office located?

           Mr. Philbin.     We'll object to that.

           Mr. Lieu.    Okay.   During your tenure at the White House,

     where would you normally have lunch?

           Mr. Purpura.     You can answer.

           Ms. Hicks.     At my desk.

           Mr. Lieu.    Okay.   And would the President ever come in while

     you're having lunch?

           Mr. Philbin.     Objection.

           Mr. Lieu.    How often would you talk to the President on a

     given day?

           Mr. Philbin.     Objection.

           Mr. Purpura.     Objection.

           Mr. Lieu.    All right.   I want to go to questions about your

     tenure during the campaign.

           According to news reports, on September 20th, 2016, Jared

     Kushner forwarded you an email, and this email was about WikiLeaks

     had contacted Donald Trump, Jr. with information about

     PutinTrump.org or a pro-Trump PAC.

           Why would Jared Kushner forward such an email to you?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 88 of 274
                                                            UNOFFICIAL COPY       87




           Mr. Purpura.     Excuse me.    I'm sorry, sir.    I didn't hear the

     date of the email.

           Ms. Hicks.     Yes.   I --

           Mr. Lieu.    September 20th, 2016.

           Mr. Purpura.     Thank you.

           Mr. Trout.     I'm sorry.    Could you repeat the question?        I

     apologize.

           Mr. Lieu.    Sure.    According to news reports, on September

     20th, 2016, Jared Kushner forwarded you, Ms. Hicks, an email.

     That email was about WikiLeaks contacting Donald Trump, Jr. with

     information about PutinTrump.org and a pro-Trump PAC.

           Why would Kushner forward that email to you?

           Ms. Hicks.     Most likely for situational awareness.

           Mr. Lieu.    Do you remember if Jared Kushner explained why he

     forwarded that email to you?

           Ms. Hicks.     I do not.

           Mr. Lieu.    Do you remember sending that email to anyone else?

           Ms. Hicks.     I don't.

           Mr. Lieu.    Did you discuss that email with candidate Trump?

           Ms. Hicks.     No.

           Mr. Lieu.    Okay.    Do you have a copy of that email?

           Ms. Hicks.     Not in my possession.    I'm sure the campaign --

           Mr. Lieu.    Okay.    What's the reason you didn't discuss that

     email with candidate Trump?

           Ms. Hicks.     I don't recall my thinking at the time.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 89 of 274
                                                        UNOFFICIAL COPY    88




           Mr. Lieu.    Did you discuss it with anyone else?

           Ms. Hicks.    Probably discussed it with Corey Lewandowski.

           Mr. Lieu.    Okay.   Thank you.

           Anybody else, other than Corey?

           Ms. Hicks.    Not to my --

           Mr. Lieu.    Why would you discuss that with Corey Lewandowski?

           Ms. Hicks.    We kept in touch and shared information about

     things going on in the campaign and perhaps any information that

     might be a moment of levity amongst an intense set of

     circumstances.

           Mr. Lieu.    Did you ever receive information -- I'm sorry.

           So you mentioned a moment of levity.     Why would you

     characterize it that way?

           Ms. Hicks.    Just that -- well, I'll say this.     If I received

     a link of that nature, I probably would not pursue it.

           Mr. Lieu.    But you had a conversation with Corey Lewandowski

     about it, right, that you said?

           Ms. Hicks.    Yes.

           Mr. Lieu.    Why would you not pursue it?

           Ms. Hicks.    I can't say for sure, but just it would be the

     kind of thing that would set off a red flag in my head, perhaps.

           Mr. Lieu.    Do you know if Corey pursued it?

           Ms. Hicks.    Oh, I have no idea.   That was not -- that was not

     the intent of my sharing the information with him.

           Mr. Lieu.    What, other than levity, what was the nature of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 90 of 274
                                                         UNOFFICIAL COPY   89




     the conversation you had with Corey about --

           Ms. Hicks.    That was the entirety of the tone of the

     conversation.

           Mr. Lieu.    And do you know if Donald Trump, Jr. pursued it?

           Ms. Hicks.    I have no idea.

           Mr. Lieu.    Okay.   And you had said earlier it was a red flag.

     Why would you characterize it as a red flag?

           Ms. Hicks.    Just clicking on a link from an unknown sender

     amidst a Presidential election, given that there had already been

     information about hacks.

           Mr. Lieu.    The sender was Jared Kushner, though.

           Ms. Hicks.    Pardon?

           Mr. Lieu.    The sender of that email was Jared Kushner to you.

           Ms. Hicks.    Yes.

           Mr. Lieu.    But he's a known sender, right?

           Ms. Hicks.    Right.     But the information that was in the body

     of the email --

           Mr. Lieu.    I got it.

           Ms. Hicks.    -- that it was described how that was obtained,

     which was an unknown sender.

           Mr. Lieu.    What did Corey say to you when you discussed this

     email?

           Ms. Hicks.    I don't recall his exact -- any exact words used,

     but, you know, similar reaction.

           Mr. Lieu.    Did you receive other emails like this from Jared
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 91 of 274
                                                        UNOFFICIAL COPY       90




     Kushner?

           Ms. Hicks.    There's one other email I can recall.       I believe

     it was -- I believe the sender purported to be Guccifer 2.0.         I

     don't know if it actually was.      That's what -- that's what

     the -- the name said.      And it was basically a demand for

     information about Mr. Trump's finances in the days leading up to

     the campaign.

           Mr. Lieu.    So this was an email Jared Kushner forwarded to

     you that Guccifer --

           Ms. Hicks.    I don't know if he forwarded to me.    It was one

     he received.    We were to the plane together.    I remember him

     showing it to me.    He asked me what I thought about it, if it was

     legitimate, what he should do with it.

           My understanding is that he showed it to the Secret Service

     to see if they had any advice on who he should share it with, to

     make sure that he hadn't been hacked or that the information

     wasn't going to compromise his intellectual property.

           And that was the last I heard of it.     I don't know what he

     actually did with the email.

           Mr. Lieu.    And that email was Guccifer basically allegedly

     threatening to blackmail candidate Trump during the campaign,

     correct?

           Ms. Hicks.    That's my recollection of it, yes.

           Mr. Lieu.    Okay.   Did you show that email to anyone else?

           Ms. Hicks.    Again, I just described the series of events, and
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 92 of 274
                                                          UNOFFICIAL COPY    91




     I had no other involvement.

           Mr. Lieu.    Okay.   Did you show the emails that we were

     talking about at all to the Secret Service?

           Ms. Hicks.    Which emails?

           Mr. Lieu.    The September 20th, 2016, email.

           Ms. Hicks.    No.

           Mr. Lieu.    How about the one from Guccifer?

           Ms. Hicks.    I did not.    Mr. Kushner did.

           Mr. Lieu.    Mr. Kushner showed it to Secret Service?

           Ms. Hicks.    Yes.

           Mr. Lieu.    And how do you know that?

           Ms. Hicks.    We were on the plane --

           Mr. Lieu.    Air Force One?

           Ms. Hicks.    No.    This was during the campaign.

           Mr. Lieu.    I'm sorry.    Of course, it was during the campaign.

     I apologize.   Okay.

           So the Secret Service is there on the plane, and you watched

     Jared Kushner do this or did he tell you later that he showed it

     to Secret Service?

           Ms. Hicks.    I watched him do it.    I didn't follow up on how

     they reacted or what advice they gave.      There was a lot going on,

     but I do know that he went over and shared it with them.

           Mr. Lieu.    Did Donald Trump, Jr., or anyone else in the Trump

     family or on the Trump campaign, report any other emails to the

     Secret Service, to your knowledge, about the release of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 93 of 274
                                                         UNOFFICIAL COPY     92




     information about Hillary Clinton?

           Ms. Hicks.    Not to my knowledge.

           Mr. Lieu.    So were you surprised by this email when you read

     it?

           Ms. Hicks.    You know, it looked like junk email, but --

           Mr. Lieu.    I'm sorry, what?

           Ms. Hicks.    It looked like spam, junk email, but --

           Mr. Lieu.    But it was important enough for Jared Kushner to

     show it to the Secret Service?

           Ms. Hicks.    I think he was being cautious.    I believe we were

     just a few days away from the election.       I think he was more

     concerned less with the validity of the email and wanting to make

     sure -- and more concerned with wanting to make sure that his

     information hadn't been compromised.

           Mr. Lieu.    Did you know who Guccifer was at the time?

           Ms. Hicks.    I don't have specifics.    Obviously, I had heard

     things in the media about him being sort of somebody who practiced

     the dark arts of the internet, I guess you would say.

           Mr. Lieu.    Okay.   During the campaign, you were also working

     for The Trump Organization, correct?

           Ms. Hicks.    Yes, sir.

           Mr. Lieu.    During the campaign, did The Trump Organization

     have any financial ties to Russia?

           Ms. Hicks.    Not that I was aware of.

           Mr. Lieu.    In 2008, Donald Trump, Jr. was quoted as saying:
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 94 of 274
                                                         UNOFFICIAL COPY     93




     In terms of high-end product influence -- influx into the U.S.,

     Russia -- Russians make up a pretty disproportionate cross section

     of a lot of our assets.       We see a lot of money pouring in from

     Russia.

             Were you aware of that statement at the time?

             Ms. Hicks.    In 2008?   No, I wasn't working for the Trumps in

     2008.

             Mr. Lieu.    But during the campaign, were you aware that --

             Ms. Hicks.    Yes.

             Mr. Lieu.    -- Donald Trump, Jr. had made that statement?

             Ms. Hicks.    Yes.

             Mr. Lieu.    Okay.   Did you ever discuss that statement with

     Donald Trump, Jr.?

             Ms. Hicks.    Yes, I did.

             Mr. Lieu.    What did he tell you?

             Ms. Hicks.    He explained the context of the remark and, you

     know, was asking for my help in making sure that the media wasn't

     misrepresenting the remark or presenting it in any misleading way.

             Mr. Lieu.    And what would be the accurate representation of

     that remark?

             Ms. Hicks.    My understanding is that he was describing the

     kinds of clientele that were purchasing luxury apartments, both in

     New York City, Chicago, and in south Florida, all where they were

     either operating or in the process of developing luxury

     properties.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 95 of 274
                                                        UNOFFICIAL COPY   94




           Mr. Lieu.    And that clientele, they were Russians?

           Ms. Hicks.    I think it's well known in luxury real estate

     markets, especially in New York, that Russians, Chinese, there's a

     lot of foreign money that comes in and purchases these very

     expensive luxury apartments.

           Mr. Lieu.    During the campaign, was that still happening?

           Ms. Hicks.    You know, not to my knowledge.     I obviously

     wasn't privy to the finances of the organization.       Speaking -- my

     previous statements are based on information that I obtained

     obviously through my conversations with Donald Trump, Jr. and then

     information that I was aware of, based on my role as a director of

     communications for a residential real estate and hospitality

     company, understanding the trends of the market and who the

     clientele was.     It's all very publicly available.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 96 of 274
                                                         UNOFFICIAL COPY    95




     [11:17 a.m.]

           Mr. Lieu.     And how was the media mischaracterizing Donald

     Trump, Jr.'s remarks?

           Ms. Hicks.     I think it made it seem like there was Russian

     money coming into The Trump Organization in a way that was

     inappropriate or somehow sinister.       You know, they're a luxury,

     globally recognized real estate company.       I think it would be odd

     if they weren't selling to people just because they're affiliated

     with Russia.    And there's perhaps a political perception that

     might complicate that.

           Mr. Lieu.     So you don't dispute that there was Russian money,

     as you said, pouring into The Trump Organization from the sale of

     those luxury properties?

           Ms. Hicks.     Again, I'm not privy to the finances of The Trump

     Organization.     I can only describe what was relayed to me in terms

     of the context of the remark.

           I can also say that I believe in 2008 Mr. Trump sold one of

     his homes for several -- I believe the price was upwards of

     $90 million, and it was sold to a Russian individual.       So that

     would also be a statement that would be categorized and align with

     Donald Trump, Jr.'s words.

           Mr. Lieu.     Okay.   Thank you.

           I'm going to turn it over to Congressman Neguse.

           Mr. Neguse.     Good morning, Ms. Hicks.

           Ms. Hicks.     Hi.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 97 of 274
                                                        UNOFFICIAL COPY     96




           Mr. Neguse.    And thank you for the clarification that you

     provided to the ranking member regarding my --

           Ms. Hicks.    Yes.

           Mr. Neguse.    -- question during the first hour.

           I just have a few questions, and then I'm going to yield to

     my colleague here.

           Just to clarify Representative Lieu's questioning around the

     emails, I think there are two emails that we're talking about,

     correct?   There's the September 20th, 2016, email --

           Ms. Hicks.    Yes.   And then --

           Mr. Neguse.    -- that Jared Kushner forwarded to you.

           Ms. Hicks.    -- he asked me if there were any other emails

     that Jared Kushner forwarded to me.      The second email I referenced

     was one -- I'm not sure if it was forwarded.      I know I looked at

     it on a computer screen.

           Mr. Neguse.    Exactly.   And that's the one in October.

           Ms. Hicks.    Yes, sir.

           Mr. Neguse.    Okay.   So with respect to that October email, is

     there a chance that that email was sent to Donald Trump, Jr.,

     rather than Jared Kushner?      Do you recall who the email went to?

           Ms. Hicks.    My understanding is it went directly to Jared

     Kushner.

           Mr. Neguse.    Okay.

           And the email to Mr. Kushner, as Mr. Lieu said, this email

     related to an attempted effort by someone claiming to be Guccifer
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 98 of 274
                                                        UNOFFICIAL COPY   97




     to blackmail then-candidate Trump.

           Ms. Hicks.    That's right.

           Mr. Neguse.    Okay.   And did this have anything to do with

     then-candidate Trump's tax returns?

           Ms. Hicks.    I can't remember specifically if it said "tax

     returns" in the email, but it was definitely relating to financial

     information, financial disclosures.

           Mr. Neguse.    It threatened release of then-candidate

     Trump's --

           Ms. Hicks.    That's accurate, yes.

           Mr. Neguse.    Okay.   And you mentioned that that was reported

     to Secret Service by Mr. Kushner.

           Ms. Hicks.    That's right.

           Mr. Neguse.    Okay.

           The email from June 3rd, 2016, from Mr. Goldstone to

     Mr. Trump, Jr., providing potential information regarding

     Secretary Clinton, was that email reported to Secret Service?

           Ms. Hicks.    I wasn't aware of the email at the time.    I'm not

     aware of it being reported.

           Mr. Neguse.    The email on September 20th, 2016, where,

     essentially, Mr. Kushner is forwarding to you an email where

     WikiLeaks is contacting Mr. Trump, Jr., with information about a

     pro-Trump or Putin -- what is it -- I guess it's

     PutinTrump.org -- to you, that was enough of a -- I think you used

     the words "red flag," correct, the phrase "red flag"?      That email
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 99 of 274
                                                        UNOFFICIAL COPY    98




     was a red flag to you?

           Ms. Hicks.    I just want to be clear.   The red flag that I say

     I saw in my peripheral vision was not necessarily due to substance

     but more of just a knee-jerk reaction not to click on links where

     you don't know the sender.

           Mr. Neguse.    Sure.   As you said, during the height of a

     Presidential campaign, receiving an email from a foreign -- in

     this case, WikiLeaks, communicating to the campaign, it was a red

     flag to you to not click on that link.     That is my sense of your

     testimony.   Is that --

           Ms. Hicks.    That is what I recall, yes.

           Mr. Neguse.    And that email was not reported to Secret

     Service either, correct?

           Ms. Hicks.    Not by me.   I am not aware of what others did.

           Mr. Neguse.    Is it troubling to you that all of these other

     emails were not reported to Secret Service or law enforcement and

     yet this one email that you mentioned to Mr. Kushner that involved

     this threatened blackmail was, in fact, reported to Secret

     Service, where the others were not?

           Ms. Hicks.    No.   I think you learn as you go through the

     process.   And I'm sure Jared had a lot more information at the

     time he received the Guccifer email than just a month prior when

     Don received that link and anything else that took place prior.

     So you learn as you go.

           Mr. Neguse.    Although it was enough of a red flag for you in
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 100 of 274
                                                        UNOFFICIAL COPY    99




     September, at least you personally.

           Ms. Hicks.    Again, it wasn't a red flag in terms of the

     nature of the message.    It was more about, like, just not clicking

     on links from people you don't know.

           I shared in other testimony that I've provided that, early on

     in the campaign, in 2015, I clicked on a link in my personal email

     and, you know, compromised my personal email.      So, somewhere in

     the dark corners of the internet, there's lots of pictures of my

     family dog.

           But, anyway, yeah, lesson learned for me there.      And, like I

     said, people learn as they go.

           Mr. Neguse.    With that, I'll yield to -- thank you,

     Ms. Hicks -- yield to Representative Cicilline.

           Mr. Cicilline.   Thank you.

           Thank you, Ms. Hicks.

           Did Mr. Trump ever ask you to lie during the campaign?

           Ms. Hicks.    I've never been asked to lie about any matters of

     substance or consequence.

           Mr. Cicilline.   My question is, were you asked to lie at all?

           Ms. Hicks.    Look, I addressed this in my previous testimony.

     I think everyone is aware of what I said.      And I'd like to just

     reiterate that I've never been asked to lie about matters of

     substance or consequence --

           Mr. Cicilline.   Well --

           Ms. Hicks.    Could you let me finish?   I would appreciate it.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 101 of 274
                                                          UNOFFICIAL COPY     100




            But I'm also part of a press operation.      And as I'm sure the

     press person that was in here earlier would attest to, we're often

     asked to put a positive spin on things, present the best possible

     version of events.      But I believe I always did so with integrity.

            And I'd like to also note that, just a few minutes after I

     was warned about the confidential nature of the session in which I

     shared that information, that information was being discussed on

     cable news, and it was my integrity that was up for debate.

            Mr. Cicilline.    Okay.

            Ms. Hicks.   So I stand by my earlier characterization of

     telling white lies, which I believe to be things like "No, the

     President is not available right now" when he is.        But, no, I've

     never been asked to lie about matters of substance or consequence.

            Mr. Cicilline.    Okay.    So, to be clear, you're referring to

     testimony before the House Intel Committee, not this committee,

     correct?

            Ms. Hicks.   Yes, sir.

            Mr. Cicilline.    Okay.

            So I'm going to get back to my original question.      I

     appreciate your discussion, but my question is a very specific

     one.   I'm not asking you to decide what you think is an important

     lie or not important lie.        My question is, did Mr. Trump ever ask

     you to lie during the campaign?

            Ms. Hicks.   Sir, I've answered the question.

            Mr. Cicilline.    So the answer is, yes, you have been asked to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 102 of 274
                                                           UNOFFICIAL COPY     101




     tell lies on non- -- what you characterize as not substantial?

     You call them white lies, which I take is still a lie, right?

             Ms. Hicks.    I've answered the question.   I stand by my

     earlier --

             Mr. Cicilline.    I'm asking a new question, Ms. Hicks.     You

     have excluded a whole bunch of stuff you're not going to answer,

     which is fine.       We have to accept that until a court says

     otherwise.    We get to ask questions, and you're required to answer

     them.

             My question is a very simple one.     Did Mr. Trump ever ask you

     to lie during the campaign?

             Mr. Trout.    And she has answered that question.

             Mr. Cicilline.    She hasn't answered the question.

             Mr. Trout.    Yes, she has.

             Mr. Cicilline.    The question is, did he ask you to lie during

     the campaign?    That's a "yes" or a "no."

             Ms. Hicks.    I answered the question, sir.    I'm not going

     to --

             Mr. Cicilline.    So in any instances where the President did

     ask you to lie, what were those?

             Ms. Hicks.    I have described those.   They are not matters of

     substance or consequence.

             Mr. Cicilline.    What are they?   Please tell us what lies the

     President asked you to tell during the campaign.

             Ms. Hicks.    I've provided an example.   I've said that the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 103 of 274
                                                            UNOFFICIAL COPY    102




     President was busy when he wasn't.          I've said that he had a

     conflict when he didn't.        I've said that he would love to

     participate in an interview when I know that that would not be his

     first choice.

           Mr. Cicilline.       So has the President ever asked you to lie

     since you've left the White House?

           Ms. Hicks.     No.

           Mr. Cicilline.       You've read the Mueller report, I take it?

           Ms. Hicks.     No, sir.      I lived the Mueller report.   I have

     not --

           Mr. Cicilline.       Never read it?

           Ms. Hicks.     No.

           Mr. Cicilline.       Okay.

           Did you ever witness Mr. Trump asking anyone else to lie

     during the campaign?

           Ms. Hicks.     Not that I can recall.

           Mr. Cicilline.       What about during the transition?

           Ms. Hicks.     No.

           Mr. Cicilline.       What about during your time at the White

     House?

           Mr. Purpura.     Objection.

           Mr. Philbin.     Objection.

           Mr. Cicilline.       I take it you are not answering that question

     because the President and the White House has ordered you not to

     answer that question?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 104 of 274
                                                          UNOFFICIAL COPY   103




           Ms. Hicks.     I'm following the guidance of the White House.

           Mr. Cicilline.    But when you say "guidance," it's not

     guidance; it's a directive, isn't it?        They're not just giving you

     advice; they're telling you not to answer it.

           Mr. Philbin.     Congressman, the White House is making clear

     that she's not to --

           Mr. Cicilline.    Right.    Understood.   There's a witness before

     us who gets to answer the question.

           Are you being advised or ordered not to answer the question?

           Mr. Trout.     She's being directed by the White House --

           Mr. Cicilline.    Directed.    Okay.

           Your lawyer said directed.      That's sufficient for me.

           And that basis for refusing to answer the question is not

     based on a privilege, correct?

           Mr. Trout.     Correct.

           Mr. Cicilline.    It's not based on an assertion of any other

     basis other than this newly found, expansive, complete immunity

     which is alleged in the letter, correct?

           Mr. Trout.     Yes, I think the record is clear --

           Mr. Cicilline.    Okay.    And rejected by the committee.

           Mr. Philbin.     Congressman, just to clarify, this is not a

     newly found --

           Mr. Cicilline.    Well, that's for a court to decide.      I think

     it's pretty clear it's newly found.

           But I'll move on to my next question.       So it's one thing not
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 105 of 274
                                                        UNOFFICIAL COPY     104




     to get answers from witnesses, but I certainly don't have to take

     answers from lawyers who are not part of this proceeding in terms

     of answering questions.

           I want to turn now to the Trump campaign's -- or let

     me -- you would agree, would you not, Ms. Hicks, that the

     campaign, the Trump campaign, benefited from the hacked

     information on Hillary Clinton?     Is that a fair statement?

           Ms. Hicks.   No more so than the Clinton campaign benefited

     from the media helping them and providing information about

     Mr. Trump.

           Mr. Cicilline.   Okay.   But you agree, though, I think, in

     that question, that the Trump campaign benefited from the hacked

     information on Hillary Clinton.

           Ms. Hicks.   I don't know what the direct impact was.

           Mr. Cicilline.   Okay.   You would agree that the campaign was

     happy to receive information damaging to Hillary Clinton, correct?

           Ms. Hicks.   I think that "happy" is not -- I don't think

     that's a fair characterization.     I think "relief that we weren't

     the only campaign with issues" is more accurate.

           Mr. Cicilline.   I mean, you're aware of Mr. Trump, Jr.,

     saying, "If it's what I think, I love it."      That's an expression

     of admiration or fondness for information, isn't it?

           Ms. Hicks.   That has nothing to do with what you just asked

     about.   You asked about WikiLeaks.

           Mr. Cicilline.   I'm asking about hacked information.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 106 of 274
                                                         UNOFFICIAL COPY   105




           Ms. Hicks.   But I don't -- did those emails describe hacked

     information?

           Mr. Cicilline.     Well, they -- well, what did those email

     describe?

           Ms. Hicks.   You have the papers in front of you, sir.      I

     don't.   But I don't believe they described hacked information.

           Mr. Cicilline.     They described --

           Ms. Hicks.   If it was that specific, then I'm wrong, but --

           Mr. Cicilline.     Okay.

           During the campaign, were you aware of anyone at the campaign

     communicating with individuals from Russia?

           Ms. Hicks.   No.

           Mr. Cicilline.     You're sure of that?

           Ms. Hicks.   Look, it's obviously been a few years, and there

     is a lot of conflation between other testimony I've provided,

     what's publicly available, media reports.       But my recollection is,

     during the campaign, throughout that time period, I was not aware

     of any individuals that were communicating with foreign officials

     from Russia.

           Mr. Cicilline.     Okay.   During the campaign, did anyone from

     Russia attempt to contact you?

           Ms. Hicks.   Based on preparation for other interviews that

     I've given, I know that I was -- you know, it was also previously

     mentioned here today, somebody reached out to me regarding an

     interview.   I believe that may have happened on more than one
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 107 of 274
                                                        UNOFFICIAL COPY    106




     occasion.    And after the campaign, on the night of the election, I

     was contacted by a Russian Ambassador, or somebody that worked for

     the Embassy.

           Mr. Cicilline.    During the campaign, did you ever discuss

     with Mr. Trump news reports that the Trump campaign was

     coordinating with Russia?

           Ms. Hicks.     I think certainly there was discussion about how

     to push back on claims, unsubstantiated claims, that were being

     made either by the Clinton campaign or speculated about in the

     media.

           Mr. Cicilline.    So, in your role as a communications

     official, you had some discussions with the President about these

     public reports and how to respond to them.      Is that a fair

     statement?

           Mr. Purpura.     I'm sorry.   Just to clarify, during the

     campaign?

           Mr. Cicilline.    During the campaign.

           Ms. Hicks.     That's accurate.

           Mr. Cicilline.    And what did Mr. Trump say in those

     conversations?

           Ms. Hicks.     You'd have to be more specific.    I can't repeat

     everything that was said in every conversation.        I obviously don't

     remember.    But if you have a specific day that you --

           Mr. Cicilline.    What do you remember?   To the best of your

     knowledge, what were some of the things that you can remember that
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 108 of 274
                                                        UNOFFICIAL COPY        107




     the President said about public reports that the Trump campaign

     was coordinating with Russia in the conversations you had with him

     about this?

           Ms. Hicks.    That it was nonsense and that -- at the time,

     obviously, no one was certain that it was, in fact, Russia, and

     that it appeared as though it was something that the Clinton

     campaign had made up to deflect from the information that they

     viewed as harmful to their candidate, to their campaign.         And it

     just seemed more sporadic than something that was the result of an

     intelligence assessment or some kind of detailed knowledge of what

     took place.

           Mr. Cicilline.    And is that what Mr. Trump told you in that

     conversation?

           Ms. Hicks.    That was the nature of the conversation, yes.

           Mr. Cicilline.    And did you believe him?

           Ms. Hicks.    I believed that the claims, unsubstantiated

     claims, that we were coordinating with Russia was an attempt to

     distract and deflect.    Obviously, we knew that wasn't the case.

     And if I was on the other campaign, I probably would have taken a

     similar strategy.

           Mr. Cicilline.    How about the claims that the Russians were

     interfering in an effort to help Mr. Trump and harm Hillary

     Clinton?

           Ms. Hicks.    I don't recall when that information was

     first -- when that theory was first proposed publicly.       So if
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 109 of 274
                                                        UNOFFICIAL COPY    108




     someone could help me with the date you're referencing, that would

     be helpful.

           Mr. Cicilline.   I'm asking, did the President -- did you have

     an opportunity to discuss with the President reporting that

     the -- public reporting that the Russians were interfering in the

     American Presidential election in a way to help Mr. Trump and harm

     Secretary Clinton?

           Ms. Hicks.   What I'm asking is, when did that information

     become publicly available?     Because I don't know if that was

     available after --

           Mr. Cicilline.   Well, at any time during the campaign.

           Ms. Hicks.   Again, I don't know if that was something -- I'm

     just asking for you to clarify the dates.      I don't know if that

     was something that was brought up during the campaign or if it was

     after the fact.

           Mr. Cicilline.   Well, do you remember at any point during the

     campaign becoming aware of public reporting that --

           Ms. Hicks.   I don't.    That's why I'm asking for

     clarification.

           Mr. Cicilline.   Okay.

           Did you ever discuss -- you said you had some discussions

     with the President about news reports that the Trump campaign was

     coordinating with Russia, and you described that conversation.

     Did you discuss those reports with anyone else at the campaign?

           Ms. Hicks.   I don't have a vivid recollection of those
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 110 of 274
                                                          UNOFFICIAL COPY       109




     conversations, but certainly I would have discussed them with

     other folks on the communications team and other senior members of

     the campaign.

             Mr. Cicilline.   How about with Donald, Jr.?

             Ms. Hicks.   I don't recall discussing with Don.

             Mr. Cicilline.   Eric Trump, did you discuss it with him?

             Ms. Hicks.   I don't recall discussing with Eric.

             Mr. Cicilline.   Paul Manafort?

             Ms. Hicks.   You know, I don't.   I know that sounds odd.      I

     didn't spend a lot of time or interact with Paul very much, so --

             Mr. Cicilline.   Rick Gates?   Did you ever discuss it with

     him?

             Ms. Hicks.   Not to my recollection.

             Mr. Cicilline.   So you said there were other people you

     discussed it with besides the President.       Who did you discuss it

     with?

             Ms. Hicks.   Like I said, members of the communications team,

     some of the folks I mentioned earlier, likely Jason Miller being

     one of them, folks that worked at the RNC in the war room that

     would have been compiling research --

             Mr. Cicilline.   Who would those people be?

             Ms. Hicks.   I listed their names earlier:     Raj Shah, Michael

     Short, Andrew Hemming, Jason Miller, Cliff Sims, Steven Cheung.

             Mr. Cicilline.   You stated in response to one of my questions

     that these were unsubstantiated claims about Russian interference
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 111 of 274
                                                        UNOFFICIAL COPY   110




     in the American Presidential election --

           Ms. Hicks.   No, I said that the claims that there was

     coordination between the Trump campaign and Russians was

     unsubstantiated.

           Mr. Cicilline.    Did you say contacts between the Russians and

     the Trump campaign were unsubstantiated?

           Ms. Hicks.   No, I said -- when you asked me about speculation

     that there was coordination between Russians and the Trump

     campaign, I said that those were unsubstantiated claims and we

     regarded them as nonsense, obviously, knowing --

           Mr. Cicilline.    Do you still regard them as unsubstantiated

     claims?

           Ms. Hicks.   That there was coordination between Russia and

     the Trump campaign?     Yes, I do.

           Mr. Cicilline.    How about that the Trump campaign spoke with

     and had contact with Russians during the course of the campaign?

           Ms. Hicks.   If you could be more specific about who you

     consider to be part of the Trump campaign and the alleged contacts

     they had, that would be helpful to me.

           Mr. Cicilline.    Paul Manafort?   You don't today believe that

     Paul Manafort didn't have contacts with Russians during the course

     of the campaign, do you?

           Ms. Hicks.   Like I said, I wasn't aware of what Paul was

     doing.    I wasn't --

           Mr. Cicilline.    But you are aware today?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 112 of 274
                                                        UNOFFICIAL COPY   111




           Ms. Hicks.   I am now, yes, sir.

           Mr. Cicilline.   Okay.    So, today, you don't say that contacts

     between the Trump -- or claims that there were contacts between

     the Trump campaign and Russian operatives is no longer

     unsubstantiated.    It's, in fact, fully --

           Ms. Hicks.   I didn't say that.    I didn't say that.

           Mr. Cicilline.   So I'm asking you that question.     You agree

     that there were, in fact, contacts between the Trump campaign and

     Russian operatives?

           Ms. Hicks.   Like I said, I haven't read the part of the

     report you're referencing, but based on what you said earlier, I

     have no reason to dispute that.

                              [Hicks Exhibit No. 9

                              Was marked for identification.]

           Mr. Cicilline.   Let me just finally go to Volume I, page 102,

     and look at footnote 589.

           And I ask if we can make that available to Ms. Hicks.

           If you can read into the record the sentence starting

     "Following the Convention" and ending with "We have no knowledge

     of activities past or present and he now officially has been

     removed from all lists etc."

           Mr. Trout.   I'm sorry.    Could you give me the page number

     again?

           Mr. Cicilline.   Yes.    This is page 102.

           You asked for an example of one of, I think, almost 200
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 113 of 274
                                                        UNOFFICIAL COPY      112




     contacts between the campaign and Russian operatives.       This is one

     example I'd like you to read into the record.

           Ms. Hicks.   And where were --

           Mr. Cicilline.     Exhibit 9 it is.

           Ms. Hicks.   Sorry.    Where would you like me to begin reading?

           Mr. Cicilline.     If you can start at "Following the

     Convention" --

           Ms. Hicks.   Oh.

           Mr. Cicilline.     -- and read through the paragraph.

           Ms. Hicks.   "Following the Convention, Page's trip to Moscow

     and his advocacy for pro-Russia foreign policy drew the media's

     attention and began to generate substantial press coverage.       The

     Campaign responded by distancing itself from Page, describing him

     as an 'informal foreign policy advisor' who did 'not speak for

     Mr. Trump or the campaign.'     On September 23, 2016, Yahoo! News

     reported that U.S. intelligence officials were investigating

     whether Page had opened private communications with senior Russian

     officials to discuss U.S. sanctions policy under a possible Trump

     Administration.    A Campaign spokesperson told Yahoo! News that

     Page had 'no role' in the Campaign and that the Campaign 'was not

     aware of any of his activities, past or present.'      On

     September 24, 2016, Page was formally removed from the Campaign."

           Mr. Cicilline.     And you agree now that that is an example of

     a contact with Russians from a member of the Trump --

           Ms. Hicks.   Well, I take issue with the description provided
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 114 of 274
                                                        UNOFFICIAL COPY    113




     here, as it says that the campaign responded by distancing itself

     from Page.   I don't recall any instance where we were close.

     There was no additional distance needed to be placed between

     Carter Page and the campaign.

           Mr. Cicilline.   Well --

           Ms. Hicks.    But if you categorize Carter Page as somebody who

     was involved with the Trump campaign, and, you know, certainly he

     had Russian contacts, then that is fine.

           Mr. Cicilline.   But didn't you instruct that inquiries about

     Mr. Page, if you look the footnote 589, should be answered with,

     and I quote, "He was announced as an informal advisor in March.

     Since then, he has had no role or official contact with the

     campaign.    We have no knowledge of activities past or present and

     he now officially has been removed from all our lists"?

           Ms. Hicks.    I think we're saying the same thing.

           Mr. Cicilline.   Thank you.

           I now yield to Mr. Deutch.

           Mr. Deutch.    Thank you very much, Mr. Cicilline.

           Thanks, Ms. Hicks, for being here.

           You said earlier that you hadn't read any of the Mueller

     report because you lived it.     Did you review any of the portions

     that described you?

           Ms. Hicks.    My counsel has done that.   And, yes -- I have not

     done a thorough job, admittedly, but, yes, I have.

           Mr. Deutch.    Do you know how many times you're mentioned in
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 115 of 274
                                                          UNOFFICIAL COPY    114




     the Mueller report?

           Ms. Hicks.     I don't.   I believe somebody said earlier

     27 pages.   Is that right?

           Mr. Deutch.     Yeah.

           And you told us earlier that you'd like to answer any

     questions not objected to by the White House when you were here

     today.   Did the White House make any claims of absolute immunity

     from being compelled to testify before the special counsel?

           Ms. Hicks.     No.

           Mr. Deutch.     Do you know if the White House -- were there

     discussions with the White House about the possibility that you

     might not speak to the special counsel because of the absolute

     immunity that they could assert?

           Mr. Purpura.     Objection.

           Mr. Deutch.     So, to confirm, there was no discussion about

     absolute immunity to testify before Muller?

           Mr. Philbin.     That's not correct.    We objected to the

     question, and she did not answer.       You're asking for whether or

     not she had discussions with the White House while she was a

     senior --

           Mr. Deutch.     I am.   Thanks.   Thanks.

           Are you aware of any absolute immunity --

           Mr. Davis.     They're part of the --

           Mr. Deutch.     No, I understand.    I understand the objection

     because I've heard it multiple times.        Thank you very much.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 116 of 274
                                                        UNOFFICIAL COPY   115




           And you aware of -- and were you aware that the possibility

     existed that absolute immunity could have been claimed to prevent

     you from testifying before the Mueller investigation?

           Mr. Philbin.    Objection.

           Mr. Purpura.    Objection.

           Mr. Deutch.    Ms. Hicks, I'd like to -- well, let me just turn

     to this.   On the evening of June 14th, 2017, The Washington Post

     reported the special counsel was investigating the President's

     conduct for possible obstruction of justice.

           Were there any discussions that took place with the President

     about his refusal to cooperate with the special counsel on

     obstruction-of-justice claims?

           Mr. Purpura.    Objection.

           Mr. Deutch.    Were you in any meetings where there were any

     discussions with the President of the United States about his

     refusal to answer any questions about obstruction of justice?

           Mr. Purpura.    Objection.

           Mr. Deutch.    The Mueller report states that the President

     called Don McGahn that weekend, on Saturday, June 17th, to direct

     him to have the special counsel removed because of the asserted

     conflicts of interest.

           I'd like to introduce into the record as exhibit 10 page 86

     of Volume II of the Mueller report, which describes what the

     President said to McGahn when he called, including, and I quote,

     "Call Rod, tell Rod that Mueller has conflicts and can't be the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 117 of 274
                                                        UNOFFICIAL COPY   116




     Special Counsel"; "Mueller has to go"; and "Call me back when you

     do it."

                              [Hicks Exhibit No. 10

                              Was marked for identification.]

           Mr. Deutch.    Did the President tell you that he was making

     those calls to Mr. McGahn?

           Mr. Purpura.    Objection.

           Mr. Deutch.    Did you ever learn that Mr. McGahn was

     considering resigning after that weekend as a result of the

     President's calls?

           Mr. Purpura.    Objection.

           Mr. Deutch.    Will you refuse to answer any other questions

     about whether the President directed his White House counsel to

     fire the special counsel?

           Mr. Purpura.    Objection.

           Mr. Deutch.    I'm just asking whether you're refusing to

     answer any questions.

           Mr. Purpura.    Again, sir, her absolute immunity applies.

     That was during her time at the White House as a close advisor to

     the President, and she will not answer those questions.

           Mr. Deutch.    So perhaps I should ask counsel whether it's

     your intent to --

           Mr. Philbin.    We will object to all of those questions.

           Mr. Deutch.    -- object to all of those questions.    Thank you

     very much.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 118 of 274
                                                         UNOFFICIAL COPY    117




           I refer you back to our list of privilege questions that we

     entered as exhibit 1, beyond this assertion of absolute immunity.

     You're going to decline to answer all of those questions, whether

     you're asserting any privileges -- now, I can go through these

     again, or I'll read them one time and you can tell me -- sorry?

           [Discussion off the record.]

           Mr. Deutch.    I'm sorry.    I apologize.   Then I would like to

     enter into the record as exhibit 11 the questions that have been

     asked -- the first one, correct?      Yeah.

                               [Hicks Exhibit No. 11

                               Was marked for identification.]

           Mr. Deutch.    The first question is:    Are you asserting any

     other basis for declining to answer the question?

           Ms. Hicks.    No.

           Mr. Deutch.    Are you asserting any privileges in declining to

     answer the question?

           Ms. Hicks.    No.

           Mr. Deutch.    Are you asserting executive privilege in

     declining to answer the question?

           Ms. Hicks.    No.

           Mr. Deutch.    Will you provide any details about this matter

     so that the committee can assess the applicability of privileges?

           Ms. Hicks.    I will answer any questions that are not objected

     to.

           Mr. Davis.    I'm sorry.    Where did you get this document,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 119 of 274
                                                          UNOFFICIAL COPY        118




     exhibit 11?   I don't know what this is.

           Mr. Deutch.     It's a list of questions that I'm --

           Mr. Davis.     Where did it come from?

           Mr. Deutch.     It's a list of questions that I'm asking now

     that I will then submit --

           Mr. Davis.     So this is a document that your staff created

     during the interview that you're now entering as an exhibit?           Is

     that right?

           Mr. Deutch.     It's the series of questions that I'm asking

     right now to be entered into the record.

           Mr. Philbin.     I would note, just for the record, that this is

     simply a list of questions that will be reflected in the record as

     they are read out loud.        So the purpose of entering this as an

     exhibit --

           Mr. Deutch.     Great.    Then -- okay.

           Mr. Eisen.     It's simply being --

           Mr. Deutch.     So, then, I'll just -- please.

           Mr. Eisen.     Go ahead.

           Mr. Deutch.     I'll just finish asking the questions.

           Will you provide any details about this matter so that the

     committee can assess the applicability of privileges?

           Ms. Hicks.     I will answer any questions that are not objected

     to.

           Mr. Deutch.     Will you answer any other questions about this

     matter?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 120 of 274
                                                        UNOFFICIAL COPY   119




           Ms. Hicks.    As long as they're not objected to.

           Mr. Deutch.    On January 25th, 2018, The New York Times

     reported that, back in June of 2017, the President had ordered

     Mr. McGahn to have the special counsel removed.

           And I'd like to introduce as exhibit 12 pages 114 through 117

     of Volume II of the report.

                              [Hicks Exhibit No. 12

                              Was marked for identification.]

           Mr. Deutch.    While we're finding those, since we're going to

     be running up against lunch, I'll go ahead and read this, and you

     can follow along.

           Beginning "On January 26":    "On January 26, 2018, the

     President's personal counsel called McGahn's attorney and said

     that the President wanted McGahn to put out a statement denying

     that he had been asked to fire the Special Counsel and that he had

     threatened to quit in protest.     McGahn's attorney spoke with

     Mr. McGahn about that request and then called the President's

     personal counsel to relay that McGahn would not make a statement.

     McGahn's attorney informed the President's personal counsel that

     the Times story was accurate in reporting that the President

     wanted the Special Counsel removed.     Accordingly, McGahn's

     attorney said, although the article was inaccurate in some other

     respects, McGahn could not comply with the President's request to

     dispute the story.    Hicks recalled relaying to the President that

     one of his attorneys had spoken to McGahn's attorney about the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 121 of 274
                                                        UNOFFICIAL COPY   120




     issue."

           Now, is that what you said to the special counsel?

           Mr. Philbin.    Objection.

           Mr. Deutch.    Did you know the President was attempting to get

     Mr. McGahn to deny that the President asked him to fire the

     special counsel, even though Mr. McGahn confirmed that the

     President did ask him to fire the special counsel?

           Mr. Purpura.    Objection.

           Mr. Deutch.    Did the President ask you to help him get Mr.

     McGahn to deny the story by communicating with Mr. McGahn's

     lawyers?

           Mr. Purpura.    Objection.

           Mr. Deutch.    You've been instructed not to answer any

     questions about the President instructing his White House counsel

     to create a false record.    That's correct?

           Mr. Purpura.    Objection.

           Mr. Deutch.    Let me just finish with this.

           Mr. Purpura.    Can you read back that question?

           Mr. Deutch.    I'll restate.

           You have been instructed not to answer any questions about

     the President instructing his White House counsel to create a

     false record.    Is that correct?

           Mr. Philbin.    Objection.

           Mr. Purpura.    Objection.

           Mr. Deutch.    Have you had any discussions, Ms. Hicks, with
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 122 of 274
                                                         UNOFFICIAL COPY   121




     Donald Trump's personal lawyers, including Jay Sekulow, about any

     of your testimony here today?

           Ms. Hicks.     No, sir.

           Mr. Deutch.     Have you had any discussions with any of the

     President's personal lawyers about your testimony?

           Ms. Hicks.     Here today?    No, sir.

           Mr. Deutch.     Have you had any discussions with the

     President's -- any discussions with -- sorry -- the President's

     personal lawyers about cooperating with the government at any

     point?

           Mr. Philbin.     Objection.    To the extent you're asking

     questions about her time as a senior advisor to the President and

     the White House, we object to that question.

           Mr. Deutch.     Great.

           And as to the rest of your time and your longstanding

     relationship with the President, have you had any discussions with

     the President's personal lawyers about cooperating with the

     government at any point?

           Ms. Hicks.     No.

           Mr. Deutch.     No discussion -- you've not spoken about this

     investigation or any efforts by Congress or efforts by the Mueller

     team to probe the activities that are covered in the Mueller

     report?

           Mr. Trout.     Congressman, I think her answer is really limited

     to the period that she was not at the White House.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 123 of 274
                                                            UNOFFICIAL COPY   122




           Mr. Deutch.     I understand that.

           With respect to that period, you've had no discussions with

     any of the President's personal lawyers?

           Ms. Hicks.     That's --

           Mr. Trout.     No.   I'm sorry.   I may have confused the matter.

     I think she is not answering as to the period of time when she was

     at the White House.

           Mr. Deutch.     Right.

           Mr. Trout.     Her answer is for every other time.

           Mr. Deutch.     I understand.

           Ms. Hicks.     And I'm saying no.

           Mr. Deutch.     Okay.

           And no one associated with the President has asked to review

     your testimony before congressional committees prior to giving

     your testimony?

           Mr. Purpura.     Objection.

           Ms. Hicks.     I'm not reading anything.    I don't have anything

     to review.

           Mr. Deutch.     Well -- right.    Have you had

     discussions -- again, excluding the period during which you were a

     senior advisor to the President, have you had discussions with

     anyone from the President's team about the testimony you would

     provide to Congress?

           Ms. Hicks.     I have not, no.

           Mr. Deutch.     Okay.    And so, just to then clarify, as to your
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 124 of 274
                                                         UNOFFICIAL COPY   123




     time while serving in the White House as a senior official, did

     you have any discussions with the President's personal lawyers,

     including Jay Sekulow or others about your testimony?

           Mr. Purpura.     Objection.

           Mr. Philbin.     Objection.

           Mr. Deutch.     And while serving in White House in a senior

     position, did you -- while serving in the White House or since,

     have you had any conversations with the President's personal

     lawyers about the time that you served as special counsel in the

     White House -- as a senior official?

           Ms. Hicks.     Sorry.   I'm not following that question.

           Mr. Deutch.     I understand the objection.   I just want to make

     clear that you've had no discussions with any personal lawyer of

     the President about the time either while you were serving in the

     White House or after leaving about the time you were serving in

     the White House?

           Mr. Philbin.     Congressman, the question is compound, and

     we'll object.    Ask as to her time at the White House, and ask as

     to another time.

           Ms. Hicks.     Yeah.

           Mr. Deutch.     Did you speak with any of the President's

     personal lawyers while at the White House about your cooperation

     with Congress and the investigations?

           Mr. Philbin.     Objection.

           Mr. Purpura.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 125 of 274
                                                        UNOFFICIAL COPY    124




           Mr. Deutch.     And did you speak with any of the President's

     personal lawyers after you left the White House about the time

     that you were in the White House?

           Ms. Hicks.     No.

           Mr. Deutch.     You did not.

           When was the last time you spoke with the President?

           Ms. Hicks.     April.

           Mr. Deutch.     Who initiated that phone call?

           Mr. Philbin.     We'll object.

           Mr. Deutch.     Why?    Based on?

           Mr. Philbin.     Presidential communications that -- the

     President -- to preserve the opportunity for the President to be

     able to consider --

           Mr. Deutch.     She's not a senior official in the White House,

     and it wasn't during her time as a senior official in the White

     House.

           Ms. Hicks.     It wasn't a phone call.   We had dinner.

           Mr. Deutch.     You had dinner in April.   What did you discuss

     at dinner?

           Ms. Hicks.     We discussed -- it was more of a reminiscing

     about events from the campaign, rallies, things like that.

           Mr. Deutch.     Did you reminisce about any of the things that

     you've been asked about during the campaign?

           Ms. Hicks.     Not that I recall.

           Mr. Deutch.     What was the tone of the conversation?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 126 of 274
                                                         UNOFFICIAL COPY     125




           Ms. Hicks.     I just said that.    It was reminiscent of previous

     experiences.

           Mr. Deutch.     Did you discuss your testimony before Congress?

           Ms. Hicks.     No.

           Mr. Deutch.     Did you discuss any of the President's comments

     about the congressional investigation that had been made?

           Mr. Philbin.     We'll object to that.    To the extent the

     questions are going into matters that relate to the President's

     duties, there should be an opportunity to consider whether there

     would be a claim of privilege.

           Mr. Deutch.     Are you asserting privilege over those?

           Mr. Purpura.     Not at this time.

           Mr. Deutch.     Okay.    So then the witness can answer whether

     there was a discussion with the President at dinner in April about

     any of the congressional testimony not relating to the time that

     Ms. Hicks was a senior White House official, correct?

           So were there any discussions about that?

           Mr. Purpura.     No, that's not --

           Mr. Philbin.     No.    The President should have the opportunity

     to consider whether these communications are considered

     privileged.    To the extent that they are concerning -- if there

     was any discussion, we don't know.       But matters relating to

     discharge of his duties -- we're not asserting privilege now.

     That is up to the President to do.       But to preserve the

     President's ability to consider that, we are objecting to the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 127 of 274
                                                              UNOFFICIAL COPY   126




     question at this point.

           Mr. Deutch.    So, if I understand, you won't allow the witness

     to answer because you're reserving the right to assert privilege

     about a conversation at some point in the future?

           Ms. Hicks.    That is correct.

           Mr. Deutch.    I would ask one last time for the witness to

     answer.

           Ms. Hicks.    No.

           Mr. Deutch.    If you wanted to get a hold of the President,

     how would you do that?

           Ms. Hicks.    Sorry.   Can you repeat --

           Mr. Deutch.    Yeah.   If you wanted to reach the President, how

     would you get him?

           Ms. Hicks.    I would call him.

           Mr. Deutch.    Since leaving the White House, how many times

     have you spoken with him?     Five?    Ten?    Twenty?

           Ms. Hicks.    I would say somewhere between 5 and 10.

           Mr. Deutch.    And, again -- well, have you spoken with the

     President -- April was the last time.         You've not spoken with the

     President since you agreed to testify before this committee?

           Ms. Hicks.    April was the last time I spoke to him.

           Mr. Deutch.    So you've not spoken with him since agreeing to

     testify before the committee.

           Ms. Hicks.    That would be accurate.

           Mr. Deutch.    Has anyone from the President's legal team,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 128 of 274
                                                        UNOFFICIAL COPY     127




     staff, or his family reached out to you about your testimony

     today?

           Ms. Hicks.    No.

           Mr. Deutch.    And, finally, do you have thoughts on the

     President's reaction to your testimony?      Do you think the

     President will be angry that you're testifying before Congress?

           Ms. Hicks.    I don't want to speculate or hypothesize.

           Mr. Deutch.    Based on your lengthy and extensive relationship

     with the President, do you think, based on that, just based solely

     on your experiences with him, that he might be angry about your

     testifying before Congress today?

           Ms. Hicks.    I think the President knows that I would tell the

     truth, and the truth is there was no collusion.      And I'm happy to

     say that as many times as is necessary today.

           Mr. Deutch.    And, also, the President said there was

     essentially no obstruction.      Does that mean -- what do you think

     he meant by that?

           Ms. Hicks.    I'm here to talk about the campaign.

           Mr. Deutch.    No, I understand, but you just told me the

     things the President's been repeating.      So he's also been

     repeating comments about obstruction of justice where he says

     there's essentially no obstruction of justice.      What do you think

     he means by that?

           Ms. Hicks.    I'm here to comment on events that happened

     during the campaign.      That's what I'm doing.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 129 of 274
                                                          UNOFFICIAL COPY    128




           Mr. Deutch.    Right.    So --

           Mr. Davis.    I think your hour is up, sir.

           Mr. Deutch.    I understand.

           So, just finally, you're prepared to say no collusion, which

     was clearly about the campaign, but you refuse to answer any

     questions about obstruction of justice, which also has to do with

     the campaign.

           Ms. Hicks.    I'm not refusing.      Is there a specific question

     that you're asking?

           Mr. Deutch.    Yeah.    Yeah.

           Mr. Davis.    Your time is --

           Mr. Deutch.    Absolutely.      You've offered up that there was no

     collusion in talking about the campaign.        I asked about the

     President's comments, "essentially no obstruction," why do you

     think he used the word "essentially"?        And on that, you're saying

     you won't answer because it has to do with the campaign.         I'm

     pointing out the fact that you were willing to talk about one and

     not the other.

           Ms. Hicks.    That is not what I said.

           Mr. Trout.    I will object.      I think that mischaracterizes

     what she has said.    I think it mischaracterizes the questioning.

           Mr. Deutch.    I don't, but --

           Mr. Davis.    Sir, but the hour is --

           Mr. Deutch.    I understand.      And guess what.   We'll continue

     this when we come back after lunch.        But I thought it would be
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 130 of 274
                                                        UNOFFICIAL COPY   129




     appropriate to try to clear the air because of what we just heard

     before we take this break, but I'm glad to break for lunch.

           Ms. Hariharan.   We will go off the record now.     It is 12:01.

           [Discussion off the record.]

           Ms. Hariharan.   We will come back at 1 o'clock.

           [Recess.]
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 131 of 274
                                                          UNOFFICIAL COPY     130




     [1:07 p.m.]

           Mr. Eisen.     We are back on the record at 1:07, and it is the

     minority's hour.

           Mr. Collins.     Thank you.    And, again, Doug Collins, Ranking

     Member Judiciary.     As we come along with this, I think the

     interesting thing that I wanted to settle out, because there is a

     conflict here with -- coming up with votes and I know there will

     be some questioning on -- is just reiterating, you know, some of

     the things that have been very frustrating for me in this hearing,

     especially that started out when the chairman laid forth a very

     long statement on decorum and issues.

           And we had -- the witness' counsel had to be, you know,

     reminded -- there were members taking pictures at this.          There was

     also live tweeting of this event.        This is -- again, it really

     takes away from the decorum.        And whether you agree with this,

     which I don't, or don't agree with it is irrelevant.        The decorum

     here was botched and became really what I've said this was

     is -- for a long time is a photo opportunity and a show.

           At this point, I do always like to open up -- when we switch

     back, I will open it up.        You've had several lines of questioning

     now from both majority and minority side.        Is there anything that

     you would like to expound upon that you feel like you didn't get

     enough ability to answer?        Is there anything that you would like

     to say, Ms. Hicks?

           Ms. Hicks.     No, sir.    Thank you for the opportunity.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 132 of 274
                                                        UNOFFICIAL COPY     131




           Mr. Collins.    Okay.   All right.   No problem.   And we will

     continue this.    At this time, I do want to yield to the gentlelady

     from Arizona for just a few moments.

           Mrs. Lesko.    Thank you.   And just for the record, I'm

     Congresswoman Debbie Lesko from Arizona, and mine is more of a

     statement instead of a question, Ms. Hicks.      It's very frustrating

     to me this continual probes, subpoenas, contempt of Congress,

     actions taken by my Democratic colleagues after almost 2 years of

     special counsel investigating, you know, claims that there was

     collusion, coordination, conspiracy with Russia, 2,800 subpoenas,

     500 bench warrants, 40 FBI agents, I forget how many attorneys, 19

     attorneys.

           For my Democratic colleagues to think they are going to come

     up with something more than all these FBI agents and attorneys and

     something is -- I just don't understand it.      And so, in the time

     that I was here today listening to some of the questions, I felt

     like they are trying to come up with something that all of these

     subpoenas, bench warrants, attorneys weren't able to come up with.

           And the fact is that the Mueller report, which I have, you

     know, several copies of right here, has said there was no

     collusion, coordination, conspiracy with the Trump administration,

     nor any American with Russia to influence the 2016 election.         And

     also, there were no charges of obstruction of justice.

           So, again, I call on my Democratic colleagues to please,

     let's move on with America's business.      I was elected to get big
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 133 of 274
                                                        UNOFFICIAL COPY   132




     things done, not to continually relitigate this for publicity

     purposes.    And I believe my Democratic colleagues are trying to

     influence the 2020 presidential election, using taxpayer expense,

     and I just think it's a terrible thing.

           Mr. Collins.     All right.   With our side, that will be -- from

     this round on our side, we, again, will have another round if need

     be, but this is our round, we will yield back to the majority.

           Mr. Eisen.     Okay.   The majority is going back on the record

     at 1:13.

                  BY MR. EISEN:

           Q     Ms. Hicks, are you aware of media reports that you

     maintained a diary during your -- at any time during your work

     with Donald Trump?

           A     Yes, I'm aware of those reports.

           Q     And what are you aware of?

           A     Just exactly what you described, that I maintained a

     diary during my time working for Mr. Trump.

           Q     And did you?

           A     I did not, no.

           Q     Did you maintain any form of keeping notes during your

     time working for Donald Trump?

           Mr. Philbin.     Can we clarify whether this question is

     extending to all time periods or only up to the time she became

     senior adviser to the President?

                  BY MR. EISEN:
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 134 of 274
                                                        UNOFFICIAL COPY   133




            Q   I'm going to break the question down.     Let's start with

     the period up to and including the election.      Did you maintain any

     form of note taking, regularized note taking during that period?

            A   I guess it would depend on your -- the kind of note

     taking you're describing.    If you're talking about notes

     pertaining to my professional responsibilities, obviously yes.       If

     you're talking about notes like, dear diary, great day, no, I did

     not.

            Q   Do you have any idea how this -- these media reports

     that you maintained a diary originated?

            A   I don't know.

            Q   And let me ask the same question as to the transition

     period.    Did you maintain any regularized form of note taking

     during the transition?

            A   No, sir.

            Q   Did you -- I'll ask this on both the campaign and the

     transition.   Did you have a little notebook that you carried

     around with you like people sometimes do to keep running track of

     events?

            A   Not that I recall.   You know, loose papers maybe.

     Things were -- they were happening on the fly most of the time.

     I'm sure I have a lot of Trump Hotel stationery, loose papers

     somewhere.

            Q   And how did you maintain those loose papers during the

     period of the campaign?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 135 of 274
                                                        UNOFFICIAL COPY   134




           A    Usually I had a to-do list, and I would write down, you

     know, requests for the President, the candidate at the time, or

     people I needed to speak to, mostly reporters, other things I

     needed to get done, and I would sort of check off as I go, and

     once the items on the list either expired or were completed, I

     would start a new list.

           Q    And have you retained those campaign documents?

           A    Not that I'm aware of, those.    I don't think so, no.

           Q    Same question on the transition.    How did you keep track

     of things day-to-day?

           A    Same, same way.

           Q    And where are those transition materials, those papers

     you wrote on, if you know?

           A    I don't know where those are.

           Q    Did you have a practice of retaining any of that

     paperwork?   I'll ask now for the campaign and the transition in

     the interest of time.

           A    No.   I mean, these were notes probably only I would

     understand, both given my handwriting and the words that I would

     jot down, like maybe just the initials of a reporter or the name

     of an outlet, things like that.

           Q    And I'm not going to go too deep into the details, but

     did you maintain any personal form of note taking or recording

     events during the campaign or the transition?

           A    Not with any regularity, no.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 136 of 274
                                                         UNOFFICIAL COPY   135




           Q    When you say not with any regularity, were there some

     things that you did on a less-than-regular basis in that regard?

           A    I think there were a couple of occasions where I jotted

     down things I wanted to remember, especially as we sort of

     approached the final weeks of the campaign, you know, memorable

     interactions with supporters of the candidate or special details

     of events, but nothing -- like I said, it was very infrequent,

     sporadic, nothing remarkable.

           Q    And those infrequent and sporadic memorable jottings,

     where are those today?

           A    They -- most of them, I believe, are located on my

     laptop.

           Q    And were those reviewed for the purposes of the document

     and production that was made in response to the voluntary request

     or the subpoena, if you know?

           A    My lawyers handled the document production, and --

           Mr. Trout.     I believe they were reviewed and all responsive

     documents were -- have been produced.

           Mr. Eisen.     Okay.   I'd like to ask you the same questions

     about the White House.       We're going to pause to see if there is an

     objection to asking those -- that identical series of questions

     regarding Ms. Hicks' White House tenure.

           Mr. Philbin.     If you could --

           [Discussion off record.]

           Mr. Philbin.     We would object to questions about maintaining
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 137 of 274
                                                        UNOFFICIAL COPY     136




     regular series of notes connected with her service as a senior

     adviser to the President, things related to her job.       If there is

     a question, did you maintain a purely personal diary about

     entirely personal things, we would not object.

                 BY MR. EISEN:

            Q   Did you, during your tenure in the White House, maintain

     a purely personal diary in whatever form?      You understand when I

     ask that question I mean --

            A   I did not, no.

            Q   -- I'm including the periodic jottings, memorable events

     and other things of the kind we've talked about?

            A   I did not, no.

            Q   Have you done that since leaving the White House?

            A   Yes, I have, actually.

            Q   And in the materials that you have created of this kind

     since leaving the White House, could you describe to me what they

     are?

            A   Very similar to what I previously described, anything

     memorable, you know, notable interactions that were special to me

     or -- that left an -- you know, an impact on me and things that I

     wanted to obviously remember from my time there, hopefully to

     share with people more familiar to me than the faces I'm looking

     at now down the road.    But I believe those were also reviewed by

     my counsel in response to the request for documents.

            Q   We won't take any offense to your desire to share that
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 138 of 274
                                                        UNOFFICIAL COPY     137




     information with more familiar faces than ours.

           The -- do those materials, which, if I understand correctly,

     they were created post your White House service.      Just remind me

     what day you left the White House?

           A    March 30.

           Q    We're talking about post March 30.

           Mr. Trout.   2018.

                 BY MR. EISEN:

           Q    Of 2018.    What form do you maintain those materials in?

           A    They are notes on my iPhone.

           Q    You use the Apple iPhone Notes --

           A    Yes, sir.

           Q    -- the thing that looks like a little notepad?

           A    Yes, sir.

           Q    And how voluminous are those?

           A    They are not voluminous.

           Q    And have your attorneys been through those to look for

     responsive documents?

           A    Yes, sir.

           Q    And do those -- do some of the materials in there relate

     to your time in the White House?      We will just take a yes or no,

     and we will give you an opportunity to --

           A    Yeah, I'm just -- I'm just thinking.     You know, a lot of

     it is things from the campaign that I remembered, but I'm sure

     there's things in there that pertain to my time in the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 139 of 274
                                                        UNOFFICIAL COPY        138




     White House.

           Q    And is there any transition material in there as well,

     if you know?

           A    I don't know.

           Q    And roughly, how many of those -- do you have it all in

     one note, or is it multiple?

           A    There's probably about three or four separate notes, and

     it's like a list of words, basically, that just jot my -- jog my

     memory to remember a certain series of events, a person, a place.

           Q    And other than these three or four notes, any other

     materials that you've maintained post White House service that

     would record or recollect events before that?

           A    Not that -- no.

           Q    And forgive me for asking, but do you have any plans to

     write a memoir of your time with Mr. Trump?

           A    It depends how many more of these sessions we have to

     do.   These guys are expensive.    I do not, no.

           Q    Have you ever prepared a proposal to do that?

           A    I have not, no.

           Q    Give me one second.

           Okay.    We were in and out some of these questions.       I just

     want to establish for the record the -- we do sometimes enjoy a

     soundtrack here at the committee.     I just want to establish for

     the record just quickly, how did you first become involved with

     the Trump family?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 140 of 274
                                                        UNOFFICIAL COPY    139




           A    Sure.   So I worked at a public relations firm, and

     Ivanka Trump was one of the clients that I was assigned to work

     with there, so I got to know her.     And my role with her expanded

     over time, and I met the rest of the family and started to work

     more broadly with the Trump Organization, and their real estate

     hospitality and golf assets.

           Q    When did you first meet Donald Trump?

           A    June of 2013.

           Q    And when did your work switch to the Trump Organization?

           A    I was hired in August of 2014.

           Q    How did you become involved in the Trump campaign?

           A    I was working at the Trump Organization at the time as

     the director of communications, and Mr. Trump asked me if I would

     join the campaign, that he was thinking about running for

     President, and would I like to be his press secretary, and I said

     yes, and that was it.

           Q    Did you take a trip to Iowa in January 2015?

           A    We did, yes, sir.

           Q    Can you just briefly tell me about that?

           A    It was my first trip with Mr. Trump in this capacity.

     We had traveled for our Trump Organization work together before,

     but we went with a small number of people to, I believe, an event

     called the Freedom Summit in Des Moines, Iowa, and it was my first

     exposure to any kind of political conference, and certainly my

     first exposure to the events leading up to the Iowa caucus a year
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 141 of 274
                                                        UNOFFICIAL COPY    140




     later.

           Q    Was that trip to Iowa before or after you were formally

     designated as press secretary?

           A    You know, it was -- it was before I was formally

     designated as press secretary, but after he had asked if I wanted

     to participate in the campaign if he ran for President.

           Q    Was there any allocation of your time or expenses as

     between the Trump Organization and the campaign in connection with

     that Iowa trip?

           A    No, not that I'm aware of.    Shortly afterwards though,

     once an exploratory committee was formed, there was a conversation

     about how my time would be split, how that would be designated in

     terms of my salary, and what my obligations were to make certain

     folks aware of how I was spending my time and all of those good

     rules that we followed.

           Q    And about when was that, if you recall?

           A    The exploratory committee was formed in early March

     of 2015, so leading up to that, so probably sometime in mid to

     late February.

           Q    And I take it that you were given a set of instructions

     on how to allocate time and expenses in connection with the

     exploratory committee?

           A    That's accurate.

           Q    And can you give me a sense of the breakdown between the

     Trump Organization and the exploratory committee around the, let's
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 142 of 274
                                                        UNOFFICIAL COPY    141




     say in the -- that quarter when the distinction was first made, in

     your time and expenses?

            A   Sure.   No expenses that I'm aware of, that I recall.

     And time, you know, it was really split out during the week.

     Monday through Friday, I worked at the Trump Organization,

     probably spent about 10 percent of my day attributing resources to

     the presidential exploratory committee, and then we traveled on

     the weekends to different summits and speaking opportunities.

            Q   And could I ask you, please, to characterize your

     relationship, just describe it in your own words, with Donald

     Trump during the campaign period.     If it evolved over time, feel

     free to tell us how it evolved.

            A   Sure.   So early on, I was an employee, and I, you know,

     did everything I could to try to accommodate his needs and his

     requests from a communications standpoint.      He obviously has

     very -- he has a lot of experience in dealing with the media, so

     he was willing to provide a lot of guidance to me, which was much

     appreciated, given how inexperienced I was.      And over time,

     obviously, we grew closer.     The relationship became stronger.

     And, you know, I think we both trusted each other and worked very

     well together.

            Q   And you've been described publicly like a daughter to

     him.   Do you agree with that characterization?

            A   You would have to ask Mr. Trump that.

            Q   Did he ever tell you how to describe your relationship
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 143 of 274
                                                         UNOFFICIAL COPY   142




     with him?    During the campaign now, I'm asking.

           A     No.

           Q     And did the relationship change between the campaign and

     the transition in any material ways?

           A     No.

           Q     And I'm not going to ask you to get into the substance

     of the following question -- I see Mr. Philbin perched on the edge

     of his chair -- but I am going to ask you, did the relationship

     change between the White House and what came before?

     Don't -- just yes or no.    You won't get into the substance.

           A     No.

           Q     And how has the relationship changed since you left the

     White House?

           A     Well, I don't see him every day.   I'm no longer an

     employee.    So fundamentally, it's very different, but I don't have

     anything specific to add.

           Q     Were there ever times when you were making public

     statements about Mr. Trump in the campaign or transition when you

     checked with him first before making those statements about him?

           A     Yes.

           Q     Was that a general matter?   Would you check with him

     before making public statements about him?

           A     I wouldn't say it was a requirement, but if I had the

     opportunity to check with him, of course, I would rather say

     something that he wanted me to say rather than say something that
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 144 of 274
                                                        UNOFFICIAL COPY   143




     he was less than pleased with.

            Q   And were there -- how frequent were the occasions when

     you made public statements without checking with him first?

     Again, just the general order of magnitude.

            A   Well, so you're asking two different things.     You asked

     if I made statements about him specifically without checking with

     him, to which I answered that I would -- my preference was to

     check with him.      My preference was to check with him regarding

     statements that weren't specifically about him as well, however,

     it was much more frequent that just the demand for the job

     required --

            Q   Got it.    Got it.

            A   -- a faster response.

            Q   And there's a point in the Mueller report -- and I'm

     actually not going to ask you yet about the page in the Mueller

     report, but there is a page in the Mueller report where there is a

     description of you suggesting to Mr. Trump that something be taken

     out of an interview.     And I'm going to ask you some questions

     about that with respect to the campaign and the transition, if I

     may.

            Mr. Philbin.    Sorry.   If you could clarify, when was the

     interview?

                  BY MR. EISEN:

            Q   Do you want me to -- do you want me to do the Mueller

     report now?    I'm going to hold that -- I'm going to -- I'll hold
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 145 of 274
                                                        UNOFFICIAL COPY    144




     that for later.

           I'll ask the witness, do you know the episode in the Mueller

     report that I'm referring to?

           A     I do, sir.

           Q     So I'm going to save that -- the Mueller report itself

     for later.    But I want to ask more generally about the practice of

     asking a reporter to take something out after it has been said.

     Can you describe what your practice was in that regard in the

     campaign and transition, if you had one?

           A     Sure.   I think it's pretty common practice amongst

     communications professionals that they try to ensure that their

     principle comes across as good as possible, as an effective

     messenger, and as someone who is hopefully relaying something

     specific.    After all, that's generally the purpose of an

     interview.    And anything that distracts from that core message is

     sometimes best not included.

           And I think anybody that has any experience in PR would say

     that that is fairly common practice to make that request.        I would

     say that it's very rare for the request to be fulfilled, but

     there's no harm in asking.

           Q     And just -- if you can think of any occasions when you

     made that request to a print reporter or radio, television during

     the campaign or transition, can you think of any times when that

     happened?

           A     Sure, yeah.   Look, most of the time it's -- it is maybe
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 146 of 274
                                                        UNOFFICIAL COPY   145




     not a request to omit the information altogether, but if there's

     going to be something released at one point, and then a latter

     portion of the interview released at another point in time, Hey,

     would you mind putting this in this section of the interview, we

     have something coming up and we want this to be the primary

     message of the day, things like that.

           Q    What about holding and getting the reporter to hold it

     back altogether?    Were there occasions when that happened in the

     campaign or transition that you can think of?

           A    Only if I was really lucky.    No, I'm sure there were

     occasions.   Nothing is coming to mind, but --

           Mr. Eisen.    Okay.   We have members who are back with us, so

     Mr. Cohen.

           Mr. Cohen.    Thank you.   I'm Steve Cohen from Memphis, and we

     had another hearing, which I chaired.     I don't know if these

     questions were asked, but if they weren't, I want to ask them.

     During the campaign, there was a meeting at Trump Tower with one

     of the sons, I think it was Jr., and the Russian lady that came

     and the alleged story about we have information that might be bad

     about Hillary Clinton, and then they talked and they -- whatever.

     Do you know the meeting I'm talking about?

           Ms. Hicks.    Yes, sir.

           Mr. Cohen.    Did you have any knowledge of that meeting before

     it was scheduled?

           Ms. Hicks.    No, sir.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 147 of 274
                                                        UNOFFICIAL COPY        146




           Mr. Cohen.     Were you on the Air Force One at the time that

     President Trump, then-Candidate Trump maybe consulted with some

     people about the answer that Donald Jr. should give to the press?

           Mr. Trout.     Well, just --

           Mr. Philbin.     Objection.

           Mr. Cohen.     He wasn't President.

           Mr. Purpura.     No, he was.   You said Air Force One.     That's

     what we're trying to clarify.

           Mr. Cohen.     Well, he wasn't on the Air Force.   He was on

     Trump One.   Sorry.

           Ms. Hicks.     But you're -- I think -- I'm sorry.    I think

     you're confused.     That took place on Air Force One.     He was

     President.

           Mr. Purpura.     Right.

           Mr. Cohen.     And the Trump Tower meeting was before -- was it

     that time?

           Mr. Philbin.     I believe that the meeting was in 2016.

           Mr. Cohen.     Right.

           Mr. Philbin.     But the discussion that I believe you're

     referring to didn't take place until 2017.

           Mr. Cohen.     So when he drew up a response on the airplane

     and --

           Mr. Neguse.     That was in 2017.

           Mr. Cohen.     That was in 2017?

           Mr. Trout.     Yes.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 148 of 274
                                                        UNOFFICIAL COPY      147




           Mr. Cohen.     So before he was President, did you know anything

     about that meeting?

           Ms. Hicks.     No, sir.

           Mr. Cohen.     None whatsoever?

           Did you have any knowledge of any meetings that Mr. Trump had

     with Mr. Kislyak?

           Ms. Hicks.     No, sir.

           Mr. Cohen.     How about anybody else with the campaign and

     Mr. Kislyak?

           Ms. Hicks.     At the time they occurred?   After?   Can you be

     more specific?

           Mr. Cohen.     No.   Just tell me what you know about any

     meetings that the campaign had with Mr. Kislyak, if you would.

           Mr. Philbin.     Well, let's limit the answer to what you knew

     during the campaign or in the transition.

           Mr. Cohen.     Right.

           Ms. Hicks.     I don't -- I don't recall being aware of the

     meetings that took place at the time, but later learned about, I

     believe, the meeting General Flynn and Jared Kushner had with

     Ambassador Kislyak during the transition.

           Mr. Eisen.     I just want to make clear for the record, you're

     objecting -- the White House is objecting to the question to the

     extent it covers post January 20, 2017?

           Mr. Purpura.     Right.

           Mr. Philbin.     Now, to the extent that the question is to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 149 of 274
                                                        UNOFFICIAL COPY    148




     elicit information she learned in her capacity as the senior

     adviser to the President after January 20, yes.

           Mr. Eisen.     So we probably should stipulate this for the

     record.   It will make things go much faster and it will speed up

     our review of the morning transcript as well.      When the

     White House says objection, that is an absolute immunity objection

     and none other, correct?

           Mr. Philbin.     For the most part.   There was an incident

     earlier where we were talking about something that occurred during

     the transition period that could relate to the President-elect's

     preparation for making decisions as a President where we might

     assert a different privilege.      So for the most part, the objection

     will be based on absolute immunity.

           Mr. Eisen.     All right.   But you didn't assert the different

     privilege earlier.     So far, the privilege, when you've objected,

     it has been absolute immunity so far.

           Mr. Purpura.     That's correct.

           Mr. Eisen.     So we're going to stipulate for the record,

     barring an objection from anyone -- I apologize to Mr. Cohen, but

     I just want to have a clean transcript -- that when there's a

     White House objection, that's an absolute immunity objection,

     unless otherwise stated.     And Ms. Hicks is declining to answer

     that question.     It saves us from having to go through that over

     and over again.    Is that agreeable, Ms. Hicks?    Mr. Trout?

           Mr. Trout.     Agreeable.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 150 of 274
                                                            UNOFFICIAL COPY   149




             Mr. Eisen.     Okay.   White House?

             Mr. Philbin.     Yes, unless we specify something else, a

     single-word objection will be absolutely amenable.

             Mr. Cohen.     All right.   So with all those caveats, before

     January 20, 2017, did you have any knowledge of any discussions of

     Russian sanctions?

             Ms. Hicks.     No.

             Mr. Cohen.     There was no discussions at all with Mr. Trump

     and you weren't privy to them about Russian sanctions that we had

     issued?    You're sure of that?      Think about it.

             Ms. Hicks.     I am thinking.   Thank you.    You know, there

     was -- there was a phone call obviously between General Flynn and

     the Russian ambassador.        There was news reports after that where

     it was unclear what was discussed, but that would have been the

     only context in which Russian sanctions were brought up in my

     capacity as communications adviser.

             Mr. Cohen.     Anything about adoptions?     The Russian adoptions

     by American citizens come up during your time before January 20,

     2017?

             Ms. Hicks.     No, sir.

             Mr. Cohen.     So that wasn't an issue either?     It wasn't

     something you all discussed?        It wasn't something the President

     thought was an important issue?

             Ms. Hicks.     No, sir.

             Mr. Cohen.     Did the meeting -- you had no knowledge of that
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 151 of 274
                                                          UNOFFICIAL COPY   150




     meeting, or you did have knowledge of the meeting in Trump Tower?

             Ms. Hicks.   I did no knowledge of that meeting.

             Mr. Cohen.   You had no knowledge of it.    You only had

     knowledge of it after the --

             Ms. Hicks.   I learned about the meeting in June of 2017.

             Mr. Cohen.   Okay.   Okay.   During the campaign did you learn

     anything at all about Mr. Stone and his relationship with

     WikiLeaks?

             Ms. Hicks.   No, sir.

             Mr. Cohen.   That never came up at all?    There was no

     discussion of Mr. Stone and his connections with Mr. Assange?

             Ms. Hicks.   Not with me, no.

             Mr. Cohen.   Did anybody else where you overheard a

     conversation?

             Ms. Hicks.   Not that I'm aware of.

             Mr. Cohen.   And you don't remember any discussions at all

     about WikiLeaks?     Well, you do know about WikiLeaks.     You

     discussed that earlier.        What did you know about WikiLeaks and

     their divulgence of information about the emails of Hillary

     Clinton and Mr. Podesta?

             Ms. Hicks.   I know what was publicly available and nothing

     more.

             Mr. Cohen.   Nothing in the campaign at all?

             Ms. Hicks.   Pardon?

             Mr. Cohen.   You never heard anything at all being privy to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 152 of 274
                                                        UNOFFICIAL COPY   151




     Mr. Trump -- you were with him every day.      Were you not?

           Ms. Hicks.   I was, yes, sir.

           Mr. Cohen.   And you never heard anything from him about

     WikiLeaks?

           Ms. Hicks.   That's not what I said.    I said the information I

     knew about WikiLeaks was what was publicly available.

           Mr. Cohen.   So you didn't know anything from being

     around -- you never heard Mr. Trump talk about it?

           Ms. Hicks.   No, sir.

           Mr. Cohen.   Did you hear anybody in the campaign talk about

     it?

           Ms. Hicks.   No, sir.

           Mr. Trout.   You mean other than what was discussed in the

     public domain?

           Ms. Hicks.   Yes.   Earlier I made a clarification that, you

     know, sometimes there would be speculation about if there would be

     more emails or information released, but that was prompted by

     things in the media so -- and, obviously, it wasn't, you know,

     certain certainty.    It was with speculation and skepticism.

           Mr. Cohen.   And I was here earlier, and you said you'd had no

     knowledge -- any information about hush payments to Ms. Stormy

     Daniels.   How about to Ms. -- was it -- McDougal, Miss August?

           Ms. Hicks.   I wasn't aware of anything -- I wasn't aware of a

     hush payment agreement.    I was aware of an arrangement she had

     with the National Enquirer based on their statement that they
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 153 of 274
                                                        UNOFFICIAL COPY      152




     provided to The Wall Street Journal when the article was written

     on November 3 or 4 of 2016.

           Mr. Cohen.     And did you have that knowledge from discussions

     or overhearing discussions with Mr. Trump or other members of the

     campaign as the family?

           Ms. Hicks.     I had that knowledge as David Pecker provided the

     statement that they planned to provide to The Wall Street Journal

     to me just before it was given to the reporter as a heads-up.

           Mr. Cohen.     You never met either Ms. Daniels or

     Ms. McGuire -- McDougal?

           Ms. Hicks.     No, sir.   I was in high school in 2005.

           Mr. Cohen.     Time flies.

           Mr. Collins.     That hurts.

           Mr. Cohen.     Time flies, yeah.

           Ms. Hicks.     I had to get one in.   You guys have been at me

     all day.

           Mr. Cohen.     Yeah.   You'll be happy to know Paul McCartney,

     who was in Wings, had his birthday recently, yeah.

           I think I'm going to let you do that.     I'm going to go vote,

     otherwise John Stewart will say bad things about me.       Thank you,

     Ms. Hicks.

           Ms. Hicks.     Thank you so much.

           Mr. Eisen.     Mr. Neguse.

           Mr. Neguse.     Good afternoon, Ms. Hicks.   I just want to

     follow up on a point this morning that we talked about, and
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 154 of 274
                                                        UNOFFICIAL COPY     153




     Mr. Cohen kind of followed up as well.      I think you've confirmed

     for the record that you weren't aware of the -- we will call it

     the Trump Tower meeting in June of 2016, that you didn't learn

     about that until the following year, as well as a variety of other

     instances that we've talked about this morning and this afternoon.

     You are aware -- have you read the special counsel's report?

           Ms. Hicks.    Not in its entirety.    I've read little pieces of

     it.

           Mr. Neguse.    Okay.   Earlier in response to a question from my

     colleague, Representative Cicilline, you said there was no

     collusion.    Is that right?   That was what you said in response to

     a question.

           Ms. Hicks.    That's accurate, yes.

           Mr. Neguse.    You have not read in full volume one of the

     special counsel's report, correct?

           Ms. Hicks.    That's correct.

           Mr. Neguse.    In volume one, I represented to you that there

     is detail surrounding over 120 contacts between members of the

     Trump campaign, and various Russian operatives and satellites and

     so forth.    You wouldn't have anything to dispute that, correct?

           Ms. Hicks.    Again, I don't know the exact nature of those

     contacts and how I might characterize the relationship of the

     folks described in and what their actual affiliation with the

     campaign or lack thereof would be, but I have no reason to dispute

     that those contacts took place.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 155 of 274
                                                        UNOFFICIAL COPY     154




           Mr. Neguse.    Well, you know, the two examples that have come

     up most frequently today, right, the President's, then

     candidate's, son and senior adviser meeting with someone who is

     purporting to provide information from the Russian Government

     regarding the then-candidate's opponent and the campaign chairman,

     Mr. Manafort, sharing polling data with a foreign national.       Those

     would clearly be within the ambit of people who were affiliated

     with the campaign directly or indirectly, correct?

           Ms. Hicks.    Yes.

           Mr. Neguse.    Okay.   My question is, you'll recall this

     morning we talked about the notification to the Secret Service

     around the October 2016 email to Mr. Kushner.      If you had received

     the email from Mr. Goldstone in June of 2016, would you have

     notified Secret Service?

           Ms. Hicks.    I'm not going to speculate on a hypothetical.

           Mr. Neguse.    Well, I -- it's -- I'm not asking to speculate.

     I'm asking whether or not you would if --

           Ms. Hicks.    I think that's speculation.

           Mr. Neguse.    -- a foreign national --

           Ms. Hicks.    I'm not a lawyer, but --

           Mr. Neguse.    Well, okay, let me take a step back.    In October

     of 2016, you clearly agreed with Mr. Kushner alerting Secret

     Service regarding the email he had received, correct?

           Ms. Hicks.    I didn't -- I didn't say that.    You're putting

     words in my mouth.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 156 of 274
                                                           UNOFFICIAL COPY   155




             Mr. Neguse.    Did you not -- you don't agree with him

     notifying Secret Service?

             Ms. Hicks.    I didn't have an opinion on it one way or

     another.    It was --

             Mr. Neguse.    You have no opinion of it today?

             Ms. Hicks.    -- his choice to do that.    I --

             Mr. Neguse.    So you have no opinion as to whether or not

     Mr. Kushner should have or should have not alerted Secret Service

     regarding the October 2016 email?

             Ms. Hicks.    I --

             Mr. Neguse.    Presumably you would agree that he should notify

     Secret Service, which is what he did?

             Mr. Trout.    Objection.

             Mr. Neguse.    Well, you can answer the question.    So your

     position is you have no opinion one way or the other about what

     he --

             Ms. Hicks.    I've never put much thought into it, is the

     honest answer.

             Mr. Neguse.    I guess I'm asking you, sitting here today, as

     you put thought into it whether or not you agree or disagree.

             Mr. Trout.    I'm going to object to that.    I just don't think

     it has any relevance at all as to what her opinion is today about

     events that have occurred.         She is here to answer questions about

     things that she observed in real time.

             Mr. Neguse.    Your objection is noted.    And it sounds like
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 157 of 274
                                                           UNOFFICIAL COPY     156




     you're refusing to answer the question and so that's -- we will

     move forward.       I would say that as a fact witness during this

     event in question, it's fair to ask her whether or not she agreed

     when she was shown an email from Gucifer or someone purporting to

     be Gucifer, and when Mr. Kushner said I'm going to alert the

     Secret Service whether or not she agreed with him taking that step

     as a senior campaign official.         But if she refuses to answer the

     question, we can proceed --

           Ms. Hicks.      I'm happy to answer the question.    I think it was

     a fine thing for him to do.         I think that, like I said earlier,

     better safe than sorry, especially in these last days of the

     campaign.    I just -- I probably wouldn't have put as much validity

     behind it as he did, but I think his caution is a good thing, and

     I don't have anything else to add.

           Mr. Neguse.      Thank you.    And applying that same reasoning,

     would you apply that same reasoning to the June 2016 email that

     went to Mr. Trump Jr.?

           Ms. Hicks.      I think they are two very different situations,

     and like I said before, I'm not going to speculate on a

     hypothetical.

           Mr. Neguse.      Thank you.    I am going to turn it back to

     Mr. Eisen.

                  BY MR. EISEN:

           Q     Okay.    On June 12, 2016, Julian Assange claimed in a

     televised interview to have emails relating to Hillary Clinton
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 158 of 274
                                                        UNOFFICIAL COPY   157




     which are pending publication.     Do you recall that on or about

     that time?

             A   I don't, no.

             Q   Do you recall any public announcements by anyone

     associated with WikiLeaks in the summer of 2016 that documents

     would be forthcoming?

             A   I don't, no.

             Q   When is the first that you remember learning that

     WikiLeaks might have documents relevant to the Clinton campaign?

             A   Whenever it became publicly available.    I think my first

     recollection is just prior to the DNC Convention.

             Q   And what was your reaction when you learned that?

             A   I don't recall.   I think before I described a general

     feeling surrounding this topic of not happiness, but a little bit

     of relief maybe that other campaigns had obstacles to face as

     well.

             Q   And I know we've touched on this but I just want to make

     sure we get it into the record.     What's your first recollection of

     discussing this issue with Mr. Trump?

             A   Probably around that same time.

             Q   What do you remember about that discussion?

             A   I don't recall anything specific.

             Q   Do -- can you remember anything about his affect, how

     he -- his affect?

             A   No.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 159 of 274
                                                             UNOFFICIAL COPY   158




             Q     Did you have a view on whether WikiLeaks actually had

     that material?

             A     I don't understand.

             Q     Did you believe it was a true report that WikiLeaks

     actually had material on --

             A     I believe that when I've learned about this, that they

     were already releasing material, so I had no reason to question

     whether or not it was real.

             Q     And what do you recall, if anything, about Mr. Trump's

     reaction to the release of those materials?

             A     Again, I don't recall anything specific.

             Q     And we've talked a little bit about exchanges with

     members of the Trump family, and either I or someone else asked

     you about Eric Trump and the receipt of an opposition research

     file.       And I'll take that exhibit -- took advantage of the lunch

     break to get it for you.       What exhibit are we on?

             Ms. Istel.     We will mark it as Exhibit 13.

                                 [Hicks Exhibit No. 13

                                 Was marked for identification.]

             Mr. Philbin.     Do you have copies for the minority members and

     for us?

             Mr. Eisen.     If the White House lawyers want to come up to the

     table to look at the copy, they are welcome to.

             Mr. Purpura.     We're okay.   We have a set.

             Mr. Eisen.     Oh, you've got one.   Good.   Okay.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 160 of 274
                                                         UNOFFICIAL COPY   159




                  BY MR. EISEN:

           Q     Ms. Hicks, would you take a look at exhibit 13, please.

           A     Page 13?    No.   This document that your lawyer has handed

     you, this big document as exhibit No. 13.       It starts with the

     table of contents.

           Mr. Philbin.      And just for the record, this is a 211-page

     document.

                  BY MR. EISEN:

           Q     I do not intend to ask the witness about all 211 pages.

     I'll try to limit myself to 199.

           Just have a look at the first few pages, if you would for me,

     Ms. Hicks, table of contents on just the beginning of it.        Is this

     the -- ready?

           A     Yes, sir.

           Q     Is this the document that Eric Trump sent you?

           A     I don't know.     I would have to see the email, but --

           Q     I'll just ask you to speak into the microphone for

     the --

           A     I can't say for sure.     I would have to go back and look

     at the email.    That was 3 years ago, and I'm going to guess

     several thousand emails ago, but it does look familiar.

           Q     The email, do you know where we could get a copy of that

     email?

           A     The campaign would have that email.

           Q     That was on your official -- was sent to you on your
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 161 of 274
                                                         UNOFFICIAL COPY     160




     official campaign account?

            A    My guess is yes.     We obviously searched my phone, so

     this has got my text messages.

            Q    Okay.   Very good.    We will endeavor to get that from the

     campaign.    Do you --

            A    But as you'll note, this information is all publicly

     sourced, so it isn't exactly a bombshell opposition research

     document.    It's a compilation of publicly sourced articles, but --

            Q    Did you ever discuss this document with Donald Trump?

            A    If this is the document that Eric shared with me, yes, I

     did.

            Q    Tell me about that conversation, please.

            A    You know, he asked what was contained in the document

     based on a quick glance.       I said essentially what I just said to

     you, that this is a summary of publicly sourced information,

     number one; and number two, it's all out there.       It already has

     been, but now it's just all out there at once versus somebody's

     attempt to perhaps bread crumb this out over the months ahead.

            Q    And what was his response to that?

            A    Not much.

            Q    Was he pleased or displeased?

            A    I think he was indifferent.

            Q    And do you know what the source of this document was?

            A    I don't, no.

            Q    Do you recall what the source of the document Eric sent
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 162 of 274
                                                        UNOFFICIAL COPY    161




     you was?

           A    I don't.   I recall Eric's message maybe mentioning

     something about the source being either the DNC, or affiliated

     with the DNC, something of that nature.      But I don't recall the

     exact phrasing.

           Q    In your experience as a campaign official, is it

     valuable to have the opposing political party's opposition

     research dossier, even if it's -- even if everything in it is

     public?

           A    Well, you know, we have this thing called Google now, so

     it's certainly helpful, I guess, to have it compiled in one place,

     but I would say, jump ball on this one.

           Q    Is it helpful to know, again, asking during

     your -- asking given your experience as a campaign official, is it

     helpful to know what your opponent, or the political party of an

     opponent might think is the opposition research as to your

     candidate?

           A    Yeah.   Look, I -- maybe if the candidate wasn't Donald

     Trump, someone who had been in the arena for 40 years and just

     gone through a year-long primary where he defeated 17 professional

     politicians, this might be more helpful.      But at that point in

     time, we were pretty familiar with the kinds of criticisms and

     attacks that any opponent would put to Mr. Trump.

           Q    Did you do anything else with the opposition research

     report that Eric Trump passed to you in the --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 163 of 274
                                                        UNOFFICIAL COPY   162




           A     I did not personally.   It's possible that either Eric or

     myself passed it onto the war room at the RNC, but, no, I didn't

     personally do anything with it.

           Q     And what's your basis for stating that it's possible

     that you or Eric might have passed it onto the RNC?

           A     I guess that's me speculating about what the next step

     might be to -- you know, when you get a 200-page document, so --

           Q     I want to go back -- I want to go back to the -- to the

     questions of the campaign reporting, any information about Russian

     contacts.    To your knowledge, did the campaign ever report any

     information about contacts of any kind with Russia to any law

     enforcement official?

           A     Report to law enforcement when?   During the campaign?

           Q     During the campaign.

           A     Not to my knowledge.

           Q     Did you receive a defensive, what's called a defensive

     FBI briefing or any kind of a law enforcement briefing while you

     were in the campaign?

           A     I did not, no.

           Q     Are you aware of whether the campaign received such a

     briefing?

           A     I'm not aware.

           Q     Do you understand what I mean by defensive FBI --

           A     I do, yes, sir.

           Q     -- briefing?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 164 of 274
                                                         UNOFFICIAL COPY   163




           What does that mean to you, Ms. Hicks?

           A     It means to have law enforcement make you aware of

     potential risks, and how best to protect yourself, if those risks

     exist already, or if they might present themselves at some time in

     the future.

           Q     On July 27, 2016, Mr. Trump publicly stated, "Russia, if

     you're listening, I hope you're able to find the 30,000 emails

     that are missing.    I think you will probably be rewarded mightily

     by our press."    Do you recall that statement?

           A     I do, yes, sir.

           Q     Did you have any discussions with Mr. Trump about that

     statement prior to the statement being made?

           A     Not prior to, no.

           Q     Did you have any discussions with him about the

     statement after it was made?

           A     I did, yes.

           Q     Were you with him at the time he made the statement?

           A     I was, yes, sir.

           Q     And when did you discuss it with him?

           A     When we got back on the plane to go to our next

     location.

           Q     And what was that discussion?

           A     The discussion was me informing him that some in the

     media had taken the expression quite literally, and that they were

     concerned he was encouraging foreign governments to, you know,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 165 of 274
                                                        UNOFFICIAL COPY       164




     locate those emails, and that that was obviously something that

     the media felt was extremely inappropriate and demanded a response

     from Mr. Trump and the campaign as to what exactly he meant by

     that.

             Q   And did you have a view on the appropriateness of this

     statement?

             A   You know, it was my understanding from both the way he

     made the remark, and the discussions afterwards, that this was a

     little bit tongue-in-cheek.     This was not a comment that was

     intended as an instructive or a directive to a foreign government.

     It was a joke.    And that was the intent, based on my conversation

     with him, and that was it.

             Q   And what did he say in that conversation about the

     statement?

             A   Just what I just said, that it was intended as a

     light-hearted comment.

             Q   The President last week told George Stephanopoulos that

     he would take information about an opponent from a foreign

     adversary in the next election.     There's nothing wrong with

     listening.    It's not an interference.   They have information.     I

     think I'd take it.    If I thought there was something wrong, I'd go

     maybe to the FBI, if I thought there was something wrong.        Do you

     think that was a joke?

             A   I don't know.   I have not discussed that remark with the

     President.    I didn't -- I didn't see the entire interview, so I
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 166 of 274
                                                        UNOFFICIAL COPY   165




     saw the clip you're referencing.     I don't know if there was

     additional context.     I don't think that was a joke based on what I

     saw.

            Q   All right.   In your experience now, knowing all that you

     do, you've reflected on it, would you take -- I'm asking you this

     based on your experience and the expertise you've developed, would

     you take foreign oppo information from a foreign government, if

     that were offered when working on a political campaign?

            A   You know, knowing how much chaos has been sowed as a

     result of something like the Steele dossier, no, I would not.

            Q   And, again, I'm asking you about your expert opinion.

     Would you advise another person to do that if they were in a

     position to do so?

            A   No, I would not.

            Q   Would you call the FBI if you were offered such

     information?

            A   If I felt it was legitimate enough to have our law

     enforcement dedicate their time to it, sure.

            Q   If you felt it was genuine or credible, you would call

     the FBI, right?

            A   Yes.

            Q   I'll ask you the same question as to the campaign.

     According to Mr. Mueller's report there were over 120 contacts

     between the Trump campaign and individuals associated with the

     campaign and Russia.     That's Russian individuals, that's during
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 167 of 274
                                                         UNOFFICIAL COPY       166




     the campaign.      I want to ask you a couple questions about specific

     particular ones, and I am going to direct you -- I'm going to

     direct you to page 66 of volume one of the Mueller report.

           Okay.    And I am going to introduce -- this might make it a

     little more helpful.

                               [Hicks Exhibit No. 14

                               Was marked for identification.]

                   BY MR. EISEN:

           Q    I'm going to introduce as exhibit 14 a selection of

     excerpts of the Mueller report.     I've handed one to the witness.

     I'll hand one back to our administration counsel and -- okay.         I

     wanted to try to get this in before the break that we're going to

     go in 2 minutes.

           A    That's okay.    Let's just keep going.

           Q    Okay.    And -- so this is exhibit 14.   I've highlighted

     at the bottom of page 66 in note 288 a portion of the report.         If

     you would just read that, start with the words "for example," and

     read those three lines, please, Ms. Hicks.

           A    "For example, on August 18, 2015, on behalf of the

     editor in chief of the internet newspaper" -- I'm sorry I can't

     pronounce the title of that publication.      Contrary to popular

     belief, I do not speak Russian -- "campaign press secretary Hope

     Hicks was emailed asking for a phone or in-person candidate

     interview by an individual associated with this publication."

           Q    And it's the internet newspaper Vzglyad, and the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 168 of 274
                                                         UNOFFICIAL COPY    167




     person's name is Georgi Asatryan.      And that refers to an 8/18/15

     email from Asatryan to Hicks.     Do you recall this episode?

           A    Only because we discussed it earlier.

           Q    Do you have anything else you want to add to what you

     said before about this matter?

           A    No, sir.

           Q    Okay.    I am going to -- if my -- if my counsel

     will -- my co-counsel will indulge me, I'm going to try to

     breeze -- no.      We better take our break.   I can't do it in

     2 minutes.   Okay.    Well, we will pick up after a 5-minute break.

           A    Do we have to take the break?

           Q    Majority and minority counsel are consulting.

           Mr. Hiller.     Let's go off the record for a minute, please.

           Mr. Eisen.     Going off the record.

           [Discussion off the record.]
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 169 of 274
                                                        UNOFFICIAL COPY    168




     [2:10 p.m.]

           Mr. Eisen.     Back on the record at 2:10.

                 BY MR. EISEN:

           Q    Okay.   I'll direct you to the next page, page 102, of

     Volume I of the Mueller report, and you'll see some language is

     highlighted in footnote 589.     You'll recall that we -- would you

     take a look at that footnote, please, Ms. Hicks?      Have you done

     so?

           A    Yes, sir.

           Q    You'll recall there were some questions about Carter

     Page earlier today.     Do you remember that?

           A    Yes, sir.

           Q    Do you remember this September 25th email from you to

     Mr. Conway --

           A    It's Ms. Conway.

           Q    -- Ms. Conway and Mr. Bannon?

           A    Yes, sir.

           Q    And is this an accurate description of that email?

           A    Yes, sir.

           Q    Was it your understanding that Mr. Page was announced as

     an informal advisor in March?

           A    He was.    Although I don't believe he ever did anything

     to remotely fulfill the definition of even an informal advisor.

           Q    What was the point at which he ceased serving as an

     informal advisor?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 170 of 274
                                                         UNOFFICIAL COPY    169




           A     I don't believe he ever served.    I've never met

     Mr. Page.    I know that he admits he's never spoken to Mr. Trump.

     I'm not sure what advice he provided, if any, or in what capacity,

     but --

           Q     Let me put it this way.   What was the point at which the

     announcement to the world that this man was an informal advisor to

     the Trump campaign, if any, was rescinded?

           A     So he was announced as an informal advisor amongst a

     group sometime in March of 2016.      And, you know, again, contact

     was limited; there was no service provided by him.       But it was

     made clear in the fall of 2016 that he, in fact, had no role with

     the campaign.

           Q     And I'm going to direct your attention to the next page,

     page 115.    And we have highlighted a portion of this material.

     Will you have a look at it, please?      It starts in the body text

     after 704 and runs through note 706 in the body text.

           A     Yes, sir, I see it.

           Q     Okay.   And do you recall the meeting that is written

     about here?

           A     I don't recall this specific meeting, given this

     description.    But I know we had regular Monday morning meetings

     with this group, so --

           Q     Do you recall at any time Paul Manafort warning that

     Monday morning group that a meeting would not yield vital

     information and they should be careful?       Any note of caution of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 171 of 274
                                                         UNOFFICIAL COPY    170




     that kind that you remember coming up at one of these meetings?

           A     No, sir.

           Q     Okay.   And do you remember discussing this subject with

     Special Counsel Mueller or his representatives?

           Mr. Purpura.     Objection.

           Mr. Eisen.     What is the basis for the objection?

           Mr. Purpura.     This occurred during her time as a senior White

     House advisor.      I instruct her not to answer.

           Mr. Eisen.     Absolute immunity.

                  BY MR. EISEN:

           Q     Will you follow the instruction not to answer?

           A     I will, yes, sir.

           Q     Would you answer any other questions about the subject

     matter set forth here on page 115?

           Mr. Philbin.     Let's be clear what you're asking, the

     question.

           Mr. Eisen.     Let me be more specific.   Would you answer any

     other questions about your interviews with Robert Mueller, one of

     which is reflected here in note 706 of page 115?

           Mr. Purpura.     We would object.

           Mr. Eisen.     And the basis for the objection is absolute

     immunity?

           Mr. Purpura.     Yes.   To the extent you're asking her about the

     interviews, if you want to ask her about what she knew in 2016 --

           Mr. Eisen.     Yes.   We've exhausted what she knew.   Now I'm
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 172 of 274
                                                        UNOFFICIAL COPY   171




     moving to the interviews and attempting to close out the Mueller

     interviews.

                 BY MR. EISEN:

           Q    Will you follow the instruction not to answer any

     questions about your interviews with Special Counsel Robert

     Mueller or the Special Counsel's Office based on the

     absolute-immunity instruction of the White House?

           A    Yes.    This is like "Inception."   I'm answering questions

     about interviews and interviews and interviews.

           Q    Yes.

           A    I will follow the instructions of the White House.

           Q    Okay.

           Would you answer any questions designed -- would you answer

     any questions about where those interviews took place, when they

     took place, who attended those interviews, who you discussed those

     interviews with, or any other questions intended by us to explore

     the basis for the absolute-immunity assertion with respect to your

     interviews with the Special Counsel's Office?

           Mr. Purpura.     We would object to all of those questions.

           Mr. Eisen.     Object on the basis of absolute immunity.

           And will you follow that instruction?

           Ms. Hicks.     Yes, sir.

           Mr. Eisen.     Are there any other privileges that are being

     asserted at this time as to the Mueller interviews?

           Mr. Philbin.     Not at this time.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 173 of 274
                                                         UNOFFICIAL COPY   172




           Mr. Purpura.     Not at this time.

           Ms. Hicks.     No, sir.

           Mr. Eisen.     None by you.   Okay.   Good.

                  BY MR. EISEN:

           Q    Okay.    I'm going to pivot over now to the -- we'll do

     one more from Volume I.      Then I'm going to hand you over to my

     colleagues.      Anytime you need a break, just say so.

           I'm going to ask you some questions about outreach from the

     Russian Government, starting with approximately 3:00 a.m. on

     election night.     Do you remember receiving a telephone call at

     that time?

           A    Yes, sir.

           Q    What do you remember about that telephone call?

           A    I couldn't understand much, but I remember hearing the

     name "Putin" and an attempt to offer congratulations, a request

     for a forum in which to do that.

           Q    And what device did the phone arrive on?

           A    The phone call arrived on my personal iPhone, which was

     the phone I'd used throughout the campaign, and its number was

     well-known, so --

           Q    Did you have a view at the time the call arrived of what

     the source of the call was?

           A    Meaning the number?

           Q    Meaning who was calling.     Did --

           A    No.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 174 of 274
                                                        UNOFFICIAL COPY   173




           Q    -- you have any idea?     Could you tell if they were a

     domestic or foreign individual?

           A    I believe the number was a 202 number.

           Q    And tell me everything that you remember the person

     saying, to the extent you could hear and understand it.

           A    Sure.    I just did.   I responded by requesting that this

     individual send me an email because it was difficult to understand

     them, and they did that.

           Q    And when did they send you that email?

           A    I believe it was shortly after the phone call took

     place.

           Q    That same day?    Do you remember the date?

           A    It was the same day, because we're talking about

     4 o'clock in the morning.     I can't remember if it was an hour

     later or if it was when I woke up at 6:00, 2 hours later.

           Q    If you'll take a look at exhibit 14, Volume I, page 145,

     you'll see that footnote 967 indicates there was an email to you

     at 5:27 a.m.      Does that refresh your recollection as to the time?

           A    Yes.

           Q    Okay.    And who sent that email?

           A    I suppose it was the person on the phone, identified as

     Sergey Kuznetsov.

           Q    And who is Sergey Kuznetsov?

           A    An official from the Russian Embassy.

           Q    Do you know what role he has at the Russian Embassy?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 175 of 274
                                                         UNOFFICIAL COPY   174




           A     I don't, no.

           Q     And other than the engagement that we asked you about,

     the email in Volume I, page 66, note 288 of exhibit 14, was this

     the only other time, up to this date, that you had received a

     direct contact from someone associated with Russia on the

     campaign?

           A     I believe I had also received an email in February of

     2016 from maybe the same individual or somebody from the Russian

     Embassy requesting -- trying to coordinate an interview with a

     Russian news outlet, I believe.

           Q     Tell us what you remember about that.

           A     That is what I remember.    And I believe I responded

     saying that we would not be participating and have a nice day.

           Q     And do you remember what account the email arrived from?

           A     What account the email arrived from?

           Q     This -- I'm back on November 9th now.

           A     What it arrived from?

           Q     Yes.

           A     I don't remember, but I have this paper in front of me.

     It was a Gmail address.

           Q     Does it refresh your recollection, or are you just

     reading for me off it?

           A     I'm just reading off the page.    I don't remember.

           Q     Well, don't do that.    We don't like that.

           Do you recall what account the gentleman sent it to you from?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 176 of 274
                                                        UNOFFICIAL COPY   175




           A    I don't.

           Q    You don't have an independent recollection.

           A    No.

           Q    Okay.   Do you recall anything else about the email?

           A    There was an attachment that was a congratulatory letter

     from Putin to the President-elect.

           Q    And what languages was it in?

           A    Russian and English.

           Q    And do you recall your reaction when you got this email

     purporting to be a note from Mr. Putin in Russian and English?

           A    I wasn't sure if it was legitimate.     Wanted to find out

     how we could validate the sender and the information attached and

     make sure that the President-elect wasn't getting any false

     information.

           Q    And what did you do?

           A    I sent the email to Jared Kushner to ask for his help in

     identifying this individual, ensuring that they were affiliated

     with the Embassy, and then passing it along to the transition

     officials that would now be maintaining these records and

     coordinating these communications.

           Q    And did you learn at the time whether the email was

     genuine or not?

           A    My recollection was that Jared reached out to somebody,

     a contact that he had, that might know individuals at the Russian

     Embassy and that that was not -- the person that the email was
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 177 of 274
                                                         UNOFFICIAL COPY   176




     sent from was not the Russian Ambassador, but didn't have a

     comment, necessarily, on the validity of the email itself.

           Q    Did you do anything with the -- after checking with

     Mr. Kushner, did you do anything further?

           A    Like I said, I believe I shared the email with the

     transition officials that were now in charge of the

     President-elect's communications with foreign leaders.       He was

     obviously taking a lot of congratulatory calls in the days after

     the election, and that was all beginning to be run through a

     formal process, so I believe they took over from there.

           Q    I would like to ask you some -- if I were to ask you the

     same questions about the special counsel interview on this

     subject, it would be the same objection, correct?

           Mr. Purpura.     Yes.

           Mr. Eisen.     Okay.    I think that we're going to jump right to

     it or -- okay.

           Ms. Istel.     Unless you'd like to take a break.

           Ms. Hicks.     No, that's okay.

           Ms. Istel.     So I'll introduce myself for the record.    Sarah

     Istel with the majority staff.

           Good afternoon, Ms. Hicks.

           Ms. Hicks.     Hi.

           Ms. Istel.     I'm going to apologize, because we're going to be

     jumping around a little.       We'll try to clarify a couple things

     that happened.     And I want to make sure I get your words right, so
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 178 of 274
                                                          UNOFFICIAL COPY   177




     if I repeat something that you testified to earlier, you can just

     let me know if that's correct.

           Ms. Hicks.     Sure.

           Ms. Istel.     Thank you.

           So a Congresswoman asked you earlier about whether the

     President had asked you to make any statements regarding his

     relationship with Karen McDougal and with Stormy Daniels, and you

     had said that the President asked you to deny that he had an

     affair with Karen McDougal.       Is that correct?

           Mr. Philbin.     This is referring to during the campaign?

           Ms. Istel.     During the campaign.

           Ms. Hicks.     I believe the statement that I issued said that

     they did not have a relationship.

                 BY MS. ISTEL:

           Q    Okay.    So did you ever ask him if they had -- a

     relationship, can we agree that that encompasses an affair?

           A    Yes.

           Q    Great.    And did you ask him if that was true?

           A    I did not.

           Q    Did you generally make public statements that he asked

     you to make without asking him if those statements were true?

           A    No, but I wasn't in the business of -- I wasn't in the

     business of questioning him.       This was not something that I would

     have direct knowledge of, so I took his word.

           Q    But he did tell you that it was not true.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 179 of 274
                                                        UNOFFICIAL COPY     178




           A     That's accurate.

           Q     Okay.

           So we're going to go back a little bit.      We talked earlier

     about your relationship with Michael Cohen during the campaign and

     the President's relationship with Michael Cohen during the

     campaign.

           I take it you're aware that Michael Cohen has now pled guilty

     to multiple Federal charges on campaign finance violations?

           A     I'm aware.

           Q     Have you seen the information where the allegations

     against Mr. Cohen are laid out?

           A     Yes.

           Q     Okay.

           I'll let your counsel confer.

           Mr. Trout.    Yeah.   There is information which is a charge, a

     formal charge --

           Ms. Istel.    Right, so --

           Mr. Trout.    -- and then there's information which everybody

     else uses --

           Mr. Eisen.    She means the information --

           Ms. Istel.    I do.   And, actually, we have that as an exhibit,

     so we'll just introduce it now so that you can just see.

           Mr. Trout.    I'm not sure that --

           Ms. Istel.    I'm just going to read one sentence from it

     really quickly to make sure we're all on the same page as to what
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 180 of 274
                                                        UNOFFICIAL COPY   179




     that refers to.

                  BY MS. ISTEL:

           Q     "But the complaint alleges that Individual One directed

     Mr. Cohen to make hush-money payments to women who had affairs

     with Individual One during Individual One's Presidential

     campaign."

           Are you familiar with that allegation?

           A     Yes, I am.

           Q     Do you have any knowledge of whether the President knew

     that Mr. Cohen had made payments to Stormy Daniels during the

     campaign?

           A     I don't have any direct knowledge.

           Q     Did you ever witness Mr. Cohen and the President discuss

     payments to any women during the campaign?

           A     I did not.

           Q     Were you ever present when Mr. Cohen and the President

     had meetings about the President's relationship with other women

     during the campaign?

           A     Actually, there is one discussion that I was part of, in

     terms of -- you know, that involved Mr. Trump, Michael, myself,

     and it was regarding another woman.     Her name was Jill Harth.

           She had made allegations about something she claimed had

     happened, I believe, 20 years prior, but, you know, at the same

     time, had been sending requests to Mr. Trump's office for jobs,

     other, I believe, gifts, stating her support for his candidacy,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 181 of 274
                                                        UNOFFICIAL COPY   180




     and generally just praising him for being a friend and a good

     person over the years, and then shortly thereafter, you know,

     changed her tune a bit publicly.

           So that was the one conversation I was part of with that

     group of people.

           Q    When you say "changed her tune," can you describe what

     that means for the record?

           A    She began publicly to disparage Mr. Trump and, again,

     make claims about some things she said happened 20 years prior.

           Q    Do you have any knowledge of whether she made any

     demands on Mr. Trump?

           A    Like I said, she was making requests for various jobs

     that were not fulfilled, but I don't know if there were any other

     sort of more extreme requests or attempts to elicit help from him.

           Q    So, just to clarify, did she ever say, if you don't do X

     for me, then I will continue to disparage you publicly, to your

     knowledge?

           A    Not to my knowledge.

           Q    What did Mr. Trump respond, or -- at the time, respond?

           A    The nature of our conversations was just to ensure that,

     you know, any media outlets that were interviewing this person or

     attempting to write her story, that they were also aware of this

     additional context.

           Most of the communications, you know, describing her support

     for Mr. Trump and his candidacy, saying how she had attended
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 182 of 274
                                                         UNOFFICIAL COPY     181




     rallies, requesting jobs, things like that, she had put in emails

     to his office.    So wanting to make sure that the reporters had

     access to that information as well and, if they were going to

     proceed with the story, that they would present a full picture of

     all of the information.

           Q     Thank you.

           Now, earlier you mentioned that, before receiving a story,

     David Pecker emailed you to give you a heads-up.       Is that right?

           A     This was specific to the Wall Street Journal story, I

     guess November 3rd or November 4th.       I wasn't aware of the

     circumstances described to me by the reporter, as what -- as what

     they were planning to write.     It obviously involved American

     Media.    I reached out to David Pecker to see if he was engaging

     with the reporter and if he knew what they were talking about,

     since I didn't, and he wasn't available.

           He called me back and let me know that he had been made aware

     of the story and that his communications team was going to respond

     and shared the statement with me that they had provided to The

     Wall Street Journal or were in the process of.

           Q     Did he regularly tell you in advance of stories

     published about Mr. Trump?

           A     This was the only instance.

           Q     Did you have any other contact with him during the

     campaign?

           A     I had contact in the sense that he was an acquaintance
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 183 of 274
                                                        UNOFFICIAL COPY    182




     of Mr. Trump.     So sometimes -- you know, Mr. Trump doesn't email

     and was often extremely busy, so sometimes when we were on the

     road I would send a message to him or give his office a call to

     relay something for Mr. Trump -- dinner plans, a positive article

     that Mr. Trump wanted David to read, something interesting, maybe

     a picture from our travels on the campaign.

           Q     And I'll come back to that in a second, but you

     mentioned that Mr. Trump didn't email during the campaign.        Did he

     ever tell you why he didn't send emails during the campaign?

           A     He just doesn't -- it's not specific to the campaign

     period.   He just doesn't use email.

           Q     Have you ever seen him write an email?

           A     No.

           Q     Did you ever ask him why he doesn't write emails?

           A     I just know he prefers to speak on the phone.    He

     prefers the interaction.

           Q     Does he text?

           A     Not that I'm aware of.

           Q     So if you want to reach him, the only way to do so is to

     call him?

           A     That's my understanding, unless something's changed.

           Q     If he doesn't pick up and it's urgent, how would you get

     in touch with him during the campaign?

           A     He usually picks up.   But, you know, there's usually

     somebody else with him that you can try to reach out to as
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 184 of 274
                                                          UNOFFICIAL COPY      183




     well -- security, an advance person, right?        There's always people

     around.

           Q    And we'll come back to that in a second, but I want to

     just finish on this issue while we can.

           You mentioned that that was the only time that David Pecker

     had reached out to you or discussed a negative story about Trump

     in advance of the story.      Did you have any discussions with anyone

     else at AMI about a negative story and Trump prior to the release

     during the campaign?

           Ms. Solomon.     I'm sorry.   Can we just clarify?   You mentioned

     about David Pecker reaching out.        I'm not sure that that correctly

     describes Ms. Hicks' testimony.

           Ms. Istel.     Sure.   I think she said -- and you can correct

     the record.

           Ms. Hicks.     I reached out --

           Ms. Istel.     Yeah.

           Ms. Hicks.     -- to Mr. Pecker based on the inquiry I received

     from The Wall Street Journal, which described American Media's

     involvement in the situation.       I wasn't aware of any of the

     circumstances surrounding the situation they described.          So, to

     get more information -- Mr. Trump was on stage giving a speech at

     the time, so I reached out to David to see if he knew about this.

           Like I said, he acknowledged that his communications team had

     also been made aware by The Wall Street Journal of the story

     coming out and that they had responded or were in the process of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 185 of 274
                                                          UNOFFICIAL COPY   184




     responding with the statement that he read to me.

                  BY MS. ISTEL:

           Q     So I'll just clarify, then, for the record --

           A     I didn't offer any changes or suggestions.     It was

     purely an information-gathering phone call.

           Q     That's helpful.   Thank you.

           And can we ask the same question about Dylan Howard or anyone

     else at AMI?    Did you speak with anyone at AMI about a negative

     story about Trump prior to its release?

           A     Not that I'm aware of.

           Q     Did you have any contact with Keith Davidson during the

     campaign?

           A     Not that I'm aware of.

           Q     Okay.

           So I think, if we can go back and talk through a little bit

     more about the campaign, I just want to clarify for the record:

     Mr. Eisen asked you about who kept your schedule during the

     campaign.    Do you know who kept Mr. Trump's schedule -- or if he

     wrote down notes during the campaign.      So I'd like to ask similar

     questions about Mr. Trump's time during the campaign.        Do you know

     who kept his schedule?

           A     Sure.   So there were multiple people.    Rhona Graff, his

     longtime executive assistant and senior vice president at The

     Trump Organization, kept a record of his meetings.        And,

     obviously, the campaign had a scheduler that primarily handled
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 186 of 274
                                                        UNOFFICIAL COPY    185




     travel.

           Q     So if someone wanted to reach Mr. Trump, who would they

     contact?

           A     Most likely Rhona.   Obviously, things evolved a little

     bit as we worked on the road more, and sometimes they would

     contact me.    Sometimes they would contact Mr. Trump directly.

     Keith Schiller.

           Q     And did Rhona also keep Mr. Trump's phone messages

     during the campaign?

           A     She did, yeah.

           Q     And what about the rest of the senior staff's schedule?

     If you wanted to reach Manafort on a given day, during the

     campaign, how would you do that?

           A     I have no idea.

           Q     So you were with Mr. Trump during most days on the

     campaign.    Is that correct?

           A     Yes.

           Q     And if he said, I'd like to get in touch with Manafort

     or my Deputy Chairman Gates, how would you do that?

           A     I would call Paul's, I guess, cell phone number.

           Mr. Trout.    Paul Manafort?

           Ms. Hicks.    Yes.

                  BY MS. ISTEL:

           Q     Okay.   So is it fair to say that you -- at a given day

     during the campaign, would you know where the senior staff members
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 187 of 274
                                                        UNOFFICIAL COPY     186




     were, of the campaign?

           A     Most senior staff traveled with the candidate.       You

     know, we were a very small team.     And other members of the

     campaign, either -- if you worked in the States, pretty obvious

     where we might find you.    And someone like Paul was a little bit

     more difficult perhaps.    He split his time between New York and

     Washington and was also running the convention, so he spent quite

     a bit of time in Cleveland.

           Q     Did you have weekly senior staff meetings during the

     campaign?

           A     Like I said earlier, we usually met Monday mornings.

     This started around the time that Paul took on more

     responsibility.

           Q     Was Mr. Trump at those meetings?

           A     No.

           Q     Did anyone brief him about those meetings after they

     occurred?

           A     Sometimes he would be briefed on changes to his

     schedule, like if there was a travel day added or a rally, but --

           Q     What about the substance of those meetings?    Did you

     ever talk about messaging or any big issues that occurred?

           A     Again, it was mostly travel-based, so, like, you know,

     we're going to be traveling on Thursday, we're going to

     North Carolina, this is going to be a great opportunity for you to

     give a speech on X.    But that was the primary reason for
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 188 of 274
                                                         UNOFFICIAL COPY     187




     debriefing him on those meetings.

           Q    Do you recall a senior staff meeting on the week of June

     9th, 2016?

           A    I don't.

           Q    So, if we can --

           A    I mean, I'm sure it -- I'm not saying it didn't happen.

     I just don't remember anything remarkable about it.

           Q    Yeah, no, that makes total sense.

           So if we can, let's go to Volume I, page 115.      I think that's

     the passage where Mr. Eisen read you previously.       And so it just

     discusses the meeting that day.     And I just wanted to clarify, if

     we could just -- it says:     In the days before June 9, 2016, Trump,

     Jr., announced at a regular meeting of senior staff he had a lead

     on negative information about the Clinton Foundation.       Gates

     believed that Trump, Jr., said the information was coming from a

     group in Kyrgyzstan and that he was introduced to the group by a

     friend.   Gates recalled that the same meeting was attended by

     Trump, Jr.; Eric Trump; Paul Manafort; Hope Hicks; and, joining

     late, Ivanka Trump and Jared Kushner.       According to Gates,

     Manafort warned the group that the meeting likely would not yield

     vital information and they should be careful.

           Mr. Philbin.    Is this the same --

           Ms. Istel.     Yeah, it's the same one we just went over before.

           Mr. Philbin.    Hicks denied any knowledge of the June 9th

     meeting before 2019.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 189 of 274
                                                        UNOFFICIAL COPY   188




           Ms. Istel.    Yes.

           So just a quick followup, which is just, did you tell the

     President about that meeting, Mr. Trump, at the time?

           Ms. Hicks.    I don't remember the meeting taking place.

           Ms. Istel.    Okay.

           So I think we're going to pivot to the transition.

           Sorry.   I'm just going to ask my colleagues if they have

     other questions before we continue.

           I'm going to yield back to Mr. Eisen.

                  BY MR. EISEN:

           Q     Okay.   We were on the Mueller report, Volume II, back in

     exhibit No. 14.     And I'm going to direct you now to page 21 and

     the page after that, which is page 23, for some questions about

     the transition, Ms. Hicks.

           Do you recall the President -- and I don't want you to

     divulge any information.     I'm just asking you a yes-or-no

     question.    Do you recall that the intelligence community publicly

     released an assessment with respect to the Russian attack on the

     elections during the transition?     Do you remember a public IC

     assessment being released on that subject?

           A     Yes, sir.

           Q     And over on page 23, do you remember discussing that

     public IC assessment with President Trump?

           Mr. Trout.    President-elect Trump or President Trump?

           Mr. Eisen.    President-elect Trump.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 190 of 274
                                                            UNOFFICIAL COPY   189




             Ms. Hicks.     Yes.

             Mr. Eisen.     Tell me about that conversation.

             Mr. Philbin.     Objection.    If you're going to be asking

     broadly about what the President-elect thought or had to say about

     an intelligence community assessment, even if it later became

     public, it was communication from the intelligence community to

     the President-elect prior to taking office.

             So, if you want to narrow your question, we can see if we

     have objections.

             Mr. Eisen.     Did the President tell you that he viewed the

     intelligence community assessment as his Achilles' heel because,

     even if Russia had no impact on the election, people would think

     Russia helped him win, taking away from what he accomplished?

             Ms. Hicks.     He did not say that to me.

             Mr. Eisen.     Did he say that in some form of words, not those

     exact words, but some form of words?

             Mr. Philbin.     Mr. Trout, you might want to have the witness

     read that paragraph.          He's asking questions about that paragraph.

             Mr. Eisen.     Perfectly fine for the witness to read the

     paragraph.

             The question is, do you recall that the President-elect

     viewed the intelligence community assessment as his Achilles'

     heel?

             Ms. Hicks.     I think the following statement is most accurate,

     that the President thought the Russia story was developed to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 191 of 274
                                                        UNOFFICIAL COPY    190




     undermine the legitimacy of his election.

           Mr. Eisen.    And, at this time, did you agree with that?

           Ms. Hicks.    I think --

           Mr. Trout.    Let's confer.

           [Discussion off the record.]

           Ms. Hicks.    Sorry about that.

           So I think that to say that it was developed as a means to

     undermine the legitimacy of his election is not accurate.        But to

     say that the assessment of the intelligence community, which I

     already testified I agree with -- I feel that it has been

     weaponized by certain people with an agenda for the purpose of

     trying to undermine his legitimacy.

                 BY MR. EISEN:

           Q    At this time during the transition, did the President

     accept the IC's assessment?

           A    I think that the President has been consistent in his

     private and public statements regarding his thoughts on the

     assessment of the intelligence community on this topic.

           Q    So his private -- he expressed the same doubts privately

     that he has publicly?

           A    Yes.    And I think, primarily, at that time, his

     hesitation was, as he has stated, that this assessment was being

     made by the previous administration officials.      And once his

     officials were in place, he had greater confidence in their

     assessments.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 192 of 274
                                                        UNOFFICIAL COPY   191




           Q    Have you discussed this matter with the President since

     leaving the White House?

           A    I have not, no.

           Q    Did you discuss this matter with the President -- the

     intelligence community assessment, did you discuss it with the

     President while you were a White House official?

           Mr. Purpura.     Objection.

           Mr. Eisen.     Will you answer any questions at all on the

     subject matter of the IC's views about the Russian attack on the

     2016 election based on your time in the White House?

           Mr. Purpura.     We would object.

                  BY MR. EISEN:

           Q    Okay.   Who was Michael Flynn?

           A    Michael Flynn was somebody that supported Mr. Trump.      He

     was at one point in time considered a possible Vice Presidential

     candidate.    And he became somebody who frequently traveled with

     the candidate and introduced him at rallies.

           Q    And are you aware that President Obama made comments

     about Mr. Flynn to the --

           A    Yes.

           Q    -- the President-elect?

           A    Yes.

           Q    And how did the President-elect receive those comments?

           Mr. Purpura.     You can answer.

           Ms. Hicks.     I think he was a bit bewildered that, you know,
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 193 of 274
                                                            UNOFFICIAL COPY   192




     of all the things that the two of them could have been discussing,

     that that was something that came up.

             Mr. Eisen.     And did you feel that President Obama's comments

     sat with the President-elect more than you expected?

             Ms. Hicks.     I did, yes.

             Mr. Eisen.     Can you -- go ahead.   Sorry.   I cut you off.

             Ms. Hicks.     That's okay.   I feel like it maybe tainted his

     view of General Flynn just a little bit.

             Mr. Eisen.     Did there come a time when the President formed

     the opinion -- during the transition; I'm asking now about the

     transition -- that Flynn had bad judgment?

             Mr. Philbin.     Could you give us a moment there?

             [Discussion off the record.]

             Mr. Eisen.     Can you read the question back, please?

             Okay.   I've asked the court reporter to read the question

     back.

             [The reporter read back the record as requested.]

             Ms. Hicks.     Yes.

             Mr. Eisen.     Tell me about that.

             Ms. Hicks.     I don't think this was an overall

     characterization.       I think that this was something where he felt

     like there were a few things that maybe caused him to think that

     he was capable of being a person who exercised bad judgment.

             Mr. Eisen.     What were those things?

             Mr. Philbin.     I'm sorry.   Can I again suggest that, since the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 194 of 274
                                                        UNOFFICIAL COPY   193




     question seemed to be based on footnote 155, page 32, Ms. Hicks

     have a chance to review that footnote?

             Ms. Hicks.   Yeah.   I mean, primarily the comment by President

     Obama and the incident with General Flynn's son concerning a fake

     news story and some of the tweets that were posted surrounding

     that.

                  BY MR. EISEN:

             Q   Posted by?

             A   I believe they were posted by his son, and then it led

     to reporters also looking back at tweets that General Flynn had

     posted.

             Q   Do you recall David Ignatius writing a column about a

     Michael Flynn phone conversation with the Russian Ambassador

     during the transition?

             A   Yes.

             Q   And what do you remember about that?

             A   I don't remember much about the substance of the column,

     to be honest, but I remember several email exchanges between the

     National Security Advisor, General Flynn at the time, and some of

     his national security staffers, a desire to perhaps have David

     Ignatius clarify some things in that column, and a failure to do

     so.

             Q   Were you involved in the clarification efforts?

             A   I was on the email thread, so I was following the

     discussion that ensued, but I was not involved in any kind of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 195 of 274
                                                          UNOFFICIAL COPY   194




     message development or outreach to Mr. Ignatius.

           Q     Did you have any advance knowledge of a phone call

     between Mr. Flynn and the Russian Ambassador that was the subject

     of this Ignatius reporting?

           A     I believe I was aware of it the day that it took place.

     I don't know if it was before or after.        But I recall being at

     Mar-a-Lago, and Flynn, I think -- sorry.        Off the record.

           [Discussion off the record.]

           Ms. Hicks.     I think it was afterwards.    Perhaps even several

     days afterwards.

           Mr. Eisen.     When did you first learn that there was an issue

     about -- if you learned -- actually, let me rephrase that

     question.    Did Mr. Flynn talk to you after the column was

     published about the column?

           Mr. Philbin.     And we're still asking --

           Mr. Eisen.     We're asking transition.    We're about to come to

     the post-transition period.

           Ms. Hicks.     I don't recall any direct conversations with him,

     only the email thread that I described.

           Mr. Eisen.     During the transition, did you develop any

     additional information about the truth or falsity of anything in

     the Ignatius column?

           Ms. Hicks.     Not to my recollection.

           Mr. Eisen.     What about after the transition?

           Mr. Philbin.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 196 of 274
                                                        UNOFFICIAL COPY   195




           Mr. Purpura.   Objection.

                  BY MR. EISEN:

           Q    Okay.   When did you first become aware of the "Access

     Hollywood" tape?

           A    About an hour before it was made public.

           Q    And what was your reaction to it?

           A    Honestly, my reaction was, it was a Friday afternoon,

     and I was hoping to get home to see my family for the first time

     in a few months, and that wasn't happening.

           Q    Did you have any other reactions?

           A    Look, I obviously knew that it was going to be a

     challenge from a communications standpoint.

           Q    Did you discuss it with Mr. Trump?

           A    I did, yes.

           Q    Tell me about those discussions, please.

           A    I made him aware of the email I received from The

     Washington Post which described the tape.      And I don't know if the

     initial email did this, but certainly one of the subsequent emails

     and exchange provided a transcript of the tape.      So, described

     those different components to Mr. Trump and tried to evaluate the

     situation.

           Q    And how did he react to that?

           A    You know, he wanted to be certain, before we engaged,

     that it was legitimate.      And I think we all felt it was important

     that we request to see the actual tape or listen to the audio
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 197 of 274
                                                         UNOFFICIAL COPY   196




     before responding.

             Q   Was he upset?

             A   Yes.    I think everybody was in, like, a little bit of

     shock.

             Q   And did he ask you how -- did he seek your advice on how

     to respond?

             A   Yes.    There were quite a few of us, so it was very much

     a group discussion, given that this unfolded at a debate-prep

     session.

             Q   And do you remember who else you discussed the tape

     with?

             A   Who else was present there?

             Q   Yeah, at that time.

             A   Sure.   Reince Priebus, Chris Christie, Jeff Sessions,

     Stephen Miller, Jason Miller, Steve Bannon, David Bossie,

     Kellyanne Conway.      Later, Jared Kushner.   I think that's it.

             Q   Do you recall reaching out to Michael Cohen about the

     tape?

             A   My recollection of reaching out to Michael took place

     the following day.      And it wasn't about the tape; it was

     about -- this is going to get confusing, but the day after the

     tape, there were rumors going around -- I'm not sure exactly

     where -- I heard it from our campaign spokesperson, Katrina

     Pierson, who was sort of like a -- she had a lot of contacts,

     grassroots.    And she had called to tell me that -- or maybe sent
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 198 of 274
                                                        UNOFFICIAL COPY   197




     me a message about rumors of a tape involving Mr. Trump in Moscow

     with, you know -- can I say this?

           [Discussion off the record.]

           Ms. Hicks.   -- with Russian hookers, participating in some

     lewd activities.

           And so, obviously, I didn't -- I felt this was exactly how it

     had been described to me, which was a rumor.      Nonetheless, I

     wanted to make sure that I stayed on top of it before it developed

     any further, to try to contain it from spiraling out of control.

           And the person that made me aware of the rumor said that TMZ

     might be the person that has access to this tape.      I knew Michael

     Cohen had a good relationship with Harvey Levin, who works at TMZ.

     So I reached out to Michael to ask if he had heard of anything

     like this; if Harvey contacted him, if he could be in touch with

     me.

                 BY MR. EISEN:

           Q    And do you recall anything happening in connection with

     WikiLeaks at this time?

           A    Yes.

           Q    And what happened in that connection, Ms. Hicks?

           A    I believe the same day that the tape was released,

     WikiLeaks also released emails from John Podesta's account.

           Q    Do you have any information about how those came to be

     released at that time?

           A    No.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 199 of 274
                                                        UNOFFICIAL COPY    198




           Q     Okay.   And any other reason you reached Mr. Cohen

     besides the Harvey Levin connection?

           A     No.    I know what Michael said in his testimony about

     reaching out to him to help, quote, spin reporters.       Number one, I

     wouldn't reach out to Michael for help spinning reporters at that

     point in time.      And, number two, you know, there was really no

     spinning that tape.

           Q     Did there come a point at which you learned during the

     transition about the press reporting on hush-money payments?

           A     During the transition?

           Q     I'm asking during the campaign and transition.

           A     No.

           Q     Okay.

           Do you remember a Wall Street Journal article from November

     4th, 2016?

           A     Yes.

           Q     What do you remember about that?

           A     Like we already discussed, I remember receiving a

     request from The Wall Street Journal asking if candidate Trump had

     a relationship with a woman named Karen McDougal.      I forget the

     exact phrasing of the email, but obviously it led me to American

     Media, where David Pecker said that they were responding to the

     story and that their response was going to indicate that they had

     a relationship with Ms. McDougal, who had done work for them in

     the past.    They had a contract with her to provide content.     I
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 200 of 274
                                                         UNOFFICIAL COPY    199




     believe it was, you know, fitness and nutrition-related content.

     And that was the extent of their response.

             Q     Did Mr. Cohen, to your knowledge, have a relationship

     with AMI or any --

             A     He did, yes.

             Q     -- of its personnel?

             A     Yes.

             Q     And what was the basis -- or what was that relationship?

             A     I don't know.   I never witnessed the relationship

     firsthand.      I don't know if it was professional or personal or

     both.       I don't know.

             Q     How did you become aware of it?

             A     I don't know exactly.

             Q     Okay.   I'm going to come back over to the Mueller

     report.      That's exhibit No. 14.   And I'm going to ask a series of

     questions.      We're just going to go through.

             I'm now going to take you to -- and I'm going to go in order

     through the report, for the sake of moving as briskly as we can.

     I'm going to take you to page number 44 of Volume II.

             Do you recall -- this is note number 268.    Do you know who

     Jim Comey is?

             A     Yes.

             Q     Do you recall the President telling you that he had

     never asked Jim Comey to stay behind in his office?

             Mr. Purpura.    Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 201 of 274
                                                        UNOFFICIAL COPY    200




           Mr. Eisen.     Okay.

           The White House objects on the basis of absolute immunity.

     Will you follow that instruction?

           Ms. Hicks.     I will.

           Mr. Eisen.     Refuse to answer?

           Ms. Hicks.     I will.

           Mr. Eisen.     Will you answer any questions at all about the

     subject matter set forth in note 268 of page 44?

           Mr. Purpura.     We would object to that subject matter.

           Mr. Eisen.     Would you answer any questions designed to

     establish the predicate for the absolute immunity, such as who was

     present, where the conversation happened, the purpose of the

     conversation, or any other predicate questions?

           Mr. Purpura.     We would object to all those questions.

           Mr. Eisen.     Are you asserting any other privilege as to my

     question?

           Mr. Philbin.     Not at this time from the White House.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 202 of 274
                                                         UNOFFICIAL COPY    201




     [3:06 p.m.]

           Mr. Eisen.     On to page 47.   Now I'm going to ask a series of

     questions about Mr. Flynn within the White House.

           Are you willing to answer any questions about the President

     becoming unhappy with Mr. Flynn before he was forced to resign?

     Now I'm asking about the White House period.

           Mr. Purpura.     And we object.

           Mr. Eisen.     And the answers to questions about establishing

     the predicate and other privileges would be the same.       We'll just

     stipulate that going forward.

           Mr. Philbin.     Let me clarify.   I mean, the absolute immunity

     applies to a senior adviser to the President, given the senior

     adviser role in proximity to the President overall.       So the

     premise of the question seems to be that we would have to pick

     apart each incident as to whether the immunity applies to that

     incident.   We disagree with that premise.     It applies to the

     senior adviser in the role, in connection with service and

     discharge of their duties as senior adviser to the President.

           Mr. Eisen.     Understood.   That's the White House's view.     We

     take a different view in the committee.

           My question is, other than the assertion of absolute

     immunity, are you willing to ask -- to answer any questions about

     the subject matter of Mr. Flynn, the President's views towards

     Mr. Flynn, starting with the January 20th, 2017?

           Mr. Purpura.     Object -- we would object.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 203 of 274
                                                            UNOFFICIAL COPY   202




             Mr. Eisen.     Okay.   Do you recall that after Attorney General

     Sessions recused himself, the President became angry and scolded

     the Attorney General in your presence?

             Mr. Purpura.     Objection.

             Mr. Eisen.     Okay.   Same basis?

             Mr. Purpura.     The basis is immunity, yes.

             Mr. Eisen.     Asserting any privileges in that regard beyond

     absolute immunity at this time?

             Mr. Purpura.     Not at this time.

             Mr. Eisen.     And will you answer the question?

             Ms. Hicks.     I will not, no.

             Mr. Eisen.     Okay.   On to page 59, which we alluded to

     earlier.    Have it here in exhibit 14 as well.

             Do you recall telling the President after an interview that

     his comment about Mr. Comey should be removed from the broadcast

     of that interview, but the President wanted to keep it in, which

     you thought was unusual?        Will you answer any questions about

     that?

             Mr. Purpura.     Objection.

             Mr. Eisen.     Do you recall the President telling his

     communication team that he was unhappy with the press coverage of

     Comey's termination and ordering them to go out and defend him?

             Mr. Purpura.     Objection.

             Mr. Eisen.     Will you answer any questions on that subject

     matter or on the subject matter set forth in the preceding pages
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 204 of 274
                                                         UNOFFICIAL COPY     203




     of the Mueller report, Volume II?

           Mr. Purpura.     Well, I guess, sort of to clarify,

     you -- couple things run together.       If the subject matter is the

     President's reaction and direction to the press team as to the

     firing of Director Comey, we would provide -- we would have the

     same objection.

           Mr. Eisen.     Let's specify what the subject matters are:      the

     Sessions recusal; the President's reaction to the Sessions

     recusal; the subject of Jim Comey post-January 20; the President's

     firing of Jim Comey; press coverage of that; all of those subject

     matters that are covered in the Mueller report, Volume II.

           Would you object to Ms. Hicks answering questions on those

     subject matters based on absolute immunity?

           Mr. Purpura.     Yes.

           Mr. Eisen.     Okay.    Also in connection with the firing of Mr.

     Comey, there are a series of statements, Ms. Hicks, on page 71 of

     Volume II.

           If it's easier, exhibit 14 has the relevant portions

     highlighted.

           Ms. Hicks.     I'm just going to move this, because I know I'm

     going to spill it.     Sorry.    Take that off the record.

           Mr. Eisen.     Okay.    Would you answer any questions about the

     President's reactions to reports on his meeting with Mr. Lavrov

     regarding Mr. Comey?

           Mr. Purpura.     Objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 205 of 274
                                                        UNOFFICIAL COPY   204




           Mr. Eisen.     Any questions at all regarding the Comey firing?

           Mr. Purpura.     Objection.

           Mr. Eisen.     Okay.

           Now we'll pivot to the subject of the special counsel's

     appointment and the President's reaction to that.

           Would you answer any questions on that subject?

           Mr. Purpura.     Objection.

           Mr. Eisen.     You told the special counsel that you saw the

     President shortly after Sessions departed and described the

     President as being extremely upset by the special counsel's

     appointment and that you had only seen the President like that one

     other time, when the "Access Hollywood" tape came out during the

     campaign.

           Will you answer any questions about that?

           Mr. Purpura.     We would object.

           Mr. Eisen.     Any questions at all about your special counsel

     interviews?

           Mr. Purpura.     We would object.

           Mr. Eisen.     Do you remember the President on his flight from

     Saudi Arabia to Tel Aviv removing Sessions' resignation letter

     from his pocket and showing it to a group of senior advisers and

     asking them what he should do about it?

           Mr. Purpura.     Objection.

           Mr. Eisen.     Will you answer any questions about that subject

     matter?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 206 of 274
                                                          UNOFFICIAL COPY     205




           Mr. Purpura.     We would object to those questions.

           Mr. Eisen.     The chairman asked you a series of questions this

     morning about some notes that Mr. Lewandowski told the special

     counsel he asked you to type when he went into the Oval Office in

     a discussion, again, relating to Mr. Sessions and that he

     retrieved the notes from you part way through his meeting.        This

     is on page 93 of the special counsel's report, note 625.

           Would you answer any questions about that subject matter?

           Mr. Purpura.     We would object.

           Mr. Eisen.     On page 94, exhibit 14 has some portions

     highlighted relating to your conversations with Mr. Lewandowski

     about the New York Times interview and about firing Sessions.

     Will you answer any questions about that?

           Mr. Purpura.     There will be an objection.

           Mr. Eisen.     To all related subject matter?

           Mr. Purpura.     Yes.

           Mr. Eisen.     Do you remember ever discussing a recess

     appointment of a replacement for Mr. Sessions with the President?

           Mr. Purpura.     Objection.

           Mr. Eisen.     And that is Volume II, page 94, note 636.

           Okay.   Will you answer any questions relating to your time at

     the White House or your conversations with the office of the

     special counsel about the campaign arranging a meeting between

     Donald Trump, Jr., Paul Manafort, Jared Kushner, and a Russian

     attorney?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 207 of 274
                                                        UNOFFICIAL COPY     206




           This is the -- sometimes referred to as the Trump Tower

     meeting.   But now I'm asking her knowledge during the White House

     period.

           Mr. Purpura.     Objection.

           Mr. Eisen.     Have you had any conversations about that

     subject, the Trump Tower meeting, post your White House service

     with anyone at all, other than your lawyers?

           Ms. Hicks.     Not to my recollection.   Not to my recollection.

           Mr. Eisen.     Okay.   Will you answer any questions about the

     subject matter of the Trump Tower meeting on June 9th, 2016, with

     respect to information you learned or actions you took while you

     were a White House employee?

           Mr. Purpura.     Objection.

           Mr. Eisen.     On page 100 through 103 of the Mueller report

     there is a discussion of direction by the President to his

     communications staff not to publicly disclose information about

     the June 9th meeting and the response to press -- the President

     directing Donald Trump, Jr.'s response to press inquiries about

     the June 9th meeting and related matters.

           Will you answer any questions about the special counsel's

     statements on page 100 to page 103?

           Mr. Purpura.     There would be an objection.

           Mr. Eisen.     Will you answer any questions relating to that

     subject matter at all?

           Mr. Purpura.     There will also be an objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 208 of 274
                                                            UNOFFICIAL COPY   207




             Mr. Eisen.     Okay.   Moving to -- do you remember telling

     Mr. Corallo that certain materials will never get out?

             Mr. Purpura.     Objection.

             Mr. Eisen.     Okay.   We're going to pause.   Ms. Dean has joined

     us from the votes as other members are coming and have questions.

             Ms. Dean.    Thank you, Counsel.

             Good afternoon.

             Ms. Hicks.     Hi.

             Ms. Dean.    I know it's been a long day for you, and I

     apologize.    If I ask something that will wind up being a slight

     repeat of what you have been asked, we also were in hearings on

     reparations, important hearings on reparations.         So I apologize

     for my running between these two important meetings.

             Ms. Hicks.     I totally understand.   And this is one of many

     repetitions over the last several years.        So go ahead.

             Ms. Dean.    And you know something about a crazy schedule like

     that?

             Ms. Hicks.     Yes, ma'am.

             Ms. Dean.    I wanted to ask you about the time of transition

     and immediately after the election.        And what was your role at

     that time?

             Ms. Hicks.     My title was press secretary, and my role was

     very similar to my role on the campaign.        I served as sort of a

     liaison between the different leadership positions and the

     different components that go into preparing the President-elect to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 209 of 274
                                                         UNOFFICIAL COPY     208




     take office, and maintaining a public presence at that time, and

     starting to execute his agenda, as well as communicating with the

     media.

           Ms. Dean.    Terrific.    And during the transition, who was

     principally responsible for messaging in response to the

     allegations of Russian interference?

           Ms. Hicks.    There were several people involved.     Mr. Trump

     was involved directly and Jason Miller --

           Ms. Dean.    Jason -- go ahead.

           Ms. Hicks.    Sorry.     I was just waiting for the door to close.

           Ms. Dean.    Oh, thank you.

           Ms. Hicks.    Stephen Miller, myself, Steve Bannon, Kellyanne

     Conway, Sean Spicer, to name a few.

           Ms. Dean.    And so in your role on that front, during the

     transition, did you discuss with the President-elect how to

     message about Russia's interference with our election?

           Ms. Hicks.    Yes.

           Ms. Dean.    And could you tell us about that conversation?

     This was during transition.

           Ms. Hicks.    Yes.

           Ms. Dean.    Could you tell us about that?

           Ms. Hicks.    I believe the response that he put out, the

     statement, was something to the effect of, you know, that these

     are the same intelligence agencies that determined Saddam Hussein

     had weapons of mass destruction, perhaps [inaudible].
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 210 of 274
                                                           UNOFFICIAL COPY    209




             The Reporter.    I'm sorry.    The audio has gone out.

             Ms. Hicks.    -- an approach would be the best.

             [Discussion off the record.]

             Ms. Hicks.    I guess that's it.

             Ms. Dean.    So in response to that, the President -- rather

     than talking about Russian interference with the 2016 election, he

     made the comparison to a falsehood of the past?         That's what he

     said?

             Ms. Hicks.    I don't believe that's a falsehood.     But yes,

     that's what he said.

             Ms. Dean.    Okay.    Was he concerned?   Did he express concern

     to you about the Russians' interference with our 2016 elections?

             Ms. Hicks.    I think he was concerned, but I think he was

     simultaneously concerned that folks with a political agenda, were

     going to weaponize that assessment to try to undermine the

     legitimacy of this election.

             Ms. Dean.    And two days after the President was elected, what

     was your statement to the press about the Trump campaign and any

     kind of meetings or contacts with Russia during the campaign?

             Ms. Hicks.    Sure.    So -- yeah, I was responding to a

     statement made by a Russian official.        I believe his statement is

     not verbatim, but it was something to the effect of we were in

     constant communication or constant contact with members of Trump's

     inner circle throughout the campaign.

             You know, to my knowledge, that was not true.       That had not
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 211 of 274
                                                        UNOFFICIAL COPY   210




     been my experience.     I think I missed a total of 4 days throughout

     the entire primary and general election season, if you will,

     cycle.    It was an overbroad answer that obviously didn't account

     for other communications with foreign officials from places like

     Mexico, where we took a very -- campaign-affiliated trip;

     Scotland; meetings with Prime Minister Netanyahu during U.N.

     General Assembly week.

           So it was an overbroad answer, but, you know, even to this

     day, knowing some of the contact that members of Mr. Trump's inner

     circle had with Russian officials, I don't believe that that

     characterization made by that diplomat or whoever that was

     speaking was accurate.      It seems like one of those

     situations -- maybe -- I'm sure everyone has had one of these

     before, where those interactions meant a lot more to them than it

     did to us.   These were handshakes at events and things of that

     nature.

           Mr. Philbin.     And just to clarify the record, Ms. Hicks, when

     you referred to members of Mr. Trump's inner circle, you were

     making air quotes with your hands, were you not?

           Ms. Hicks.     Yes.

           Mr. Philbin.     Could you explain what that means, because --

           Ms. Hicks.     I guess everyone has a varying definition of who

     would be considered part of the inner circle, but I would consider

     that to be people that regularly traveled with the candidate, had

     decisionmaking roles, things like that.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 212 of 274
                                                          UNOFFICIAL COPY   211




           Mr. Philbin.     And it was your point that those people were

     not part of the inner circle?     Is that what the air quotes were?

           Ms. Hicks.     My point is that I'm not aware of anybody that

     regularly interacted with Mr. Trump that was a decisionmaker that

     advised him on a frequent basis that had, quote, regular contacts

     with any Russian officials.     I wasn't aware of any contacts with

     Russian officials until some of this has been made publicly

     available, so --

           Ms. Dean.    And that's my next area of questions.

           You, as you just described, you were an important part of the

     campaign for all but 4 days.     And in your experience, what, if

     any, contacts did anybody on the campaign have with Russians,

     Russian officials, nonofficials?     What, if any?

           Ms. Hicks.     Are you asking about my knowledge of it during

     the campaign or now after the fact?

           Ms. Dean.    Let's start with during the campaign.

           Ms. Hicks.     During the campaign, I wasn't aware of any -- of

     any contact, but I also wouldn't describe something -- like an

     email I received with an interview with a Russian outlet to be

     contact with Russian officials.     It's a totally insignificant,

     random --

           Ms. Dean.    My question was broader than that.

           Any Russians or Russian officials?     So there were emails?

           Ms. Hicks.     Again, I understand what you're asking.     I

     just -- I don't feel as though the interactions that I learned of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 213 of 274
                                                        UNOFFICIAL COPY    212




     later, as it pertains to key members of the campaign, were

     substantive.

            Ms. Dean.    I'm really unclear what that means.   So there were

     meetings, there were interactions, there was some engagement,

     whether it was by email or phone or in person.      But you decided

     they're not substantive, therefore, they didn't happen?

            Mr. Trout.    Objection, I think that mischaracterizes --

            Ms. Hicks.    That is not what I said at all.

            If you want to repeat your question so we can get on the same

     page, that might be best.

            Ms. Dean.    What, if any, communications, contact, was there

     between the Trump campaign and Russians or Russian officials?

            Ms. Hicks.    Like I said, during the campaign, I wasn't aware

     of any contacts.     That is why I answered the question the way I

     did.   Later, having learned about some of the contacts that have

     been described in media reports, like Jeff Sessions meeting

     Ambassador Kislyak at a foreign policy speech event, I think that

     I would still characterize the answer I gave in response to a

     question about, quote, constant contact with members of Trump's

     inner circle.

            Ms. Dean.    I didn't ask you about constant contacts.    I asked

     you what, if any, contact.

            Ms. Hicks.    I'm answering the question as best as I can.     I

     wasn't aware of any during the campaign.      And the contact I'm

     aware of now is irrelevant to me.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 214 of 274
                                                        UNOFFICIAL COPY   213




           Ms. Dean.    But to be honest, you immediately cited at least

     one example of email contact that you had from Russia -- from

     Russians.

           So what other contacts were there like that that you're

     dismissing from my question, but I'm just interested in --

           Ms. Hicks.    I'm not dismissing it.    I just -- it's

     irrelevant.    It was an email that I received from --

           Ms. Dean.    Maybe we get to decide what is relevant in our

     oversight.

           So the question is factual; it's not -- it's not your opinion

     based.   It is what, if any, contacts.

           Mr. Trout.    Objection.    Ms. Hicks has answered the question

     and --

           Ms. Hicks.    And everything that goes on in this committee is

     factual and not opinion-based?

           Ms. Dean.    We're trying to get facts.   That's what I know my

     ambition is.

           Ms. Hicks.    That is not the purpose of today's hearing or

     anything that has gone on concerning this committee's work

     and -- and this investigation --

           Ms. Dean.    Again, this is --

           Ms. Hicks.    -- from my perspective.

           Ms. Dean.    I know that.

           Ms. Hicks.    So if you all wanted to get facts, you know, I

     would say that those are available in this report, of which most
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 215 of 274
                                                          UNOFFICIAL COPY     214




     of this session has consisted of repeating, which I'm happy to do.

     We can do a reading of that.        But if you want facts, I think I'm

     trying to answer your question.        I'm telling you I wasn't aware in

     the campaign of any contacts with Russian officials after the

     fact.

             Ms. Dean.    I didn't ask you just about just Russian

     officials.    Ms. Hicks, I'm really asking you, just stick with the

     parameters of my question, not your opinion as to what we're doing

     here.

             Ms. Hicks.    Okay.   I -- let me try this again.

             During the campaign, I was not aware of any contacts with

     Russian individuals or Russian officials.

             Ms. Dean.    Your one testimony to the contrary.    You vetted

     emails from possible Russia outlets.

             Ms. Hicks.    I learned of that after the fact.     I wasn't aware

     when I was communicating with that person or receiving their email

     request that this was an individual from Russia.

             Ms. Dean.    And you were the press secretary?

             Ms. Hicks.    Yes, ma'am.

             Ms. Dean.    Usually the press secretary would find out what

     outlet this is contacting us.        Am I correct?

             Ms. Hicks.    I was the only press staffer for the Donald Trump

     campaign.    So I received hundreds of press requests in a day.        And

     we weren't participating in interviews, so it was not relevant to

     me who the outlet was.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 216 of 274
                                                        UNOFFICIAL COPY    215




           Ms. Dean.    I have empathy for how you must have been swamped.

     That was a very busy campaign.

           Ms. Hicks.     I'm not asking for empathy.   I'm just asking for

     you to understand the context.

           Ms. Dean.    So to your question, you said I was asking you

     about then.   Now, what do you know to be the truth as to the

     number of contacts -- what, if any, contacts between the campaign

     that you were press secretary for and Russia or Russia -- Russian

     officials, that you know now?

           Mr. Philbin.     If you're asking about material that she

     learned in her role as a senior adviser to the President while at

     the White House, we'll object.

           Ms. Dean.    I understand that objection.

           How about outside of that?    Because you are now a private

     citizen.   You're outside of that role.

           What do you now understand to have been the extent of

     contacts between the campaign that you were press secretary for

     and Russia?

           Ms. Hicks.     I don't -- I don't have a -- I couldn't repeat

     back to you all of the contacts that are described in the Mueller

     report, if that's what you're asking.

           Ms. Dean.    So you had a chance to read Volume I?

           Ms. Hicks.     I have not read the entirety of the report.

           Ms. Dean.    What extent do you now know of the context between

     the campaign and Russia?     Could you summarize maybe or guesstimate
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 217 of 274
                                                        UNOFFICIAL COPY        216




     the number?    Are we talking dozens or are we talking 50?       Are we

     talking 100?    Are we talking more?

           Ms. Hicks.    I think someone mentioned upwards of 100 earlier

     today.   I don't know if that's accurate or if that's an accurate

     recollection.

           Ms. Dean.    Are you surprised to learn that?

           Ms. Hicks.    Yes, very surprised.

           Ms. Dean.    Why?

           Ms. Hicks.    Because I, like I said, wasn't aware of any

     contacts during my time on the campaign.

           Ms. Dean.    And when you made the statement to the

     press -- this will be my final question so other people can get to

     the things that they're interested in learning about.

           But when you made the statement to the press that there were

     no contacts between the Trump campaign and Russia -- I'm

     paraphrasing a little -- I appreciate that it's November the 8th

     of election year.    Did you have a conversation with the President

     before or after that statement?

           Ms. Hicks.    I did not speak to him before.    I spoke to others

     on the campaign, other senior officials.

           Ms. Dean.    And what was their guidance in terms of making

     that answer?

           Ms. Hicks.    That there were no contacts.

           Ms. Dean.    And who was it who told you there were no

     contacts?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 218 of 274
                                                        UNOFFICIAL COPY     217




           Ms. Hicks.    I believe I spoke to several people.       Jason

     Miller, Jared Kushner.    I believe Jason Miller may have reached

     out to Kellyanne Conway and Steve Bannon.

           Ms. Dean.    How about Donald Trump, Jr.?

           Ms. Hicks.    I did not seek his guidance before responding to

     that question.

           Ms. Dean.    And my final question is, what did the

     President -- you said you did not talk to the President before the

     statement.    What was your conversation with the President-elect

     after that statement?

           Ms. Hicks.    I don't recall any specific conversations.

           Ms. Dean.    You and he in transition did not talk about your

     statements to the press regarding Russia?

           Ms. Hicks.    I'm sure there were conversations.    I just don't

     recall anything specific that I could relay to you.

           Ms. Dean.    Thank you.

           Ms. Mucarsel-Powell.      Ms. Hicks, my name is Debbie

     Mucarsel-Powell, and I represent Florida's 26th District.

           Thank you for coming.      I really do commend you for coming

     here today.   I know it's a very difficult situation to be in, you

     know, having the Judiciary Committee questioning you.       So I'm

     grateful that you decided to come in and testify.      And I apologize

     if we've heard this before, but we've been in and out, so I just

     want to regroup a little bit.

           You were hired by the campaign when exactly?      What was the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 219 of 274
                                                         UNOFFICIAL COPY    218




     date?

             Ms. Hicks.   I started working -- well, the campaign didn't

     exist until later in the spring.       But I started working on

     campaign-related events in January of 2015.

             Ms. Mucarsel-Powell.   And when you started working for the

     campaign, what was -- did you have a title?       What were your job

     responsibilities?     What was asked of you?

             Ms. Hicks.   I was the press secretary and primarily consisted

     of coordinating media opportunities at speaking engagements.

     There were a lot of summits that Mr. Trump attended as a

     prospective candidate and then as a candidate, as well as, you

     know, days spent in New Hampshire, Iowa, South Carolina, and media

     opportunities associated with those trips.

             Ms. Mucarsel-Powell.   And you reported to the President,

     President Trump, from the very beginning?

             Ms. Hicks.   I did, yes.

             Ms. Mucarsel-Powell.   And were you with him, you say, on a

     daily basis, communicating with him personally on the part of the

     senior team advising him on the campaign?

             Ms. Hicks.   Yes, ma'am.

             Ms. Mucarsel-Powell.   Who in the campaign was responsible for

     the messaging strategy?

             Ms. Hicks.   Primarily Mr. Trump.

             Ms. Mucarsel-Powell.   Okay.   What do you think was the

     message that was ultimately the winning message for the campaign?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 220 of 274
                                                        UNOFFICIAL COPY       219




           Ms. Hicks.     I think that he -- I think he gave people who

     lost faith a reason to keep fighting for what they believed in,

     and I think he offered change, because he was an outsider and he

     was going to come here and shake up the system.

           Ms. Mucarsel-Powell.     Were there any conversations that you

     were involved in that dealt with anti-immigration campaign

     messaging?

           [Discussion off the record.]

           Ms. Hicks.     I don't believe any of Mr. Trump's messaging is

     anti-immigrant.    I believe he's very pro-legal immigration.       I

     believe he's opposed to illegal immigration.      And I think he's

     made that distinction.

           Ms. Mucarsel-Powell.     Were there any points during the

     campaign that you thought he was saying things that were not

     appropriate or that you felt uncomfortable with?

           Ms. Hicks.     Yeah.   I don't know anybody that agrees 100

     percent with what their boss says and does.      I think that's a

     ridiculous standard.     So of course there are things.

           Ms. Mucarsel-Powell.     So the President has tweeted that

     nobody disobeys my orders.      Would you say that that's true?     Is

     that correct?

           Mr. Philbin.     To the extent that the question is relating to

     her time in the White House as a senior adviser to the President,

     I object to --

           Ms. Mucarsel-Powell.     It's a question of whether he
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 221 of 274
                                                        UNOFFICIAL COPY   220




     thinks -- that that's an accurate statement from the President.

     It's not when she was working, as today.      And I'm asking the

     question.

           Mr. Philbin.     But if it's based on knowledge, you're asking

     about what --

           Ms. Mucarsel-Powell.    I'm asking what she believes today.

           Mr. Philbin.     Based on knowledge being while at the White

     House.   To the extent you're asking about that, we object.

           Ms. Mucarsel-Powell.    So are you claiming privilege?

           Mr. Philbin.     We're claiming that she has an absolute

     immunity, as we've gone through many times already today, to be

     compelled to testify.

           Ms. Mucarsel-Powell.    On her opinion?

           Mr. Philbin.     To be compelled to testify about her time as a

     senior adviser from the President.     If you're asking about her

     opinions formed during her experience during that time, we object.

           Ms. Mucarsel-Powell.    Okay.   Thank you.

           If Mr. Trump asked you to do something that you felt was

     improper, would you have told him no during the campaign?

           Ms. Hicks.     I'm not going to speculate on that hypothetical.

     If you have a specific example.

           Ms. Mucarsel-Powell.    Have you ever told the President that

     you don't agree with him directly?

           Ms. Hicks.     Of course.

           Ms. Mucarsel-Powell.    When you were -- during the campaign?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 222 of 274
                                                          UNOFFICIAL COPY     221




           Ms. Hicks.     Of course.

           Ms. Mucarsel-Powell.    You did.     And what was the President's

     reaction at the time?

           Ms. Hicks.     The President is very willing to listen.     I think

     he likes dissenting voices.       I think he likes to hear many

     different perspectives.     Ultimately he does what he feels is best,

     but he's always willing to listen.        I always felt very respected

     in that regard.

           Ms. Mucarsel-Powell.    Can you give me an example of a time

     that you told him you didn't agree with him on something?

           Mr. Philbin.     On the campaign?

           Ms. Mucarsel-Powell.    Yeah, on the campaign.

           Ms. Hicks.     I can't think of anything right now, but

     certainly -- certainly many times, I'm certain, that --

           Ms. Mucarsel-Powell.    You can't recall one example of the

     many times during the campaign?

           Ms. Hicks.     You know, most of them related to things

     like -- certain messages, whether or not to pursue certain

     opportunities, whether or not to engage with certain individuals,

     whether they be opponents or, you know, reporters, journalists,

     those kinds of things.

           Ms. Mucarsel-Powell.    Okay.    Now, one question.   If the

     President-elect had asked you to do something that you felt was

     improper, would you have told him no during the transition?

           Ms. Hicks.     I'm not going to speculate on a hypothetical.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 223 of 274
                                                        UNOFFICIAL COPY     222




           Ms. Mucarsel-Powell.    Did you ever tell him that during the

     transition, if he was doing something that you felt was improper?

           Mr. Trout.   Objection.   She's answered that.    She's not going

     to speculate about --

           Ms. Mucarsel-Powell.    No, no.   It's not speculating.    I'm

     asking if she ever has told him no during the transition, if he

     was asking her to do something that was improper or if he was

     conducting himself in an improper manner.

           Mr. Trout.   Well, it assumes that he did ask her something

     that was improper.

           Ms. Istel.   She's asking if that's true, though, did he ever

     ask her to do something improper during the transition.

           Ms. Hicks.   Not that I recall.

           Ms. Mucarsel-Powell.    Did you ever see anybody during the

     campaign telling Mr. Trump no when he asked them to do something?

           Ms. Hicks.   Yes.

           Ms. Mucarsel-Powell.    Can you give me a specific example?

           Ms. Hicks.   I don't want to speak for others' experience.

     I've shared my experiences, and I'm good with that.

           Ms. Mucarsel-Powell.    Let me move on to your time -- your

     current employment.

           So what are you doing right now?     What is your current

     employment?

           Ms. Hicks.   The executive vice president and chief

     communications officer for the Fox Corporation.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 224 of 274
                                                          UNOFFICIAL COPY     223




            Ms. Mucarsel-Powell.     Okay.    And how did you get that job?

            Ms. Hicks.     I interviewed for that job with Lachlan Murdoch.

            Ms. Mucarsel-Powell.     Did you discuss the job with the

     President before taking it?

            Mr. Purpura.     Objection.

            Ms. Mucarsel-Powell.     This is after she resigned.

            Mr. Purpura.     Okay.   Thank you.

            Ms. Hicks.     I did discuss it with him after I'd been offered

     the position.

            Ms. Mucarsel-Powell.     And what was his -- what did he say to

     you?   What was his reaction?

            Ms. Hicks.     Congratulations.

            Ms. Mucarsel-Powell.     Anything else?

            Ms. Hicks.     No.   That was the nature of our conversation.     I

     was calling to let him know that I planned to accept the offer and

     that I was moving on to my next step.

            Ms. Mucarsel-Powell.     And did you list him as a reference?

            Ms. Hicks.     I don't believe I listed any references.

            Ms. Mucarsel-Powell.     They didn't ask for references when

     they interviewed you for the job?

            Ms. Hicks.     Not that I provided.    Obviously quite public,

     much to my chagrin, and I believe that most of the people that

     they spoke with were actually reporters, journalists, those types

     of people.

            Ms. Mucarsel-Powell.     And when you joined the Fox team, do
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 225 of 274
                                                         UNOFFICIAL COPY    224




     you recall issuing a statement supporting the First Step Act?

             Ms. Hicks.   The Fox Corporation did that, yes.

             Ms. Mucarsel-Powell.   And you were a part of the team that

     issued that statement?

             Ms. Hicks.   Yes.

             Ms. Mucarsel-Powell.   Okay.   And did you -- prior to doing

     that, did you discuss it with anybody from the Trump

     administration?

             Ms. Hicks.   Yes.

             Ms. Mucarsel-Powell.   And who was that person?

             Ms. Hicks.   Jared Kushner.

             Ms. Mucarsel-Powell.   Okay.   So -- because you knew that he

     supported -- publicly supported that act?

             Ms. Hicks.   That's not a question.   That's a statement.

             Ms. Mucarsel-Powell.   Did you know that Jared Kushner

     publicly supported that act?

             Ms. Hicks.   I knew that the Trump administration supported

     that.    Jared conveyed that to me.    But I also follow the news.

             Ms. Mucarsel-Powell.   And did he ask you to support it and to

     release a statement?

             Ms. Hicks.   Not me personally.   He asked if this would be

     something that Fox would be interested in supporting legislation.

     It's something Fox has done previously, offer their support to

     legislation.    At least that's my understanding.    I'm obviously

     new.    And it was something that our government relations team had
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 226 of 274
                                                        UNOFFICIAL COPY    225




     spoken to other Members of Congress about.      So that's how that

     unfolded.

           Ms. Mucarsel-Powell.     According to some of the news articles,

     Kushner called you about the act prior to issuing your statement

     in support.    Is that true?

           Ms. Hicks.   I just said that, yes.

           Ms. Mucarsel-Powell.     Okay.   And since joining the Fox team,

     has anyone from the Trump administration, the Trump family, anyone

     working for the President, asked you to make any public

     statements?

           Ms. Hicks.   No.

           Ms. Mucarsel-Powell.     Okay.   Who is right now paying your

     lawyer fees?

           [Discussion off the record.]

           Ms. Mucarsel-Powell.     Does the RNC pay for the --

           Mr. Trout.   I think it's a matter of public record that the

     RNC pays --

           Ms. Mucarsel-Powell.     Is it the RNC?

           Mr. Trout.   Yes, and it's been publicly disclosed.

           Ms. Mucarsel-Powell.     And has anybody else paid for your

     legal fees during this process?

           Ms. Hicks.   No.

           Ms. Mucarsel-Powell.     So it seems that the news had reported

     that the RNC paid nearly half a million dollars to Trout Cacheris

     & Janis, which is your law firm, to pay for legal fees for members
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 227 of 274
                                                          UNOFFICIAL COPY    226




     of the Trump campaign.        Do you know if the RNC paid for these

     fees?    You confirm that?

             Ms. Hicks.     Yes.

             Ms. Mucarsel-Powell.     I'm going to move now to some of the

     special counsel investigation interviews.

             You interviewed with the special counsel three times,

     correct?

             Mr. Philbin.     Objection.   All of the interviews with the

     special counsel took place when Ms. Hicks was a senior adviser to

     the President.       And as was explained earlier today, questions

     about those interviews and her role as a senior adviser is subject

     to immunity.

             Ms. Mucarsel-Powell.     All right.   I don't have anything right

     now further.    Thank you.

             Ms. Hariharan.    We just want to quickly address on the

     record, while the ranking member is here, he had flagged the

     protocols that govern this interview and some concerns that he had

     and he raised them on the record.        And just want to say that we

     appreciate that he raised them and that they were addressed

     immediately and --

             Mr. Collins.     You had a member live tweeting and taking

     pictures.

             [Discussion off the record.]

             Mr. Gaetz.     I'll reclaim a portion of the minority's time,

     just to seek clarification on that last point you made.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 228 of 274
                                                              UNOFFICIAL COPY   227




           What event were you referencing and how was it handled, just

     for the sake of the record?

           Ms. Hariharan.       My understanding is that it involved a member

     taking a picture and a member tweeting about the transcribed

     interview, and we put a stop to it.

           Mr. Gaetz.     So will there be any remediation on those -- like

     the deletion of tweets or any further action?            Or was it merely a

     directive to the member to stop?

           Ms. Hariharan.       If I may, sir, that is above my pay grade,

     but --

           Mr. Gaetz.     Would it be okay if we saw that verification,

     just for the sake of the record?

           Ms. Hariharan.       Yes.

           Mr. Gaetz.     Thank you.      We'll yield back.

           Ms. Scanlon.     Ms. Hicks, Mary Gay Scanlon from Pennsylvania's

     Fifth Congressional District.

           Ms. Hicks.     Hi.

           Ms. Scanlon.     Can we just -- just to clarify, what was the

     date you started working in the White House?

           Ms. Hicks.     January 20th, 2017.

           Ms. Scanlon.     Okay.      And when did you leave the employment of

     the White House?

           Ms. Hicks.     May 30th, 2018.

           Ms. Scanlon.     May 30th, 2018.

           Ms. Hicks.     Excuse me -- March.      March 30th.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 229 of 274
                                                            UNOFFICIAL COPY   228




             Ms. Scanlon.     March 30th, 2018.

             So that's when you left the White House?

             Ms. Hicks.     Yes.

             Ms. Scanlon.     And upon advice of White House counsel, you're

     not answering any questions regarding any events that occurred

     while you were working at the White House.          Is that correct?

             Ms. Hicks.     Yes, ma'am.

             Ms. Scanlon.     What's your opinion of Don McGahn?

             Ms. Hicks.     I don't believe I'm here to offer opinions.

             Ms. Scanlon.     But I'm asking your opinion.

             Mr. Philbin.     And this question is based solely on her

     experience with him at the campaign?

             Ms. Scanlon.     At the campaign and the transition and any

     contact she's had with him since she left the White House.

             Ms. Hicks.     I haven't had any contact with him since I left

     the White House.       And my opinion of him during the campaign and

     transition was that he was a good lawyer.

             Ms. Scanlon.     Has he ever lied to you?

             Ms. Hicks.     I don't know.   You would have to ask Don McGahn

     that.

             Ms. Scanlon.     So you're unaware if he ever lied to you?

             Ms. Hicks.     Again, I don't know.   You would have to ask Don.

             Ms. Scanlon.     Okay.   Are you aware of him ever having lied to

     you?

             Mr. Trout.     I think she's answered this.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 230 of 274
                                                        UNOFFICIAL COPY       229




           Ms. Scanlon.     Is that a yes or a no?   It's pretty simple.

           Mr. Trout.     No.

           Ms. Scanlon.     Do you know if Mr. McGahn has ever lied to you?

     Yes or no?

           [Discussion off the record.]

           Mr. Trout.     I think she's indicated that she doesn't

     know -- she doesn't know.

           Ms. Scanlon.     Are you aware of any instance in which he told

     you an untruth, to your knowledge?

           Ms. Hicks.     I don't --

           Mr. Philbin.     During the campaign or transition?

           Ms. Scanlon.     Or since then.

           Ms. Hicks.     During the campaign or transition, no.      Since

     then, I don't know.

           Ms. Scanlon.     Have you -- during the campaign or transition

     or since then, are you aware of him ever having lied to anyone

     else, from your personal knowledge?

           Ms. Hicks.     Not during the campaign or transition.

           Ms. Scanlon.     Okay.   Are you aware of him having lied to

     anyone else, to your personal knowledge?

           Ms. Hicks.     I don't know the answer to that.

           Ms. Scanlon.     Okay.   Do you have any reason to doubt the

     truth of his account of his time in the White House as described

     in the special counsel's report?

           Mr. Philbin.     Objection.   It's inherently a question about
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 231 of 274
                                                         UNOFFICIAL COPY        230




     the events in the White House.       She can't answer it without

     referring to her knowledge from her time in the White House.          So

     it's --

             Ms. Scanlon.     So White House counsel is instructing her not

     to answer based upon this unsubstantiated claim of absolute

     immunity?

             Mr. Philbin.     We're saying that she is immune under

     longstanding opinions of the Department of Justice across both

     Republican and Democratic administrations dating at least to the

     1970s, and we are asserting that immunity here.

             Mr. Collins.     Going back to -- reclaiming -- going back, this

     has been stipulated to by your staff attorney.       We went through

     this while people were not here so that we didn't have to go

     through this.    So if they do make the objection, it's already

     stated in the record this is why it's for, and there's no need to

     lay a foundation any longer for this witness.       Staff counsel on

     your side agreed to that characterization.

             Mr. Eisen.     Mr. Collins, I think that the question is a

     legitimate one, but they have -- I have continued to ask those

     questions in order to close out the area, as the Congresswoman has

     done.

             Mr. Collins.     But -- so if we wanted to, then we could refer

     back to the -- or I'll reclaim my whole hour and go back to this.

     But this is exactly -- we spent the whole time -- we spent about

     10 minutes of this about 2 hours ago stipulating to this.        And if
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 232 of 274
                                                          UNOFFICIAL COPY   231




     he's not stipulating to it, then why do we go through the

     exercise?

           Ms. Scanlon.     I'm happy to move --

           Mr. Collins.     No.   I want Mr. Berke to answer this.

           Ms. Istel.     That's Mr. Eisen.

           Mr. Collins.     I apologize.    Your counsel right there.

           Mr. Eisen.     I can ask Mr. Berke, too.

           Mr. Collins.     Mr.   Berke, do you want to answer this as well?

           Mr. Berke.     I have a lot to say.    I don't have a mike though.

           Mr. Collins.     You didn't stipulate.    He did.

           Mr. Eisen.     I think that -- that we've agreed that when the

     White House counsel says objection, that implicates absolute

     immunity.   I do think it will -- all you need to say is objection.

     That has been stipulated -- that has been stipulated for the

     record.

           The Congresswoman is entitled to her questions.

           Mr. Collins.     But you also -- the reason you stipulated was

     so we could move this forward.        Is that not correct?

           So your exact words, I believe, were so that we would not

     have to spend time on this.

           Mr. Trout.     So could I interject?

           Ms. Hicks has a flight out of Dulles at 7 o'clock, and as a

     matter of courtesy, I would hope that we can expedite the

     questioning and allow her to take her flight.

           Mr. Collins.     I've got no problem with that.     We've spent the
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 233 of 274
                                                         UNOFFICIAL COPY       232




     last 35 minutes asking questions that were asked earlier.

           Ms. Scanlon.     I'm ready to move on, Mr. Collins.

           Mr. Collins.     Okay.   Go ahead.

           Ms. Scanlon.     Okay.   All right.

           Have you spoken with Mr. McGahn since he left the

     White House?   Since you left the White House?      I'm sorry.

           Ms. Hicks.     No.

           Ms. Scanlon.     Okay.   Did you ever see Mr. McGahn or

     anyone -- anyone else taking notes during meetings during the

     campaign?

           Ms. Hicks.     I wasn't often in meetings with Mr. McGahn during

     the campaign, so I don't have any recollection of that.          He was

     based in Washington, D.C.

           Ms. Scanlon.     Okay.   So you never saw Mr. McGahn taking notes

     during campaign meetings?

           Ms. Hicks.     I just don't have any recollection of it.      There

     were very rare occasions, so --

           Ms. Scanlon.     Did you observe anyone else taking notes during

     campaign meetings?

           Ms. Hicks.     Anyone on the campaign?    Sure.   I'm --

           Ms. Scanlon.     Who?

           Ms. Hicks.     Advance team members writing down instructions,

     schedulers writing down dates.      I mean --

           Ms. Scanlon.     Okay.   Did you ever see Mr. McGahn's Chief of

     Staff Ann Donaldson taking notes, whether during the campaign or
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 234 of 274
                                                           UNOFFICIAL COPY   233




     during the transition period?

           Ms. Hicks.     I don't believe I met Ann in person until we

     started working at the White House.

           Ms. Scanlon.     Okay.   Do you now or have you had any joint

     defense agreements with anyone in connection with your activities

     either during the campaign or since then?

           Mr. Trout.     Objection.

           Ms. Hicks.     Be privileged with my counsel.

           Mr. Trout.     I'm not going to answer that.

           Ms. Scanlon.     I believe you're not going to answer, but is

     she going to answer it?

           Mr. Trout.     No.

           Ms. Scanlon.     Okay.   On what basis?

           Mr. Trout.     On privilege.

           Ms. Scanlon.     What kind of privilege.

           Mr. Trout.     Joint defense privilege.

           Ms. Scanlon.     The fact of having a joint defense agreement is

     not --

           Mr. Trout.     I will -- it will be privileged.

           Ms. Scanlon.     So you're not going to answer whether or not

     she has a joint defense agreement?

           Mr. Trout.     Right.

           Ms. Scanlon.     Okay.   I think I'm through.

           Thank you.

           Mr. Trout.     Thank you.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 235 of 274
                                                        UNOFFICIAL COPY   234




           Mr. Eisen.   Go off the record for 1 second.

           Mrs. Demings.   I'm sorry.   Not quite, but I won't be all day.

           Again, Ms. Hicks, thank you so much for being here.

           I'm just going to make this statement.     I worked a lot of

     years around a lot of good men and women who took oaths to protect

     and defend the Constitution.

           Ms. Hicks.   And I read about your service in the police

     department.   It's very impressive.

           Mrs. Demings.   Thank you.   But I was talking about others.

           Ms. Hicks.   Yes.

           Mrs. Demings.   Because I like to give credit away.

           I've attended a lot of law enforcement funerals of people who

     died, people of integrity, people of honor, people who have a

     relationship with the truth and lost their lives trying to defend

     it.

           And so this -- again, I'm honored to serve on the Judiciary

     Committee.    But there are some things that this committee is

     working hard for every day to try to protect, and it's those

     things that those men and women lost their lives for.

           So I do thank you for coming in today, because there has

     been, as you know very well, a move to totally ignore the

     authority that has been given to this committee and to ignore

     subpoenas.

           I'd just like to start off by -- why did you come today?       Why

     did you show up today?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 236 of 274
                                                        UNOFFICIAL COPY    235




           Ms. Hicks.   Because I was asked to be here, and I, like you,

     have great respect for those that have served, to protect the

     freedoms and institutions which you all serve and sacrifice on

     behalf of.   And so it's my pleasure to be here.     I just want to

     make sure we use our time as efficiently as possible.       That was my

     only comment earlier.

           Mrs. Demings.   I don't have a problem with that.     I believe

     time is our greatest resource.

           Ms. Hicks.   Yeah.

           Mrs. Demings.   But sometimes getting to the bottom of exactly

     what happened can take its time.

           Ms. Hicks.   I totally understand.

           Mrs. Demings.   And that's why we're here.

           Going back to -- and thank you for your answer, because

     that's refreshing and encouraging, the reason why you're here

     today.

           Going back to your time during the campaign.

           Ms. Hicks.   Yes, ma'am.

           Mrs. Demings.   And it's been interesting listening to all of

     the objections that we've had here today, because I really believe

     investigations and questioning cannot only -- you know, we're in

     search of the truth, right?      So in order for us to be able to get

     there, I think we need to hear all of the information.

           So it's been interesting to listen to all of the objections

     coming from the White House about anything that you are asked
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 237 of 274
                                                        UNOFFICIAL COPY         236




     during that time, because I believe it could be used as a way to

     clear up any suspicions of things that may have taken place or

     that you may have been involved in.

           So I really see it, as a former law enforcement officer, as a

     disservice to the White House for you not to be able to talk about

     anything or any experience, good or bad, that you had there.

           But anyway, getting back to your time on the campaign, did

     you ever have any conversations or overhear then candidate Trump

     talk about or acknowledge Russia's interference in the election or

     any other state actor interfering in the 2016 election?          Did you

     ever hear any conversations?

           Ms. Hicks.    I think I said this earlier --

           Mrs. Demings.    I'm sorry, I --

           Ms. Hicks.    That's okay -- that any discussion about the

     hacked emails or interference, any discussion privately, only

     echoed what he stated publicly.

           So, for example, some of those conversations were around

     debate prep, how he would answer that question in the debate.          And

     I will tell you the answer that he said privately is exactly what

     he said publicly.

           Mrs. Demings.    In terms of messaging, you were the press

     secretary and the only one.     We've certainly heard that.       Did you

     ever hear him exhibit any frustration, as someone who was running

     for President of the United States and is responsible for

     protecting our Nation against cyber attacks or any other type of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 238 of 274
                                                        UNOFFICIAL COPY   237




     attacks, did you ever hear him during the campaign indicate any

     frustration at even the possibility of Russia or any other foreign

     actor attacking the United States of America?

           Ms. Hicks.    Yes.   And I hesitate to speculate, but I believe

     that --

           Mrs. Demings.    I'm just asking if you overheard

     conversations.     You don't have to speculate.

           Ms. Hicks.    I did.   I did.   And I hesitate to speculate.   But

     I'd also add that I believe that Mr. Trump feels and many others

     feel that we would all be better served if that is what we were

     all focused on rather than --

           Mrs. Demings.    I'm focused on it right now.

           Ms. Hicks.    I know you are -- rather than, you know, if

     anything untoward happened with the campaign.

           Mrs. Demings.    I'm focused on it right now, because this is

     where this all started, right, an attack on the United States of

     America.   And we should all be concerned about that.

           Ms. Hicks.    Yes, ma'am.

           Mrs. Demings.    So during the campaign, as the press

     secretary, do you remember then candidate Trump expressing any

     frustration at the very thought of Russia or any other foreign

     actor attacking the country that he wanted to be the President of?

           Ms. Hicks.    Yes.   I think that was -- I think that was

     inherent in his responses.

           Mrs. Demings.    And what were some of those?    Could you give
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 239 of 274
                                                        UNOFFICIAL COPY     238




     me some examples of what his responses would have been to

     demonstrate that frustration or any action that he would take

     should he win the Presidency?

           Ms. Hicks.   I don't recall any -- anything verbatim

     certainly.   But, you know, I think that it was inherent in his

     message about being respected again as a power on the world stage

     and that he would take action to ensure that America was respected

     again and that we weren't subject to these kind of attacks.

           Mrs. Demings.   Did you ever hear him again talk about

     specifically, since Russia's name was being thrown around, that he

     would hold Russia accountable should he win the Presidency?

           Ms. Hicks.   I don't recall him --

           Mrs. Demings.   That would have been a major part of his

     messaging?

           Ms. Hicks.   Yeah, I don't -- I don't recall him making any

     kind of assertions like that.     I know he was hesitant to do things

     like draw, quote, redlines, right?     So I don't recall him stating

     any specific action he would take if that were, in fact, true.

     But I'm happy to go back and look and see what was said.         And I'm

     sure you all will do that as well.

           Mrs. Demings.   During your time with the campaign -- let me

     make that clear -- did you ever hear mention of the Trump Tower

     Moscow project?

           Ms. Hicks.   So just to clarify, I worked at The Trump

     Organization as well.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 240 of 274
                                                        UNOFFICIAL COPY     239




             Mrs. Demings.   Okay.

             Ms. Hicks.   And Trump Tower Moscow was somewhat of a pipe

     dream over the years.     So I did hear, you know, through reviews of

     past projects or deals in pipelines or things that were

     pursued -- not directly from him, perhaps, but I did hear of past

     attempts to enter that market.     But I did not hear any discussion

     from any Trump Organization employees or Mr. Trump about an

     ongoing effort to pursue a potential Trump Tower Moscow at that

     time.

             Mrs. Demings.   Is that where you met Mr. Trump, was during

     that -- and if you have already answered, I apologize for

     that -- but is that where you met Mr. Trump, was during your

     employment at The Trump Organization?

             Ms. Hicks.   I met Mr. Trump before I became a full-time

     employee there.      But I was working with the organization and the

     family via an agency that I was employed by.

             Mrs. Demings.   So you didn't hear any mention or don't

     remember any mention of the Trump Tower Moscow deal directly from

     Mr. Trump?

             Ms. Hicks.   That's correct.

             Mrs. Demings.   Did you ever hear any mention of that deal

     from Michael Cohen?

             Ms. Hicks.   I did not.

             Mrs. Demings.   Or Donald Jr.?

             Ms. Hicks.   I did not.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 241 of 274
                                                        UNOFFICIAL COPY     240




           Mrs. Demings.    Okay.   And how many -- so back to the Trump

     Moscow Tower project.    You heard it as pipe dream; this was

     something he was very interested in.

           Do you remember in your time at the organization --

           Ms. Hicks.   That's not -- that's not totally accurate.

           Mrs. Demings.    Oh, okay.

           Ms. Hicks.   I heard it as -- it was mentioned as, you know, a

     marketplace that had been previously pursued, when we would talk

     about growth pipelines for the hotel, which was -- the hotel

     division of the company was undergoing sort of a rapid expansion.

     I think they had over 80 potential deals in the pipeline at the

     time I joined the company.     So, you know, in talking about the

     strategy and growth.

           Mrs. Demings.    Who did you hear that from, those discussions

     about the possibilities in --

           Ms. Hicks.   A combination of people, people that worked on

     the development side of the company, the marketing side of the

     company, license -- the license division of the company.

           So it was more of an historical reference, if anything, to

     something that had been pursued in the past.      But again, nothing

     current from anyone at The Trump Organization, including the

     President or Michael Cohen or Don Jr.

           Mrs. Demings.    Okay.   Do you know who Felix Sater is?

           Ms. Hicks.   Only from media reports and --

           Mrs. Demings.    You never heard the name prior to any media
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 242 of 274
                                                        UNOFFICIAL COPY   241




     reports?

           Ms. Hicks.   I did not, no.

           Mrs. Demings.   Okay.

           Ms. Hicks.   I obviously discussed media reports with people

     at The Trump Organization.     Like I got a request about this

     person, who is it, or there's this article, do we know this

     person, things like that.     But prior to seeing his name, either

     from a media request or in the press, no, I did not.

           Mrs. Demings.   Okay.   And during your time with the campaign,

     did you ever hear the name Felix Sater associated with the

     campaign?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 243 of 274
                                                        UNOFFICIAL COPY         242




     [4:07 p.m.]

           Ms. Hicks.   Associated with the campaign?

           Mrs. Demings.   Or during the campaign, during the time of the

     campaign.

           Ms. Hicks.   Yes.   You know, there were often media requests

     sort of asking about his past affiliation with The Trump

     Organization, what exactly his role was, who he worked with, what

     he did, if he was affiliated with The Trump Organization.          I think

     there was some confusion about that.

           The one specific thing is I think he may have made an online

     donation to the campaign that we weren't aware of until the press

     pointed it out to us, and that was sort of a storyline.          I might

     be mixing him up with someone else, but I believe that's accurate.

           Mrs. Demings.   And excuse me, but who was talking about Felix

     Sater during the campaign?     Who would that have been?

           Ms. Hicks.   Nobody in the campaign -- this is purely in

     response to media requests or media reports.

           Mrs. Demings.   Okay.   Okay.   So the only discussions that you

     had or overheard or know of about Felix Sater was from The Trump

     Organization --

           Ms. Hicks.   Yes.

           Mrs. Demings.   -- those who worked --

           Ms. Hicks.   Yes.   The Trump Organization, there was a lawyer

     there that I would often work with, crafting responses to

     questions, as he understood Felix's involvement with The Trump
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 244 of 274
                                                        UNOFFICIAL COPY    243




     Organization years prior to my role there.

           Mrs. Demings.   Okay.

           During the campaign, did Mr. Trump or Michael Cohen or

     Donald, Jr., or anyone associated with the campaign ever advise

     you to not be truthful about The Trump Organization's

     relationships or dealings or conversations or timeline as it

     pertained to the Trump Tower project?

           Ms. Hicks.   No.   Like I said, I wasn't aware of the project.

     So I couldn't be advised to lie about something I didn't know

     about.

           Mrs. Demings.   Okay.   Did anybody associated with that long

     list -- because I know we're on a timeline here -- that I just

     went through -- don't make me do it again --

           Ms. Hicks.   Yeah.

           Mrs. Demings.   -- talk to you about not even discussing in

     any fashion anything about Moscow or the possibility of building

     something lucrative or making a deal in Moscow?

           Ms. Hicks.   No.

           And, again, I don't want to speculate, but I'd just like to

     say that, knowing Mr. Trump the way I do, I think that if there

     were anything more than just the pursuit of a deal, I believe it

     would be something, regardless of the location, Moscow or not,

     that he would view as a success and he would be touting it.

           I think the only reason that it wasn't discussed openly was

     because it wasn't -- it was nothing.     It was a letter of intent.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 245 of 274
                                                        UNOFFICIAL COPY   244




     There are dozens of those signed by real estate companies on a

     daily basis.

           Mrs. Demings.   Right.   When did you learn of the letter of

     intent?

           Ms. Hicks.   In the fall of 2017.

           Mrs. Demings.   Do you remember any discussions at all about

     any dealings of any kind during the campaign with Russia?

           Ms. Hicks.   We went through this earlier and --

           Mrs. Demings.   I'm sorry.

           Ms. Hicks.   No, that's okay -- described conversations I had

     with Don, Jr., contextualizing statements he made in 2008

     regarding what I believe he said was Russian money pouring in.

     And that was it.

           Mrs. Demings.   And Don, Jr., made that statement?

           Ms. Hicks.   In 2008, yes, and the press wrote about it.

           Mrs. Demings.   And you never heard him discuss anything about

     dealings or business deals in Russia after 2008 that you remember?

           Ms. Hicks.   No.   And, again, you know, I wasn't an employee

     in 2008.   I just meant that I discussed during the campaign the

     context of that comment that he made.

           Mrs. Demings.   Did you ever remember any conversations either

     directly with Mr. Trump or others associated with him during the

     campaign regarding him traveling -- Mr. Trump, that is -- to

     Russia?

           Ms. Hicks.   Just for the Miss Universe Pageant.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 246 of 274
                                                         UNOFFICIAL COPY    245




             Mrs. Demings.   Okay.    That was the only conversation that you

     ever heard.      Nothing to do with any deals, projects, or any of

     that?

             Ms. Hicks.   No, ma'am.

             Mrs. Demings.   Okay.    Thank you.

             Did you ever discuss with anyone the possibility or overhear

     a discussion about the possibility during the campaign of

     then-candidate Trump meeting with Vladimir Putin?

             Ms. Hicks.   No.   No.   Obviously, as part of this process,

     I've reviewed emails which indicate that that was being discussed

     perhaps in the press at a point in September 2015.       But I never

     heard anything directly from anyone, and obviously it didn't

     happen.

             Mrs. Demings.   Okay.

             And do you have any knowledge of a foreign government

     providing cash or any other thing of value to Mr. Trump during the

     campaign?

             Ms. Hicks.   No, ma'am.

             Mrs. Demings.   Okay.

             Sorry.   Just give me just one second here.

             You made a comment to Ms. Dean, the woman who was sitting

     here, blond hair --

             Ms. Hicks.   Uh-huh.

             Mrs. Demings.   -- and I made a note about it.    I can't find

     it right now.     But it said something to the effect of questioning
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 247 of 274
                                                         UNOFFICIAL COPY   246




     the purpose of this interview today.

           What did you mean by that?      You said that the purpose -- you

     questioned the purpose of the interview.       I mean, what do you

     believe or what do you feel the purpose of this interview is

     today?

           Ms. Hicks.    To be honest, I'm not really sure.    I don't

     believe I've provided --

           Mrs. Demings.    I'm sure your attorneys -- you have several

     here that are either representing the White House and others.

     What do you believe, based on your conversations with them or

     whatever, in any discussions you've had with others, about the

     purpose of your being here today?      What do you believe --

           Ms. Hicks.    Well, as we discussed --

           Mr. Trout.    Just to be clear --

           Ms. Hicks.    I'm sorry, Bob.

           Mr. Trout.    -- the attorneys in the White House do not

     represent her.     She's represented by Gloria Solomon and myself

     alone.

           Ms. Hicks.    And as --

           Mrs. Demings.    She certainly looked to them for guidance

     today, but --

           Mr. Trout.    She's made this clear and we've made this clear,

     that because she is a former employee she is going to accept the

     guidance of the executive branch about what questions are

     appropriate for her to answer and that, absent any objection from
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 248 of 274
                                                        UNOFFICIAL COPY     247




     the White House, she would answer questions.

           Mrs. Demings.   Okay.

           So, Ms. Hicks, back to you.     Thank you so much for being

     willing to answer the questions.

           Ms. Hicks.   Yeah, sure.   Like we exchanged earlier, I'm happy

     to -- it's my pleasure to be here.     It was a privilege to serve,

     and if this is part of my ongoing responsibilities as part of that

     service, I'm more than happy to show up here and answer questions

     and hopefully be helpful to you.

           And all I meant by questioning the purpose was just that I

     don't believe that I've provided any new information that I

     haven't provided to multiple different bodies investigating this

     very same thing.    Hopefully you all feel differently and you got

     something out of this, but that was all I meant by that.

           Mrs. Demings.   It probably could've been more productive had

     we not heard "objection" a thousand times.      But, anyway, thank you

     so much for your cooperation.

           Ms. Hicks.   You're welcome.

           Mrs. Demings.   Thank you.

                 BY MR. EISEN:

           Q    Ms. Hicks, returning to the Mueller report, Volume II, I

     believe we were on or around page 104, the Don, Jr., statement

     about the Trump Tower meeting.     There's a reference to

     Mr. Corallo.   Who is Mr. Corallo?

           A    I don't really know him, to be honest.     He was part of
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 249 of 274
                                                        UNOFFICIAL COPY     248




     the team the President assembled of outside lawyers.       I don't

     believe he was serving in a counsel role.      He was primarily in a

     communications role.

           Q    And he was not a government employee at that time,

     correct?

           A    That's my understanding.

           Q    Not a government official --

           A    That is my understanding.

           Q    -- at the time of these communications.

           Okay.   On to page 105.

           Will you answer any questions about the special counsel's

     statement that on, at least three occasions in June and July

     of 2017, the President directed you and others not to publicly

     disclose information?

           Mr. Purpura.     We would object to those questions.

           Mr. Eisen.     And would you assert absolute immunity as to this

     entire area of subject matter?

           Mr. Purpura.     Well, again, the subject matter being the

     statements and subjects that are described in --

           Mr. Eisen.     Yes, this section of the special counsel report.

           Mr. Philbin.     Just to be clear, by "section" are you

     referring to the subsection lettered A that begins on page 105 and

     extends to 106 or subsections B and C as well?

           Mr. Eisen.     I'm referring to the entire section on the

     subject matter of Ms. Hicks' activities in the White House
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 250 of 274
                                                        UNOFFICIAL COPY    249




     relating to the Don, Jr., statement about the Trump Tower meeting,

     that entire subject matter in the Mueller report.

           Mr. Purpura.     We would object to those questions.

           Mr. Eisen.     Okay.

           And just for the record, Ms. Hicks, would you answer any

     information about the President's efforts to have Mr. McGahn

     dispute the press reports as set forth on page 114?       There's a

     recollection about what you relayed to the President.

           Ms. Hicks.     I was already asked this, and they objected.

           Mr. Purpura.     Objection.

           Mr. Eisen.     Same objection as to this entire, again, subject

     matter --

           Mr. Purpura.     Yes.

           Mr. Eisen.     -- this entire subject matter.

           Do you remember calling Michael Flynn during your White House

     service to relay on behalf of the President that the President

     hoped Flynn was okay?

           Mr. Purpura.     Objection.

           Mr. Eisen.     Same objection as the entire subject matter?

           Mr. Purpura.     Meaning any phone calls or discussions relaying

     a message to --

           Mr. Eisen.     Yes.

           Mr. Purpura.     -- General Flynn?

           Mr. Eisen.     Yes.

           Mr. Purpura.     Yes.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 251 of 274
                                                         UNOFFICIAL COPY   250




             Mr. Eisen.     All communications concerning Michael Flynn while

     she was serving in the White House.

             Mr. Purpura.    Yes.

                  BY MR. EISEN:

             Q   Okay.    Did you hear candidate Trump tell Mr. Gates, Rick

     Gates, to keep an eye on Manafort at any point during the

     campaign?

             A   Yes.

             Q   Tell me about that incident.

             A   It was sometime after the Republican Convention.      I

     think Mr. Trump was displeased with the press reports regarding

     the platform change, the confusion around the communications of

     that, Paul sort of stumbling in some interviews and then trying to

     clarify later and it just being messy.       So he was frustrated with

     that.

             I don't think that Mr. Trump understood the longstanding

     relationship between Rick and Paul.       I think he, you know,

     obviously knew that Rick was Paul's deputy but not maybe to the

     extent of -- you know, didn't understand the extent of their

     relationship.

             And he said something to the effect of -- you know, I'm very

     much paraphrasing here, so I want to be very careful -- but sort

     of questioned Paul's past work with other foreign governments,

     foreign campaigns, and said that, you know, none of that would be

     appropriate to be ongoing during his service with the Trump
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 252 of 274
                                                           UNOFFICIAL COPY   251




     campaign and that Rick needed to keep an eye on that and make sure

     Mr. Trump was aware if anything led him to believe that was

     ongoing.

             Q     What do you mean by the "platform change"?

             A     Whatever was reported in the press.     To be honest, I had

     no knowledge of it during the actual convention.

             Q     Is it a reference to the change in the RNC platform

     concerning arming Ukraine?

             A     Again, I'm not familiar with the details.

             Mr. Davis.     Quick question.   I'm sorry to interrupt your

     flow.       I'm just trying to get a gauge for how much you have left.

     We're on hour 8.

             Mr. Eisen.     Very little.

             Mr. Davis.     Okay.   That's great.   Thank you.   I just want to

     be mindful of northern Virginia traffic on the way to Dulles,

     which is getting worse by the day.

             Mr. Eisen.     We are mindful.

             Ms. Hicks.     I still have to get my bags.

             Mr. Eisen.     Did you have any question while serving as a

     government -- any conversations while serving as a government

     employee in the White House about Paul Manafort?

             Mr. Purpura.     Objection.

             Mr. Eisen.     Would you answer any questions on the subject

     matter of Paul Manafort while serving in the White House?

             Mr. Purpura.     We would assert the objection.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 253 of 274
                                                             UNOFFICIAL COPY   252




             Mr. Eisen.     Okay.   We're just going to --

             Ms. Hicks.     I'm happy to answer any outside of my government

     service.

             Mr. Eisen.     I think we've stipulated -- okay.     Ms. Istel is

     going to ask a couple of last questions.          We're going to do the

     documents and call it a day.

             Ms. Istel.     So I'll be as quick as I can.     I'm going to give

     you a copy of your production that you gave us.          We just have a

     couple of clarifying questions.        I have a copy for your counsel or

     the White House counsel or whichever counsel.

             Mr. Collins.     Do you have extra copies of that?

             Thank you.

             Ms. Istel.     I'm happy to share mine.

             Mr. Collins.     We are still here, so thank you.

                  BY MS. ISTEL:

             Q   Okay.    So HCH1 through 08 looks like an amended SF-86

     form?

             A   Correct.

             Q   The first page is a letter to Ms. Rodgers from

     Jay -- you'll have to excuse my pronunciation.

             A   Malcynsky.

             Q   -- Malcynsky.      Thank you.   And this describes that you

     had amended your SF-86 form.        Is that correct?

             A   Yes.

             Q   Who told you to amend that form?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 254 of 274
                                                        UNOFFICIAL COPY   253




           A    I don't recall.

           Mr. Trout.    Yeah, don't get into conversations you had with

     Mr. Malcynsky, her attorney at the time.      But, otherwise --

                 BY MS. ISTEL:

           Q    Well, how did you become aware that you needed to submit

     amended answers to this form, if you recall?

           A    I believe it was instigated by my agreement to respond

     to -- you know, my agreement to voluntarily respond to questions

     from the Senate Intel Committee in writing, which you see here,

     and, when going through those questions, realized that I had left

     off some contacts that needed to be shared.

           Q    And just so we can clarify for the record, Ms. Hicks is

     referring to HCH09 through 011, which is -- I guess you're saying

     that these questions were written in response to an inquiry from

     the Senate Intelligence Committee.     Is that correct?

           A    That's right.    The questions are there provided as well.

           Q    Yes.    Thank you.

           And did you provide the Senate Intelligence Committee any

     other documents in connection with that testimony?

           A    Bob?

           To my recollection, not to this initial voluntary response,

     but Bob can answer more fully regarding the followup that ensued.

           Mr. Trout.    Yeah.   I think that HCH12 and, I believe,

     following to --

           Ms. Istel.    Through 30 is the first production you gave to
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 255 of 274
                                                        UNOFFICIAL COPY    254




     us.

           Mr. Trout.     Through 14.

           Ms. Istel.     Okay.   Were those the one documents provided?

           Mr. Trout.     Yes, as part of this supplemental.

           Ms. Istel.     When you say "supplemental," was there an initial

     production that you provided to the Senate Intelligence Committee?

           Mr. Trout.     Well, in other words, this is supplementing the

     amendment to the SF-86.

           Ms. Istel.     But so, just to clarify, did you provide any

     other documents aside from what's in this packet to the Senate

     Intelligence Committee?

           Mr. Trout.     No.

           Ms. Istel.     Did the White House provide you any documents in

     preparation for your testimony with the Senate Intelligence

     Committee?

           Mr. Philbin.     Objection.

           Mr. Purpura.     Objection.

           Mr. Philbin.     That was during her time when she served as a

     senior advisor, and any interactions with the White House would be

     subject to the immunity.

           Ms. Istel.     Did the White House provide you any documents in

     connection with preparation for your testimony for this hearing?

           Mr. Purpura.     Objection.

           Ms. Istel.     That's since she left the White House, correct?

           Mr. Trout.     No, the White House has not provided documents.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 256 of 274
                                                        UNOFFICIAL COPY        255




           Ms. Istel.     I imagine I'll get the same response, but did the

     White House provide any documents in connection with Ms. Hicks'

     interviews with the special counsel?

           Mr. Purpura.     Objection.

           Ms. Istel.     Did the White House assert any privilege over

     Ms. Hicks's testimony to the special counsel?

           Mr. Purpura.     Objection.

           Mr. Philbin.     Well, we're asserting immunity here.      If you

     want to ask us our legal views about immunity and privilege, we

     could get into that, but the objection --

           Ms. Istel.     I think I'll spare Ms. Hicks from that dialogue.

     We'll move on.

           HCH12, 13, and 14 are emails to Ms. Hicks from various

     individuals.   And they were referenced in footnotes in the Mueller

     report that Mr. Eisen read into the record, so we won't waste

     anyone's time on those.

           But I just want to ask whether there will be an objection to

     Ms. Hicks testifying about these documents.      January 27th, 2017,

     and --

           Mr. Philbin.     Well, for anything after January 20th, 2017, at

     noon, we would object to her testifying about the documents

     unless -- and we're only seeing these for the first time -- unless

     these are personal, which they don't appear to be.

           Ms. Istel.     Okay.

           HCH0015, to clarify for the record, is an email chain.         The
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 257 of 274
                                                          UNOFFICIAL COPY    256




     first email is on Sunday, August 27th, from Tom Hamburger to

     Michael Cohen, and it asks a series of questions relating to Trump

     Tower Moscow project.       Mr. Cohen forwarded that email to

     Ms. Hicks, Jay Sekulow, and Stephen Ryan on August 27th, 2017.

             Do you recall why Michael Cohen forwarded you that email?

             Mr. Philbin.     We'll object to that.

             Ms. Istel.     Did Michael Cohen forward you any emails during

     the transition relating to Trump Tower Moscow?

             Ms. Hicks.     Not that I'm aware of, no.   The first time I

     recall learning about this project was in August of 2017.

             Ms. Istel.     Was this email the first time you learned about

     the project?

             Ms. Hicks.     No, but just prior to is my recollection.

             Ms. Istel.     I just want to clarify for the record that the

     White House is objecting to our examination of documents that have

     already been produced.       Is that correct?

             Mr. Philbin.     We are objecting to her answering questions

     about communications that she had while she was a senior advisor

     to the President even if this document has been produced.          She is

     immune from being compelled to testify about her service as a

     senior advisor to the President.

             This is the first time that we've seen this document, here

     live.    And as we've discussed with Eisen, after today, we may be

     able to talk about things.       But for today, for purposes of the

     subpoena and for this hearing, we are asserting immunity.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 258 of 274
                                                         UNOFFICIAL COPY   257




             Ms. Istel.     All right.

             And just to clarify for the record, the email exchange goes,

     actually, through --

             Mr. Purpura.     To be clear, we have seen the documents before

     in relation to what was produced to this committee.

             Mr. Trout.     Right.

             Mr. Purpura.     But we are saying the first time we are seeing

     it today is -- you know, there was no discussion of what documents

     may be shown or what discussions there may be.       And so, consistent

     with what Mr. Philbin said on the immunity, we're not going to

     allow questioning on the documents today during the time of her

     service as a close advisor to the President.       But reiterating what

     Mr. Philbin said and consistent with our conversations with

     Mr. Eisen and Mr. Berke, these may be subject to our further

     discussions.

             Ms. Istel.     It's okay with me, but Norm is not as nice as I

     am.   So okay.

             Okay.   HCH015 through 017, for the record, that's the email

     exchange over which we were just discussing.

             HCH018 and HCH019 and HCH020 and 021 and 022 and 23 are all

     text message exchanges between you and Michael Cohen.       Is that

     correct?

             Ms. Hicks.     Yes.

             Ms. Istel.     These say January 8th, but they don't have a

     year.    Do you recall if this is 2016 or 2017?
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 259 of 274
                                                          UNOFFICIAL COPY    258




           Ms. Hicks.      It's 2018.

           Ms. Istel.      2018.   Will you answer questions on these text

     messages?

           Mr. Purpura.      No.   We would object for the same reason.

           Mr. Eisen.      Was Mr. Cohen a government employee at the time

     you exchanged these text messages with him?

           Ms. Hicks.      He was never a government employee.

                  BY MS. ISTEL:

           Q     HCH024 is a text message exchange with Brian and the

     initials B.L.       Who is Bryan L.?

           A     Bryan Lanza.      He's a surrogate.

           Q     A surrogate for?

           A     The Trump administration.      He worked on the Trump

     campaign.

           Q     And these are also from January.      Is this also

     January 2018?

           A     Yes, that's 2018.

           Q     Will you answer questions relating to this text message?

           Mr. Purpura.      We will assert an objection.

                  BY MS. ISTEL:

           Q     Was Bryan L. a Trump administration official?

           A     No.

           Q     Okay.    HCH025 is an email from Josh Raffel to Ms. Hicks

     on April 10th, 2018.       It's a forward originally from Peter

     Nicholas to Josh Raffel.        Who is Josh --
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 260 of 274
                                                          UNOFFICIAL COPY   259




           A    It's Josh Raffel.

           Q    -- Raffel?    Raffel.    Sorry.

           A    He's a friend.

           Q    Does he have any connection to the Trump administration?

           A    Yes.    He was the deputy communications director.

           Q    What about the White House?       Does he have any connection

     in the White House?

           A    Yes.    He worked in the White House, yes.

           Q    Okay.

           A    But this is after our service to the White House, and

     he's just asking if he can give this reporter my new contact

     information.      That's all.

           Q    Did you still comment on behalf of the White House after

     you left your formal position?

           A    No, I didn't.    I think they were just asking me to weigh

     in for my perspective.

           Q    Okay.    Thank you.

           A    Obviously, Josh said to ignore, and that's what I did.

           Q    Did you ignore?      Did you respond to that email?

           A    I don't believe I did, no.

           Q    Okay.    Thank you.

           HCH026, 027, 028, 029 are all text messages between you,

     Ms. Hicks, and Charles H.        He introduces himself in the first

     message as Charles Harder.        Did I get his last name right?

           A    Yes, you did.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 261 of 274
                                                         UNOFFICIAL COPY   260




           Q    Okay.    And who is Charles Harder?

           A    He is one of the President's attorneys.

           Q    Personal attorney or White House attorney?

           A    Personal.

           Q    Will you answer questions on these text messages?

           Mr. Philbin.     Could we clarify the date?

           Ms. Istel.     Sure.

           Ms. Hicks.     It's May 2018.

           Ms. Istel.     That was after Ms. Hicks' time at the

     White House.

           Mr. Philbin.     Can you give us just a moment to look?

           Ms. Istel.     Sure.

           [Discussion off the record.]

           Mr. Purpura.     No objection.

                 BY MS. ISTEL:

           Q    Can you provide context for when Mr. Harder says, "Sorry

     to bother you.      If you have a minute, can you give me a call?"    Do

     you recall if you called him on that date?

           A    I did.

           Q    Do you recall what you discussed?

           A    I do.

           Q    Can you describe that for us, please?

           A    He wanted my advice about information he had regarding

     Michael Avenatti and how to best get that information into the

     press.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 262 of 274
                                                        UNOFFICIAL COPY   261




           Q    Can you read HCH027, please, into the record?

           A    Sure.

           "Charles, just reading the front page story in the New York

     Times about contradicting statements.     The story says the payment

     was made by Cohen at a time when media outlets were poised to pay

     Daniels for a story about an alleged affair.      I don't believe this

     point has been raised in interview or tweets and not sure if it

     helps you, but I would say, 'Why is it acceptable for media

     outlets to pay to publicize mere accusations, but not OK for a

     person to pay to keep false allegations from being made public?

     Would these media outlets have disclosed the payment and would it

     have been considered a contribution to the Crooked Clinton

     Campaign, whom they were already working so hard on behalf of?'"

           Q    Do you mind just finishing the text message on page 028?

           A    Sure.

           "The WSJ reported that she was shopping her story to

     GMA -- not a tabloid.    'Mr. Davidson also represented Stephanie

     Clifford, a former adult-film star whose professional name is

     Stormy Daniels and who was in discussions with ABC's "Good Morning

     America" in recent months to publicly disclose what she said was a

     past relationship with Mr. Trump, according to people familiar

     with the talks.'

           "Anyways I need to stay out of this and will leave with you,

     but just a thought in terms of changing the narrative a bit from

     who knew what when."
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 263 of 274
                                                         UNOFFICIAL COPY     262




           Q     Did you discuss that text with anyone before you sent it

     to him?

           A     I did not.

           Q     Did you discuss the subject matter of this text with the

     President?

           A     I did not.

           Q     You mentioned that you'd spoken to him 5 to 10 times in

     addition to your April dinner.       In any of those conversations did

     you discuss Stormy Daniels?

           A     Never.

           Q     Hush money payments at all?

           A     Never.

           Q     Okay.

           HCH029, he texted you again on May the 10th -- well, he first

     asked, "Thanks.      When are you coming to LA?"   There was no

     response.    Then May 10th:   "Hi.    Sorry to bother you, but do you

     have 5 minutes to talk?"

           Do you recall if you called him when he sent you that

     message?

           A     I already answered that question.

           Q     This is the same one as before?

           A     Yes.

           Q     I think it's a different --

           A     No, it's the same.

           Q     The first one was from May 1st, and it says, "If you
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 264 of 274
                                                         UNOFFICIAL COPY     263




     have a minute, can you give me a call?"       And then this one is on

     May 10th, and it says, "Hi.      Sorry to bother you, but do you have

     5 minutes to talk?"

           A    Oh, I'm sorry.     You're right.

           Q    That's all right.     It's been a long day.

           A    I don't recall what this second text is.

           Q    But you sent him that article.     Do you recall sending

     that article to him?

           A    Yes.

           Q    Did you discuss that article with anyone before sending

     it to him?

           A    You know what?     Perhaps this was the conversation

     that --

           Q    That you meant originally from --

           A    Yes.    And this, I don't know what that was about.

           Q    Okay.

           Mr. Eisen.    Just for the record, when you say "this, I don't

     know what that was about" --

           Ms. Hicks.    Sorry.    That was 27.

           Mr. Eisen.    That's all right.    I'll do it for you.

           The witness was pointing to 27 and 28, right?

                   BY MS. ISTEL:

           Q    The May 1st conversation in response to asking for a

     call, that's when she was -- okay.

           Okay.    HCH030, it's a text message exchange between Ms. Hicks
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 265 of 274
                                                        UNOFFICIAL COPY     264




     and Sarah H.   Who is Sarah H.?

           A    Sarah Huckabee Sanders.

           Q    What is your relationship with Sarah Huckabee Sanders?

           A    She's a close friend.

           Q    And this is Wednesday, April 18th.     Do you recall the

     year of this conversation?

           A    I believe it was 2018.

           Q    Were you still communicating with White House officials

     in providing advice on how to respond to the press at that time?

           A    I don't think she's asking for my advice.     I think she's

     just curious if I know anything about this.      I had just left the

     White House, and some things were --

           Q    Overlapping?

           A    -- still up in the air in terms of who to go to on

     things.

           Q    And you say, "No idea," so I'm not going to ask you if

     you have any idea.

           HCH031 and 032, for the record, are two drafts of emails from

     Hope Hicks to Hope Hicks on November 4th, 2016.

           Would you mind just reading both of them into the record?

     Because they're slightly different, and I just want to understand

     the difference between them.

           A    Sure.

           "We have no knowledge of this false story allegedly being

     shopped around, although it comes as no surprise -- yet another
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 266 of 274
                                                         UNOFFICIAL COPY     265




     publicity hungry individual with a get rich and famous quick

     scheme at the expense of Mr. Trump.       We suggest you reach out to

     the parties involved as we have nothing to do with this final

     attempt by the liberal elite to disparage Donald Trump and stop

     this historic movement."

           The second version, HCH0032:      "We have nothing to do with

     this final attempt by the liberal elite to disparage Donald Trump

     and stop this historic movement.       We have no knowledge of this

     false story allegedly being shopped around, although it comes as

     no surprise -- yet another publicity hungry individual with a get

     rich and famous quick scheme at the expense of Mr. Trump."

           Q    Do you know what this was in reference to?

           A    I believe these were statements considered as we, you

     know, formulated a response to the Wall Street Journal inquiry

     about Karen McDougal.

           Q    Did anyone have input in these statements?

           A    Yes.   Michael Cohen did.    And I don't recall who else,

     but --

           Q    What about the President, or Mr. Trump at the time?

           A    He ultimately had input in what was said to The Wall

     Street Journal, but not in crafting these statements.

           Q    Did you show him these statements?

           A    Most likely I did.   I don't remember, but most likely.

           Q    So I won't ask if you recall his reaction to them.

           A    Well, we gave a different statement, so if I did, it
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 267 of 274
                                                          UNOFFICIAL COPY    266




     probably wasn't good.

           Q     Okay.

           Last one, HCH033.     It's another text message exchange between

     yourself and Michael Cohen, November 5th, 2016.

           Do you recall what you were discussing in this exchange?

           Would it be helpful to read out loud into the record?        I just

     was going to spare you, but --

           A     No.   No.   That's okay.   Thank you.   Yes, I remember.   We

     were discussing the traction the Wall Street Journal story

     regarding Karen McDougal was getting.

           Q     So when you say -- I guess Cohen sent to you, "Keep

     praying!!    It's working!"    When he says "it's working," do you

     recall what he meant by that?

           A     I guess that our prayers were being answered.

           Q     He also says, "I have a statement by Storm denying

     everything and contradicting the other porn stars statement."          Do

     you recall how he got that statement?

           A     I have no idea.

           Q     Did you ask him?

           A     I did not.    I don't recall speaking to him about Stormy

     other than to relay what the reporter said to me, that she would

     be mentioned in story, but there was no additional context.

           Q     Did you discuss with the President having a statement

     from Stormy Daniels denying the incident?

           A     I don't recall that.    I know the President had
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 268 of 274
                                                        UNOFFICIAL COPY        267




     conversations with Michael separate from me, so it's possible it

     was part of those.    I don't recall being part of those

     conversations.

           Q    When they were having those conversations, did they ever

     ask you to leave the room?

           A    The conversations were had while we were traveling.

     Michael wasn't with us.    And I was not present when the person was

     speaking to Michael on the phone.

           Q    We've asked ad nauseam about the President's

     relationship with Karen McDougal, but did you ever ask him if he

     had a relationship with Stormy Daniels?      During the campaign.     I

     see the movement from behind you.

           A    Again, I had no knowledge of Stormy Daniels other than

     to say she was going to be mentioned in the story amongst people

     that were shopping stories around.     There were no specifics

     offered by the reporter, and I didn't have any other information

     other than what was being relayed to me by the reporter.         So, no,

     I did not.

           Q    When you made statements during the campaign that the

     President did not have any relationship with Stormy Daniels, did

     you have a basis for saying that?     Did the President tell you that

     he did not have a relationship?

           A    Again, I was relaying information from the reporter to

     the different parties involved, primarily Michael and Mr. Trump,

     and that was the response that was dictated to me.      I didn't ask
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 269 of 274
                                                        UNOFFICIAL COPY   268




     about the nature of the relationships.

           Q    Okay.

           So, going forward in the exchange, it looks like Michael

     Cohen asks for David Pecker's cell and -- or, actually, you ask

     for David Pecker's cell and say, "I have it but he thinks it's

     wrong."    And then he, I imagine, provides the cell phone number.

     And you say, "Same one!     Thanks!"   And Michael Cohen says, "He

     called me from this number this morning."      And then you say, "They

     spoke.    All good!"   Or, it's "The spoke," but I imagine you meant

     "they."

           Do you recall who "they" was?

           A    The President and David Pecker.

           Q    Do you recall what they discussed during that call?

           A    No.

           Q    So how did you know to say "all good"?

           A    I was referring to the fact that we didn't need to

     search for a phone number, that I was all set.      They spoke and we

     were good.

           Q    Okay.

           Does any of my counsel at any table have any followups?

           Mr. Collins.     Reclaiming my time.

           After almost 8 hours, and over the last 2 hours of which,

     especially among many questions were repetitive, not just in

     content but actual word and verse on many of these questions, I

     think this is something that we will take up in the next, you
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 270 of 274
                                                        UNOFFICIAL COPY        269




     know -- hopefully not, but in negotiations.      This was,

     frankly -- I want to put it on the record -- a waste of time, the

     last part.   Members, understandably -- I am one, so we do like our

     5 minutes to question, but it was, unfortunately, a very much

     repetitive situation.

           In light of everything and the fact we've gone through -- and

     also forcibly reading documents, the question I have is, the

     majority, through this witness, are we expecting another call from

     a woman who has testified now three times before Congress and been

     a part of this and also went through numerous documents?         Is the

     counsel for the majority willing to make a statement about that?

           Mr. Eisen.    Mr. Collins, we heard a large number of absolute

     immunity claims that not only the majority believes are unfounded

     but that the United States District Court for the District of

     Columbia has rejected on absolute immunity.      The necessity to put

     that on the record stems from the assertion of those claims.

           We appreciate the White House willingness to continue

     conversations on this matter, but we feel very strongly that but

     for the assertion of absolute immunity we would have been able to

     avoid the necessary creation of a record.      So that has a

     contributed to the situation in which we find ourselves.

           I will note that the White House has expressed -- that's

     another reason we need the transcript, is the White House has

     expressed a willingness to review the questions that are asked,

     the objection.     We've tried to create a complete transcript for
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 271 of 274
                                                          UNOFFICIAL COPY     270




     that purpose.

           I think Mr. Collins knows better than I do the exigencies of

     having Members who do want to have the firsthand, percipient

     testimony and dealing with the challenges of votes.

           If the minority will indulge us, I do think -- I see some

     restless movement from our witness.

           Ms. Hicks.     No.   Sorry.    I --

           Mr. Eisen.     No.   No.    You're entitled.

           And I would like to excuse the witness so she can make her

     flight.

           Mr. Collins.     At this point, I appreciate that.     I will not

     have an objection that she will be excused.

           I will note that your long and eloquent conversation we just

     now had absolutely nothing to do with my answer -- that the

     question was actually answered.        I appreciate no one actually

     discussing -- Ms. Hicks, I have no problem --

           Ms. Hicks.     I'm happy to stick around if we're going to

     resolve the answer to that question.

           Mr. Collins.     Yeah.     I mean, I think the interesting issue

     is, again, not -- I have no -- and we've had to go back and forth

     on this concerning the foundation of the opinion from the

     White House.    That was never the question I asked, and it was

     never the concern that I had about multiple questions.        You did

     attempt, at least toward the end, to make a head nod toward that.

           My question was, and you did not answer it, are you through
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 272 of 274
                                                         UNOFFICIAL COPY     271




     with this witness, not just today but in the future?       What is the

     plans of this committee?

             Mr. Eisen.     The next step is to engage in an accommodation

     process on the many, many, many questions in the record that we

     believe absolute immunity was -- we respectfully disagreed with

     the view of absolute immunity.       It is, in our view and the view of

     the courts, we believe, unfounded.       And then we will make an

     assessment of next steps.

             I appreciate the recognition of my gesture.    I thought it was

     not just a head nod but a full-body move towards expediting.

             And I want to express my appreciation to the witness, to her

     counsel, and to the White House lawyers also for -- as we sped

     through, I think we covered Volume II of the Mueller report in

     record time.

             And, of course, the minority was on our call, the

     accommodations call, yesterday, and we'll continue to be a part of

     that.    And we'll try to proceed with all due courtesy to everyone.

             We're very appreciative of you being here, Ms. Hicks.

             Mr. Philbin.     If we could make one observation in response to

     the ranking member's comments also and to Mr. Eisen's comments,

     the usual process -- and it would've been much more -- the usual

     process -- and it would've been much more respectful to Ms. Hicks'

     time -- is to talk about accommodations and engage in negotiations

     before a subpoena is issued.       And that would've avoided the need

     to have this hearing today under subpoena and then try to go about
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 273 of 274
                                                          UNOFFICIAL COPY     272




     the process as it's usually handled.

           Mr. Collins.     But reclaiming my time, that is not what this

     majority wants.    They prefer the subpoena-first approach.      And

     they can roll their eyes and sigh, but that's exactly what

     happened.   As proven earlier today when I asked about ones who

     never were responsive to any of your requests and they've never

     been subpoenaed.

           I want to go back to this quick, and I'm going to solve this

     so you can get home.     Two questions, straightforward:     Are you

     through with her or not?     And number two is, when will the

     transcript be available?     That's all I'm asking.

           Mr. Eisen.     We've asked that the transcript be made

     available -- to take the easy one first -- with all deliberate

     speed.

           And that really goes to the answer to number one.       We're now

     going to engage in an accommodation process, including whether we

     can get answers to some of these questions, and that will

     determine next steps here.

           I do take strong exception to the White House's

     characterization of the accommodation efforts.       I think there's a

     long trail of letters, unilateral offers on our part.        But we're

     engaged in it.     We're going to proceed with it.

           We're very grateful to the witness for being here today.         And

     with that, I'd like to release her, with the permission of the

     ranking member.
Case 1:19-cv-02379-KBJ Document 1-31 Filed 08/07/19 Page 274 of 274
                                                        UNOFFICIAL COPY   273




           Mr. Collins.     Well, seeing that I did not still get an

     answer, I'll take that as a no.     I'll have to talk to the

     chairman, who will decide this.     But it is interesting that you

     will not answer the question whether you were through with her not

     just today but in the future.     We'll get the transcript as soon as

     possible.   Again, accommodations is something we can talk about at

     another time.

           Mr. Eisen.     Thank you, Ms. Hicks.   And we want to thank your

     counsel as well.

           Ms. Hicks.     Thank you very much.

           [Whereupon, at 4:52 p.m., the interview was concluded.]
